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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

CYXTERA TECHNOLOGIES, INC., et al.,                           Case No. 23-14853 (JKS)

                                     Debtors. 1               (Jointly Administered)


              NOTICE OF FILING AMENDED JOINT PLAN OF
      REORGANIZATION OF CYXTERA TECHNOLOGIES, INC. AND ITS
 DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

       PLEASE TAKE NOTICE that on August 7, 2023, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Joint Plan of Reorganization of

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies, Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 2333 Ponce de Leon
      Boulevard, Ste. 900, Coral Gables, Florida 33134.
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Cyxtera Technologies, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
Code (the “Plan”) [Docket No. 372].

        PLEASE TAKE FURTHER NOTICE the Debtors hereby file the Amended Joint Plan
of Reorganization of Cyxtera Technologies, Inc. and Its Debtor Affiliates Pursuant to Chapter 11
of the Bankruptcy Code, attached hereto as Exhibit A (the “Amended Plan”).

        PLEASE TAKE FURTHER NOTICE that a comparison between the Amended Plan and
the Plan is attached hereto as Exhibit B.

        PLEASE TAKE FURTHER NOTICE that copies of the Amended Plan and all other
documents filed in these chapter 11 cases may be obtained free of charge by visiting the website
of Kurtzman Carson Consultants LLC at https://www.kccllc.net/cyxtera. You may also obtain
copies of any pleadings filed in these chapter 11 cases by visiting the Court’s website at
https://www.njb.uscourts.gov in accordance with the procedures and fees set forth therein.


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Dated: September 13, 2023
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                                   Exhibit A

                                 Amended Plan
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF NEW JERSEY

                                                                )
In re:                                                          )     Chapter 11
                                                                )
CYXTERA TECHNOLOGIES, INC., et al., 1                           )     Case No. 23-14853 (JKS)
                                                                )
                            Debtors.                            )     (Jointly Administered)
                                                                )

       AMENDED JOINT PLAN OF REORGANIZATION OF CYXTERA TECHNOLOGIES, INC.
     AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


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the Debtors and Debtors in Possession                      the Debtors and Debtors in Possession


Dated: September 13, 2023




1    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
     Debtors’ proposed Claims and Noticing Agent at https://www.kccllc.net/cyxtera. The location of Debtor
     Cyxtera Technologies, Inc.’s principal place of business and the Debtors’ service address in these Chapter 11
     Cases is: 2333 Ponce de Leon Boulevard, Ste. 900, Coral Gables, Florida, 33134.
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                                                  INTRODUCTION

         Cyxtera Technologies, Inc. and the above-captioned debtors and debtors in possession propose the Plan for
the resolution of the outstanding Claims against and Interests in the Debtors pursuant to chapter 11 of the
Bankruptcy Code. Capitalized terms used herein and not otherwise defined have the meanings ascribed to such
terms in Article I.A of the Plan. Although proposed jointly for administrative purposes, the Plan constitutes a
separate Plan for each Debtor for the resolution of outstanding Claims and Interests pursuant to the Bankruptcy
Code. Holders of Claims against or Interests in the Debtors may refer to the Disclosure Statement for a discussion
of the Debtors’ history, businesses, assets, results of operations, historical financial information, and projections of
future operations as well as a summary and description of the Plan, the Restructuring Transactions, and certain
related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code.

      ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO READ
THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT
OR REJECT THE PLAN.

                                            ARTICLE I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.        Defined Terms.

          As used in the Plan, capitalized terms have the meanings set forth below.

     1.     “Administrative Claim” means a Claim for costs and expenses of administration of the Estates under
sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred on or after the Petition Date of preserving the Estates and operating the businesses of
the Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; (c) all fees and charges assessed against
the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911–1930; (d) Adequate
Protection Claims (as defined in the DIP Orders); (e) Restructuring Expenses, and (f) the Disinterested Director
Fee Claims.

     2.       “Administrative Claims Bar Date” means the deadline for Filing requests for payment of Administrative
 Claims, which: (a) with respect to Administrative Claims other than Professional Fee Claims, shall be thirty (30)
 days after the Effective Date; and (b) with respect to Professional Fee Claims, shall be forty-five (45) days after the
 Effective Date.

     3.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code as if the reference Entity
 were a debtor in a case under the Bankruptcy Code.

     4.     “Agents” means, collectively, the DIP Agent, the Prepetition Agent, the Bridge Facility Agent, the New
 Takeback Facility Agent, and the Receivables Program Agent, including, in each case, any successors thereto.

   5.    “AHG” means that certain ad hoc group of Holders of Term Loan Claims represented by the
AHG Advisors.

      6.    “AHG Advisors” means (i) Gibson, Dunn & Crutcher LLP, (ii) Houlihan Lokey Capital, Inc., and
(iii) Gibbons P.C.

     7.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim that is
evidenced by a Proof of Claim timely Filed by the applicable bar date (or for which Claim a Proof of Claim is not
required under the Plan, the Bankruptcy Code, or a Final Order of the Bankruptcy Court); (b) a Claim that is listed in
the Schedules as not contingent, not unliquidated, and not disputed and for which no Proof of Claim has been timely
filed; or (c) a Claim Allowed pursuant to the Plan, any stipulation approved by the Bankruptcy Court, any contract,




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instrument, indenture, or other agreement entered into or assumed in connection with the Plan, or a Final Order of
the Bankruptcy Court; provided that, with respect to a Claim described in clauses (a) and (b) above, such Claim shall
be considered Allowed only if and to the extent that no objection to the allowance thereof has been interposed within
the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy
Court or, if such an objection is so interposed, such Claim shall have been Allowed by a Final Order. Any Claim
that has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed, and for which no Proof
of Claim or Interest is or has been timely Filed, is not considered Allowed and shall be expunged without further
action by the Debtors and without further notice to any party or action, approval, or order of the Bankruptcy Court,
and Holders of such Claims shall not receive any distributions under the Plan on account of such Claims or Interests.
Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section 502(d) of the Bankruptcy
Code shall be deemed Allowed unless and until such Entity pays in full the amount that it owes. For the avoidance
of doubt, a Proof of Claim Filed after the applicable bar date shall not be Allowed for any purposes whatsoever
absent entry of a Final Order allowing such late-Filed Claim.                 “Allow” and “Allowing” shall have
correlative meanings.

     8.     “Asset Sale” means a Sale Transaction in which the Debtors sell all or substantially all of their assets to
the Purchaser pursuant to the Purchase Agreement.

    9.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

    10.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of New Jersey.

     11.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under section 2075
of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

    12.    “Bidding Procedures” means the bidding procedures attached as Exhibit 1 to the Bidding
Procedures Order.

    13.     “Bidding Procedures Documents” means the Bidding Procedures, the Bidding Procedures Motion, and
the Bidding Procedures Order.

    14.    “Bidding Procedures Motion” means the Debtors’ Motion for Entry of an Order (I) Approving the
Bidding Procedures and Auction, (II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid Deadlines and
an Auction, (IV) Approving the Form and Manner of Notice Thereof, and (V) Granting Related Relief [Docket
No. 95].

     15.    “Bidding Procedures Order” means the Order (I) Approving the Bidding Procedures and Auction,
(II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the
Form and Manner of Notice Thereof, and (V) Granting Related Relief [Docket No. 180].

    16.     “Bridge Facility” means that certain super senior financing facility issued pursuant to the Bridge
Facility Credit Agreement.

    17.      “Bridge Facility Agent” means Wilmington Savings Fund Society, FSB, in its capacity as administrative
and collateral agent under the Bridge Facility Credit Agreement.

    18.     “Bridge Facility Credit Agreement” means that certain Frist Lien Priority Credit Agreement dated as of
May 4, 2023, by and among Initial Holdings, the Prepetition Borrower, the lenders party thereto, and the Bridge
Facility Agent.

    19.     “Bridge Facility Documents” means the Bridge Facility Credit Agreement and any other documentation
necessary to effectuate the incurrence of the Bridge Facility.

   20.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).


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    21.      “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items in
legal tender of the United States of America.

    22.     “Cash Collateral” has the meaning set forth in section 363(a) of the Bankruptcy Code.

     23.     “Cause of Action” means any action, claim, cross-claim, third-party claim, cause of action, controversy,
dispute, demand, right, Lien, indemnity, contribution, guaranty, suit, obligation, liability, loss, debt, fee or expense,
damage, interest, judgment, cost, account, defense, remedy, offset, power, privilege, proceeding, license, and
franchise of any kind or character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter
arising, contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively (including any alter ego theories),
whether arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or pursuant to any
other theory of law (including under any state or federal securities laws). Causes of Action include: (a) any right of
setoff, counterclaim, or recoupment and any claim for breach of contract or for breach of duties imposed by law or
in equity, (b) the right to object to Claims or Interests, (c) any claim pursuant to section 362 or chapter 5 of the
Bankruptcy Code, (d) any claim or defense including fraud, mistake, duress, usury, and any other defenses set forth
in section 558 of the Bankruptcy Code, and (e) any state law fraudulent transfer claim.

      24.    “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending for
that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court, and (b) when used with reference to
all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

    25.      “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of
the Debtors.

     26.      “Claims and Noticing Agent” means Kurtzman Carson Consultants LLC, the claims, noticing, and
solicitation agent retained by the Debtors in the Chapter 11 Cases by Bankruptcy Court order.

     27.     “Claims Objection Deadline” means the deadline for objecting to a Claim asserted against a Debtor,
which shall be on the date that is the later of (a) 180 days after the Effective Date and (b) such other period of
limitation as may be specifically fixed by the Debtors or the Post-Effective Date Debtors, as applicable, or by an
order of the Bankruptcy Court for objecting to such Claims.

    28.    “Claims Register” means the official register of Claims and Interests in the Debtors maintained by the
Claims and Noticing Agent.

     29.    “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to section 1122(a)
of the Bankruptcy Code.

    30.     “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

    31.     “Committee” means the official committee of unsecured creditors appointed in the Chapter 11 Cases
pursuant to section 1102(a) of the Bankruptcy Code as set forth in the Notice of Appointment of Official Committee
of Unsecured Creditors [Docket No. 133] and as may be reconstituted from time to time.

   32.     “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

     33.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation Order
on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

    34.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court on Confirmation of the Plan,
pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing may
be continued from time to time.



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     35.    “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code, the form and substance of which shall be subject to the consent rights set forth
in the RSA, and, in the event of a Sale Transaction, shall also be in form and substance reasonably acceptable to
the Purchaser.

   36.     “Consenting Lenders” means, collectively, the Holders of First Lien Claims that are signatories to the
RSA or any subsequent Holder of First Lien Claims that becomes party thereto in accordance with the terms of the
RSA, each solely in their capacity as such.

     37.     “Consenting Sponsors” means, collectively, the Holders of Existing Equity Interests that are signatories
to the RSA or any subsequent Holder of Existing Equity Interests that becomes party thereto in accordance with the
terms of the RSA, each solely in their capacity as such.

    38.     “Consenting Stakeholders” means, collectively, the Consenting Lenders and the Consenting Sponsors.

    39.     “Consummation” means the occurrence of the Effective Date.

    40.     “Cure” means a Claim (unless waived or modified by the applicable counterparty) based upon a
Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section 365 of
the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code.

    41.     “Cyxtera” means Cyxtera Technologies, Inc.

    42.     “D&O Liability Insurance Policies” means all insurance policies (including any “tail policy”) covering
any of the Debtors’ current or former directors’, managers’, officers’ and/or employees’ liability and all agreements,
documents, or instruments relating thereto.

    43.     “Debtor Release” means the release set forth in Article VIII.C hereof.

    44.    “Debtors” means, collectively, each of the following: Cyxtera Technologies, Inc., Cyxtera Canada
TRS, ULC, Cyxtera Canada, LLC, Cyxtera Communications Canada, ULC, Cyxtera Communications, LLC,
Cyxtera Data Centers, Inc., Cyxtera DC Holdings, Inc., Cyxtera DC Parent Holdings, Inc., Cyxtera Digital Services,
LLC, Cyxtera Employer Services, LLC, Cyxtera Federal Group, Inc., Cyxtera Holdings, LLC, Cyxtera
Management, Inc., Cyxtera Netherlands B.V., Cyxtera Technologies Maryland, Inc., and Cyxtera
Technologies, LLC.

     45.      “Definitive Documents” means, collectively and as applicable, (a) the Disclosure Statement; (b) the
Solicitation Materials; (c) the New Organizational Documents; (d) the DIP Orders (and motion(s) seeking approval
thereof); (e) the DIP Documents; (f) the New Takeback Facility Documents, (g) the Plan (and all exhibits thereto);
(h) the Confirmation Order; (i) the order of the Bankruptcy Court approving the Disclosure Statement and the other
Solicitation Materials (and motion(s) seeking approval thereof); (j) all material pleadings Filed by the Debtors in
connection with the Chapter 11 Cases (and related orders), including the first day pleadings and all orders sought
pursuant thereto; (k) the Plan Supplement; (l) the MIP Documents; (m) any and all filings with or requests for
regulatory or other approvals from any governmental entity or unit, other than ordinary course filings and requests,
necessary or desirable to implement the Restructuring Transactions; (n) the Bridge Facility Documents; (o) the
Bidding Procedures Documents; (p) the Purchase Agreement; and (q) such other agreements, instruments, and
documentation as may be necessary to consummate and document the transactions contemplated by the Plan. For
the avoidance of doubt, the form and substance of each Definitive Document shall be subject to the consent rights
set forth in the RSA.

    46.     “DIP Agent” means the administrative agent and collateral agent under the DIP Facility.

    47.      “DIP Agent Advisors” means ArentFox Schiff LLP, in its capacity as counsel to the DIP Agent and the
Prepetition Priority Administrative Agent (as defined in the DIP Orders).


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    48.     “DIP Claims” means any Claim against any Debtor derived from, based upon, or arising under the
DIP Facility, the DIP Credit Agreement, or the other DIP Documents.

    49.    “DIP Credit Agreement” means that certain Senior Secured Superpriority Debtor-in-Possession Credit
Agreement, dated as of June 7, 2023, by and among Initial Holdings, Prepetition Borrower, the lenders party thereto,
and Wilmington Savings Fund Society, FSB, as administrative agent and collateral agent.

    50.     “DIP Documents” means, collectively, the DIP Credit Agreement and any other documents governing
the DIP Facility, including the DIP Orders, as such documents may be amended, supplemented, or otherwise
modified from time to time in accordance with their terms.

    51.     “DIP Facility” means the superpriority senior secured debtor-in-possession credit facility provided for
under the DIP Documents.

    52.     “DIP Lenders” means, collectively, each lender under the DIP Facility.

    53.     “DIP Loans” means the loans issued pursuant to the DIP Credit Agreement.

    54.     “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP Order.

     55.      “Disbursing Agent” means, as applicable, the Debtors, the Post-Effective Date Debtors, or the Plan
Administrator, or any Entity the Debtors, the Post-Effective Date Debtors, or the Plan Administrator selects to make
or to facilitate distributions in accordance with the Plan, which Entity may include the Claims and Noticing Agent
and the Agents, as applicable.

    56.     “Disclosure Statement” means the disclosure statement in respect of the Plan, including all exhibits and
schedules thereto, as approved or ratified by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code.

    57.      “Disinterested Director Fee Claims” means all unpaid fees and expenses as of the Effective Date due to
the disinterested directors of Cyxtera pursuant to their respective director agreements with Cyxtera. On the
Effective Date, the Disinterested Director Fee Claims shall be deemed Allowed Administrative Claims
against Cyxtera.

     58.      “Disputed” means, as to a Claim or an Interest, a Claim or an Interest: (a) that is not Allowed; (b) that
is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as applicable; and (c) with respect to which
a party in interest has Filed a Proof of Claim or Proof of Interest or otherwise made a written request to a Debtor for
payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

    59.     “Disputed Claims Reserve Amount” means Cash in an amount to be determined by the Debtors in
consultation with the Required Consenting Term Lenders, which amount shall be used to fund the Disputed Claims
Reserve.

    60.     “Disputed Claims Reserve” means the account to be established on the Effective Date and funded with
the Disputed Claims Reserve Amount for distribution as set forth in Article VII.G, if any.

     61.    “Distributable Consideration” means, in the event of a Sale Transaction, all Cash of the Debtors or the
Post-Effective Date Debtors, as applicable, on or after the Effective Date, including any Cash comprising the
Purchase Price and the Residual Cash, after payment of the Administrative Claims, DIP Claims, Professional Fee
Claims, Disinterested Director Fee Claims, Priority Tax Claims, Receivables Program Claims, Other Secured
Claims, and Other Priority Claims, each as set forth in the Plan, and funding the Professional Fee Escrow Account,
the GUC Recovery Pool, the Disputed Claims Reserve, the Wind-Down Reserve, and the Priority Claims Reserve,
as applicable, plus any non-Cash consideration comprising the Purchase Price plus any proceeds generated by any
Cause of Action retained by the Post-Effective Date Debtors.




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    62.     “Distribution Record Date” means the record date for purposes of making distributions under the Plan
on account of Allowed Claims, which date shall be the first day of the Confirmation Hearing or such other date
agreed to by the Debtors and the Required Consenting Term Lenders.

    63.   “Distribution Reserve Accounts” means, in the event of an Asset Sale, the Priority Claims Reserve and
the Wind-Down Reserve established pursuant to the Plan.

     64.     “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
(a) no stay of the Confirmation Order is in effect, and (b) all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A of the Plan have been satisfied or waived in accordance with Article IX.B of the Plan.
Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

    65.     “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

    66.     “Equity Investment Transaction” means a restructuring under the Plan pursuant to which, among other
things, the Purchaser purchases all or substantially all of the New Common Stock in exchange for the
Purchase Price.

    67.     “Equity Security” means any equity security, as defined in section 101(16) of the Bankruptcy Code, in
a Debtor.

     68.    “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant to
section 541 of the Bankruptcy Code.

    69.     “Exchange Act” means the Securities Exchange Act of 1934, as amended, 15 U.S.C. §§ 78a et seq, or
any similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations
promulgated thereunder.

    70.      “Exculpated Parties” means, collectively: (a) the Debtors; (b) the Post-Effective Date Debtors, (c) the
Committee and the members of the Committee; (d) the Plan Administrator (as applicable); and (e) with respect to
each of the foregoing Entities in clauses (a) through (d), each of the Related Parties of such Entity.

    71.      “Executory Contract” means a contract to which one or more of the Debtors are a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

     72.      “Existing Equity Interests” means, collectively, the shares (or any class thereof), common stock,
preferred stock, limited liability company interests, and any other equity, ownership, or profits interests of any
Debtor, and options, warrants, rights, or other securities or agreements to acquire or subscribe for, or which are
convertible into the shares (or any class thereof) of, common stock, preferred stock, limited liability company
interests, or other equity, ownership, or profits interests of Cyxtera (in each case whether or not arising under or in
connection with any employment agreement) immediately prior to the consummation of the transactions
contemplated in the Plan.

    73.     “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

    74.     “File” means file, filed, or filing with the Bankruptcy Court or its authorized designee in the Chapter 11
Cases. “Filed” and “Filing” shall have correlative meanings.

     75.    “Final DIP Order” means the Final Order (I) Authorizing the Debtors to Obtain Postpetition
Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
Administrative Expense Claims, (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay, and
(VI) Granting Related Relief [Docket No. 297].

   76.     “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter that has not been reversed, vacated, stayed,


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modified, or amended and as to which the time to appeal, seek certiorari, or move for a new trial, reargument, or
rehearing has expired and no appeal, petition for certiorari, or other proceeding for a new trial, reargument, or
rehearing thereof has been timely sought, or, if an appeal, writ of certiorari, new trial, reargument, or rehearing
thereof has been sought, such order or judgment shall have been affirmed by the highest court to which such order
was appealed, or certiorari shall have been denied, or a new trial, reargument, or rehearing shall have been denied,
or resulted in no modification of such order, and the time to take any further appeal, petition for certiorari, or move
for a new trial, reargument, or rehearing shall have expired; provided, however, that no order or judgment shall fail
to be a “Final Order” solely because of the possibility that a motion under Rules 59 or 60 of the Federal Rules of
Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable in another court of competent
jurisdiction) or sections 502(j) or 1144 of the Bankruptcy Code has been or may be filed with respect to such order
or judgment.

    77.     “Final Receivables Program Order” means the Final Order (I) Authorizing Certain Debtors to
Continue Selling, Contributing, and Servicing Receivables and Related Rights Pursuant to the Receivables
Program, (II) Modifying the Automatic Stay, and (III) Granting Related Relief [Docket No. 295].

    78.     “First Lien Claims” means, collectively, the RCF Claims and the Term Loan Claims.

    79.     “First Lien Credit Agreement” means that certain First Lien Credit Agreement, dated as of
May 17, 2017, by and among the Prepetition Borrower, Initial Holdings, the lenders from time to time party thereto,
and the Prepetition Agent, as the same may be amended, supplemented, or otherwise modified from time to time.

    80.     “First Lien Credit Documents” means the First Lien Credit Agreement and any other documentation
necessary to effectuate the incurrence of the Revolving Credit Facility or the Term Loan Facilities.

     81.     “General Unsecured Claim” means any Claim that is not (a) an Administrative Claim,
(b) a Professional Fee Claim, (c) a Priority Tax Claim, (d) a Secured Tax Claim, (e) a DIP Claim, (f) an Other
Secured Claim, (g) an Other Priority Claim, (h) a First Lien Claim, (i) a Receivables Program Claim, (j) an
Intercompany Claim, (k) a Section 510 Claim, (l) a Disinterested Director Fee Claim, or (m) a
Restructuring Expense.

    82.     “Governing Body” means, in each case in its capacity as such, the board of directors, board of managers,
manager, managing member, general partner, investment committee, special committee, or such similar governing
body of any of the Debtors or the Post-Effective Date Debtors, as applicable.

   83.     “Governmental Unit” means any governmental unit, as defined in section 101(27) of the
Bankruptcy Code.

    84.     [“GUC Recovery Pool” means a pool of value to be distributed in accordance with Article III hereof.] 2

     85.     “Holder” means an Entity that is the record owner of a Claim or Interest. For the avoidance of doubt,
affiliated record owners of Claims or Interests managed or advised by the same institution shall constitute
separate Holders.

    86.     “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

    87.     “Initial Holdings” means Cyxtera DC Parent Holdings, Inc.

    88.     “Intercompany Claim” means any Claim against a Debtor held by another Debtor.

    89.     “Intercompany Interest” means an Interest in a Debtor held by another Debtor.


2   [NTD: Treatment of General Unsecured Claims subject to continued negotiation with the Committee.]


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     90.    “Interest” means, collectively, (a) any Equity Security in any Debtor and (b) any other rights, options,
warrants, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights, or repurchase
rights; convertible, exercisable, or exchangeable securities; or other agreements, arrangements, or commitments of
any character relating to, or whose value is related to, any such interest or other ownership interest in any Debtor.

     91.    “Interim DIP Order” means the Interim Order (I) Authorizing the Debtors to Obtain Postpetition
Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
Administrative Expense Claims, (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay,
(VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No. 70].

    92.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

    93.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

     94.     “Management Incentive Plan” means, in the event of a Recapitalization Transaction or an Equity
Investment Transaction, the management incentive plan reserving up to 10 percent of the New Common Stock on a
fully diluted basis, with structure, awards, and terms of the management incentive plan to be determined by the New
Board, which management incentive plan shall be acceptable to the Required Consenting Term Lenders and
the Debtors.

     95.     “MIP Documents” means, collectively, the documents governing the Management Incentive Plan, as
such documents may be amended, supplemented, or otherwise modified from time to time in accordance with
their terms.

     96.     “New Board” means, in the event of a Recapitalization Transaction or an Equity Investment
Transaction, the board of directors or similar Governing Body of Reorganized Cyxtera, which shall be acceptable to
the Required Consenting Term Lenders, including, without limitation, with respect to the number and identity of
the directors.

    97.     “New Common Stock” means, in the event of a Recapitalization Transaction or an Equity Investment
Transaction, a single class of common equity interests issued by Reorganized Cyxtera on the Effective Date.

     98.    “New Organizational Documents” means, in the event of a Recapitalization Transaction or an Equity
Investment Transaction, the documents providing for corporate governance of Reorganized Cyxtera and the other
Post-Effective Date Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, which shall be consistent with section 1123(a)(6) of the Bankruptcy Code
(as applicable) and in form and substance subject to the consent rights set forth in the RSA and, in the event of a
Sale Transaction, in form and substance reasonably acceptable to the Purchaser.

      99.      “New Takeback Facility” means, in the event of a Recapitalization Transaction, a new senior secured,
first lien, “first out” term loan facility, in an initial aggregate principal amount of $200,468,511.87 plus any accrued
and unpaid interest, fees, costs, charges, expenses, and any other accrued and unpaid amounts under the DIP
Documents as of the Effective Date, to be incurred by the Debtors on the Effective Date in connection with
effectuating the Recapitalization Transaction in accordance with the Plan and the Restructuring Transactions
Memorandum, in each case as determined by the Debtors and in form and substance subject to the consent rights set
forth in the RSA.

    100.    “New Takeback Facility Agent” means the agent under the New Takeback Facility Credit Agreement.

    101. “New Takeback Facility Credit Agreement” means the credit agreement with respect to the New
Takeback Facility, as may be amended, supplemented, or otherwise modified from to time and which shall be in
form and substance subject to the consent rights set forth in the RSA.




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    102. “New Takeback Facility Documents” means the New Takeback Facility Credit Agreement and any
other documentation necessary or appropriate to effectuate the incurrence of the New Takeback Facility, each of
which shall be in form and substance subject to the consent rights set forth in the RSA.

    103.    “New Takeback Facility Loans” means loans issued under the New Takeback Facility.

     104. “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority Tax Claim,
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

     105. “Other Secured Claim” means any Secured Claim against the Debtors other than the DIP Claims,
the Priority Tax Claims, the Receivables Program Claims, or the First Lien Claims.

    106.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

    107.    “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

    108. “Plan” means this joint plan of reorganization under chapter 11 of the Bankruptcy Code, either in its
present form or as it may be altered, amended, modified, or supplemented from time to time in accordance with the
Bankruptcy Code, the Bankruptcy Rules, the RSA, or the terms hereof, as the case may be, and the Plan
Supplement, which is incorporated herein by reference, including all exhibits and schedules hereto and thereto.

    109. “Plan Administrator” means, in the event of an Asset Sale, the Person selected by the Debtors and the
Required Consenting Term Lenders to administer all assets of the Estates vested in the Post-Effective Date Debtors,
and thereafter, all assets held from time to time by the Post-Effective Date Debtors.

     110. “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed Interests,
or other eligible Entities under and in accordance with the Plan.

     111. “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed by the Debtors, to the extent reasonably practicable, no later than seven (7) days before the Confirmation
Hearing or such later date as may be approved by the Bankruptcy Court on notice to parties in interest, including the
following, as applicable: (a) the New Organizational Documents; (b) the identity and members of the New Board;
(c) the Schedule of Retained Causes of Action; (d) the New Takeback Facility Documents; (e) the Restructuring
Transactions Memorandum; (f) the Rejected Executory Contract and Unexpired Lease List, if any; (g) in the event
of an asset sale, the identity of the Plan Administrator and the terms of compensation of the Plan Administrator;
(h) in the event of a Sale Transaction, the Purchase Agreement; and (i) additional documents Filed with the
Bankruptcy Court prior to the Effective Date as amendments to the Plan Supplement.

     112. “Post-Effective Date Debtors” means the Debtors after the Effective Date or the Plan Administrator,
as applicable.

   113. “Purchaser” means, in the event that the Debtors, with the consent of the Required Consenting Term
Lenders, determine to pursue a Sale Transaction, the “[Purchaser]” under and as defined in the Purchase Agreement.

     114. “Purchase Agreement” means the purchase agreement to be entered into by the Debtors and the
Purchaser in accordance with the Bidding Procedures, which shall be in form and substance subject to the consent
rights set forth in the RSA.

     115. “Prepetition Agent” means Citibank, N.A., in its capacity as administrative and collateral agent under
the First Lien Credit Agreement.

    116.    “Prepetition Borrower” means Cyxtera DC Holdings, Inc. (f/k/a Colorado Buyer Inc.).



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     117. “Prepetition First Lien Administrative Agent Advisors” means (i) Davis Polk & Wardell LLP,
(ii) Greenberg Traurig, LLP, and (iii) FTI Consulting, Inc.

    118. “Priority Claims” means, collectively, Administrative Claims, Priority Tax Claims, and Other
Priority Claims.

     119. “Priority Claims Reserve” means, in the event of an Asset Sale, the account to be established and
maintained by the Plan Administrator on the Effective Date and funded with the Priority Claims Reserve Amount
for distribution to Holders of Priority Claims (except for Professional Fee Claims) as set forth in Article II.

    120. “Priority Claims Reserve Amount” means, in the event of an Asset Sale, Cash in an amount to be
determined in the Debtors’ reasonable business judgment and in consultation with the Required Consenting Term
Lenders, which amount shall be used by the Plan Administrator to fund the Priority Claims Reserve.

     121. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

     122. “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance with
sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on the
Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

     123. “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and other unpaid
fees and expenses Professionals reasonably estimate in good faith that they have incurred or will incur in rendering
services to the Debtors as set forth in Article II.C of the Plan.

    124. “Professional Fee Claim” means a Claim by a Professional seeking an award by the Bankruptcy Court
of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

     125. “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with Cash
on the Effective Date in an amount equal to the Professional Fee Amount.

     126. “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases by
the applicable bar date.

    127.    “Proof of Interest” means a proof of Interest filed in any of the Debtors in the Chapter 11 Cases.

    128.    “Purchase Price” has the meaning set forth in the Bidding Procedures.

    129.    “RCF Claims” means any Claim on account of the Revolving Credit Facility.

    130. “Recapitalization Transaction” means, in the event that the Debtors, with the consent of the Required
Consenting Term Lenders, do not determine to pursue a Sale Transaction, the restructuring transaction pursuant to
the Plan, pursuant to which, among other things, Holders of First Lien Claims receive 100 percent of the New
Common Stock, subject to dilution by the Management Incentive Plan.

    131. “Receivables Program” means that certain trade receivables securitization facility pursuant to the
Receivables Program Documents and approved by the Final Receivables Program Order.

    132. “Receivables Program Agent” means, collectively, PNC Bank, National Association, in its capacity as
Administrative Agent under the Receivables Program Documents, and PNC Capital Markets LLC, in its capacity as
Structuring Agent under the Receivables Program Documents, including, in each case, any successors thereto.




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    133. “Receivables Program Claims” means any Claims constituting Receivables Program Obligations (as
defined in the Final Receivables Program Order).

    134. “Receivables Program Documents” means, collectively, the “Transaction Documents” as defined in the
Final Receivables Program Order, as such documents may be amended, supplemented, or otherwise modified from
time to time in accordance with their terms.

    135. “Reinstate” means reinstate, reinstated, or reinstatement with respect to Claims and Interests, that the
Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
“Reinstated” and “Reinstatement” shall have correlative meanings.

     136. “Rejected Executory Contract and Unexpired Lease List” means the list to be included in the Plan
Supplement, as determined by the Debtors and subject to the consent rights set forth in the RSA and, in the event of
a Sale Transaction, reasonably acceptable to the Purchaser, of Executory Contracts and Unexpired Leases that will
be rejected by the Post-Effective Date Debtors, pursuant to the Plan, which list may be amended from time to time
subject to the consent rights set forth in the RSA and, in the event of a Sale Transaction, with the reasonable consent
of the Purchaser.

     137. “Related Party” means each of, and in each case in its capacity as such, current and former directors,
managers, officers, committee members, members of any Governing Body, equity holders (regardless of whether
such interests are held directly or indirectly), affiliated investment funds or investment vehicles, managed accounts
or funds, predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners, general
partners, principals, members, management companies, fund advisors or managers, employees, agents, trustees,
advisory board members, financial advisors, attorneys (including any other attorneys or professionals retained by
any current or former director or manager in his or her capacity as director or manager of an Entity), accountants,
investment bankers, consultants, representatives, and other professionals and advisors and any such Person’s or
Entity’s respective heirs, executors, estates, and nominees.

     138. “Released Party” means, each of, and in each case in its capacity as such: (a) each Debtor; (b) each
Post-Effective Date Debtor; (c) each Consenting Stakeholder; (d) each Releasing Party; (e) each Agent; (f) each DIP
Lender; (g) in the event of a Sale Transaction, the Purchaser; (h) the Committee and each member of the Committee;
(i) each current and former Affiliate of each Entity in clause (a) through the following clause (j); (j) each Related
Party of each Entity in clause (a) through this clause (j); provided that in each case, an Entity shall not be a Released
Party if it: (x) elects to opt out of the releases described in Article VIII.D of the Plan; or (y) timely objects to the
releases contained in Article VIII.D of the Plan and such objection is not resolved before Confirmation. 3

     139. “Releasing Party” means, each of, and in each case in its capacity as such: (a) the Debtors;
(b) the Post-Effective Date Debtors; (c) each DIP Lender; (d) each Agent; (e) each Consenting Stakeholder; (f) in
the event of a Sale Transaction, the Purchaser; (g) the Committee and each member of the Committee; (h) all
Holders of Claims that vote to accept the Plan; (i) all Holders of Claims who are deemed to accept the Plan but who
do not affirmatively opt out of the releases provided for in the Plan by checking the box on the applicable notice of
non-voting status indicating that they opt not to grant the releases provided for in the Plan; (j) all Holders of Claims
who abstain from voting on the Plan and who do not affirmatively opt out of the releases provided for in the Plan by
checking the box on the applicable ballot indicating that they opt not to grant the releases provided for in the Plan;
(k) all Holders of Claims or Interests who vote to reject the Plan or are deemed to reject the Plan and who do not
affirmatively opt out of the releases provided for in the Plan by checking the box on the applicable ballot or notice of
non-voting status indicating that they opt not to grant the releases provided for in the Plan; (l) each current and
former Affiliate of each Entity in clause (a) through (k); and (m) each Related Party of each Entity in clause (a)
through (l) for which such Entity is legally entitled to bind such Related Party to the releases contained in the Plan
under applicable law; provided that, for the avoidance of doubt, an Entity in clause (i) through clause (k) shall not be
a Releasing Party if it: (x) elects to opt out of the releases contained in Article VIII.D of the Plan; or (y) timely


3   [NTD: Release provisions subject to ongoing review, including as part of the Special Committee
    investigation.]


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objects to the releases contained in Article VIII.D of the Plan and such objection is not resolved
before Confirmation.

   140. “Reorganized Cyxtera” means Cyxtera Technologies, Inc., or any successor or assign thereto, by
merger, consolidation, or otherwise, on and after the Effective Date.

     141. “Required Consenting Term Lenders” means, as of the relevant date, Consenting Lenders holding at
least 66.67% of the aggregate outstanding principal amount of the Term Loan Claims that are held by
Consenting Lenders.

     142. “Residual Cash” means, in the event of a Sale Transaction, the sum of (a) any amounts remaining in the
Professional Fee Escrow Account after payment in full of all Allowed Professional Fee Claims, (b) any amounts
remaining in the Priority Claims Reserve after payment in full of all Allowed Priority Claims and Allowed
Administrative Claims (other than Professional Fee Claims), (c) any amounts remaining in the Disputed Claim
Reserve after the final resolution of Disputed Claims, and (d) any amounts remaining in the Wind-Down Reserve
after entry of a final decree closing the last of the Chapter 11 Cases.

    143. “Restructuring Expenses” means the reasonable and documented fees and expenses accrued from the
inception of their respective engagements related to the implementation of the Restructuring Transactions and not
previously paid by, or on behalf of, the Debtors of: (i) the AHG Advisors; (ii) the DIP Agent Advisors; and (iii) the
Prepetition First Lien Administrative Agent Advisors.

    144.    “Restructuring Term Sheet” means the term sheet attached to the RSA as Exhibit B.

    145.    “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

     146. “Restructuring Transactions Memorandum” means the description of the steps to be carried out to
effectuate the Restructuring Transactions in accordance with the Plan and as set forth in the Plan Supplement, which
shall be in form and substance acceptable to the Required Consenting Term Lenders, and, in the event of a Sale
Transaction, the Purchaser.

    147. “Revolving Credit Facility” means that certain first lien, multi-currency revolving credit facility issued
pursuant to the First Lien Credit Agreement.

   148. “RSA” means that certain restructuring support agreement, dated as of May 4, 2023, by and among the
Debtors and the Consenting Stakeholders, including all exhibits thereto (including the Restructuring Term Sheet), as
may be amended, modified, or supplemented from time to time, in accordance with its terms.

    149.    “Sale Transaction” means, as applicable, either an Equity Investment Transaction or an Asset Sale.

     150. “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the Debtors
that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time, which shall be subject to the consent rights set forth in the RSA and, in the event of
a Sale Transaction, subject to the consent of the Purchaser.

    151. “Schedules” means, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases, and statements of financial affairs Filed by the Debtors pursuant to section 521 of
the Bankruptcy Code, including any amendments or supplements thereto.

     152. “Section 510 Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

     153. “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on collateral to
the extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or
(b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.


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     154. “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of time
limitations), including any related Secured Claim for penalties.

    155. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any similar
federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations
promulgated thereunder.

     156.      “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

     157.      “Solicitation Materials” means, collectively, the solicitation materials with respect to the Plan.

     158.      “Term Loan Claims” means any Claim on account of the Term Loan Facilities.

    159. “Term Loan Facilities” means those certain first lien term loan facilities issued pursuant to the First
Lien Credit Agreement.

     160.      “Third-Party Release” means the release set forth in Article VIII.D of the Plan.

     161.      “U.S. Trustee” means the Office of the United States Trustee for the District of New Jersey.

    162. “Unexpired Lease” means a lease to which one or more of the Debtors are a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

    163. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests that is
unimpaired within the meaning of section 1124 of the Bankruptcy Code.

    164. “Wind Down” means, in the event of an Asset Sale, the wind down and dissolution of the Debtors’
Estates as set forth in Article IV.D.5.

    165. “Wind-Down Amount” means, in the event of an Asset Sale, Cash in an amount to be determined by
the Debtors with the consent of the Required Consenting Term Lenders, not to be unreasonably withheld, to fund the
Wind Down in accordance with Article IV.D.5 of the Plan.

    166. “Wind-Down Reserve” means, in the event of an Asset Sale, the account to be established and
maintained by the Plan Administrator and funded with the Wind-Down Amount to fund the Wind Down in
accordance with Article IV.D.5 of the Plan and for Plan Administrator purposes in accordance with Article IV.D.4.

B.          Rules of Interpretation.

          For purposes of the Plan: (i) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (ii) unless otherwise specified, any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; provided that nothing in this clause (ii) shall affect any party’s consent
rights over any of the Definitive Documents or any amendments thereto (both as that term is defined herein and as it
is defined in the RSA); (iii) unless otherwise specified, any reference herein to an existing document, schedule, or
exhibit, whether or not Filed, having been Filed, or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (iv) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and
assigns; (v) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(vi) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(vii) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (viii) subject to the provisions of any contract, certificate of incorporation, bylaw,


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instrument, release, or other agreement or document created or entered into in connection with the Plan, the rights
and obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with,
applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (ix) unless otherwise specified, the
words “include” and “including,” and variations thereof, shall not be deemed to be terms of limitation and shall be
deemed to be followed by the words “without limitation”; (x) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan;
(xi) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply; (xii) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy
Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; (xiii) all references to docket numbers of documents Filed in the Chapter 11
Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system; (xiv) all references to
statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to time, and as applicable
to the Chapter 11 Cases, unless otherwise stated; (xv) any immaterial effectuating provisions may be interpreted by
the Post-Effective Date Debtors in such a manner that is consistent with the overall purpose and intent of the Plan,
all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and
(xvi) unless otherwise specified and subject to the reasonable consent of the Required Consenting Term Lenders,
any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

C.       Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect
to the principles of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General
Obligations Law), shall govern the rights, obligations, construction, and implementation of the Plan; any
agreements, documents, instruments, or contracts executed or entered into in connection with the Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall control); and
corporate governance matters; provided that corporate governance matters relating to the Debtors or the
Post-Effective Date Debtors, as applicable, not incorporated in New York shall be governed by the laws of the state
of incorporation or formation of the relevant Debtor or the Post-Effective Date Debtors, as applicable.

E.       Reference to Monetary Figures.

         All references in the Plan to monetary figures shall refer to currency of the United States of America,
unless otherwise expressly provided herein.

F.       Reference to the Debtors and the Post-Effective Date Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors
and the Post-Effective Date Debtors shall mean the Debtors and the Post-Effective Date Debtors, as applicable, to
the extent the context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.


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H.       Consultation, Notice, Information, and Consent Rights.

          Notwithstanding anything herein to the contrary, all consultation, information, notice, and consent rights of
the parties to the RSA, as applicable, and as respectively set forth therein, with respect to the form and substance of
the Plan, all exhibits to the Plan, the Plan Supplement, and all other Definitive Documents, including any
amendments, restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated herein by this
reference (including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated in full
herein until such time as the RSA is terminated in accordance with its terms.

        Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to
any document referenced in the RSA, as applicable, shall not impair such rights and obligations.

                                    ARTICLE II.
        ADMINISTRATIVE CLAIMS, PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims,
Professional Fee Claims, Priority Tax Claims, and Receivables Program Claims have not been classified and, thus,
are excluded from the Classes of Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
Post-Effective Date Debtors, as applicable, each Holder of an Allowed Administrative Claim (other than Holders of
DIP Claims, Professional Fee Claims, Receivables Program Claims, and Claims for fees and expenses pursuant to
section 1930 of chapter 123 of title 28 of the United States Code) will receive in full and final satisfaction of its
Administrative Claim an amount of Cash equal to the amount of such Allowed Administrative Claim in accordance
with the following: (1) if an Administrative Claim is Allowed on or prior to the Effective Date, on the Effective
Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed Administrative Claim is
due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim is not Allowed as of the
Effective Date, no later than thirty (30) days after the date on which an order allowing such Administrative Claim
becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed Administrative Claim is
based on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date, in
accordance with the terms and conditions of the particular transaction giving rise to such Allowed Administrative
Claim without any further action by the Holders of such Allowed Administrative Claim; (4) at such time and upon
such terms as may be agreed upon by such Holder and the Debtors or the Post-Effective Date Debtors, as applicable;
or (5) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

         Except as otherwise provided in this Article II.A of the Plan, requests for payment of Administrative
Claims must be Filed with the Bankruptcy Court and served on the Debtors by the applicable Administrative Claims
Bar Date. Holders of Administrative Claims that are required to, but do not, File and serve a request for
payment of such Administrative Claims by such date shall be forever barred, estopped, and enjoined from
asserting such Administrative Claims against the Debtors, their Estates, or their property, and such
Administrative Claims shall be deemed discharged as of the Effective Date without the need for any objection
from the Debtors or the Post-Effective Date Debtors, as applicable, or any notice to or action, order, or
approval of the Bankruptcy Court or any other Entity. Objections to such requests, if any, must be Filed with
the Bankruptcy Court and served on the Debtors and the requesting party by the Claims Objection Deadline.
Notwithstanding the foregoing, no request for payment of an Administrative Claim need be Filed with the
Bankruptcy Court with respect to an Administrative Claim previously Allowed.

B.       DIP Claims.

        On the Effective Date, except to the extent that a Holder of an Allowed DIP Claim agrees to alternative
treatment, and in full and final satisfaction, settlement, release, and discharge of, and in exchange for, each Allowed
DIP Claim: (i) in the event of a Recapitalization Transaction, either (a) the DIP Loan giving rise to such Allowed
DIP Claim shall be refinanced by means of a cashless settlement whereby such DIP Loan shall be converted on a

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dollar-for-dollar basis into New Takeback Facility Loans in accordance with the DIP Documents and the New
Takeback Facility Documents, and all collateral that secures the Obligations (as defined in the DIP Credit
Agreement) under the DIP Credit Agreement shall be reaffirmed, ratified, and shall automatically secure all
[Obligations] (as defined in the New Takeback Facility Documents) under the New Takeback Facility Documents,
subject to the priorities of liens and payment set forth in the New Takeback Facility Documents, or (b) such DIP
Claim shall be paid in full in Cash; or (ii) in the event of a Sale Transaction, Holders of the DIP Claims shall receive
payment in full in Cash or, with the consent of Required Consenting Term Lenders, such other treatment rendering
Allowed DIP Clams Unimpaired in accordance with section 1124 of the Bankruptcy Code.

C.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement of
expenses incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the Effective
Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and
a hearing in accordance with the procedures established by the Bankruptcy Court. The Post-Effective Date Debtors
shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court allows, including from funds held in
the Professional Fee Escrow Account. The Post-Effective Date Debtors shall establish the Professional Fee Escrow
Account in trust for the Professionals and fund such account with Cash equal to the Professional Fee Amount on the
Effective Date.

         2.   Professional Fee Escrow Account.

         On the Effective Date, the Post-Effective Date Debtors shall establish and fund the Professional Fee
Escrow Account with Cash equal to the Professional Fee Amount. The Professional Fee Escrow Account shall be
maintained in trust solely for the Professionals. Such funds shall not be considered property of the Estates of the
Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as applicable. The amount of Professional Fee
Claims owing to the Professionals shall be paid in Cash to such Professionals by the Post-Effective Date Debtors
from the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee Claims are
Allowed. When all such Allowed amounts owing to Professionals have been paid in full, any remaining amount in
the Professional Fee Escrow Account shall promptly be paid to the Post-Effective Date Debtors, without any further
action or order of the Bankruptcy Court; provided, however, in the event of a Sale Transaction, any remaining
amount in the professional Fee Escrow Account shall constitute Residual Cash and be distributable to Holders of
Allowed First Lien Claims.

         3.   Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date and shall deliver such
estimates to the Debtors no later than three (3) Business Days before the Effective Date; provided, however, that
such estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of the
Professional’s final request for payment of Filed Professional Fee Claims. If a Professional does not provide an
estimate, the Debtors or the Post-Effective Date Debtors, as applicable, may estimate the unpaid and unbilled fees
and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
related to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date,
any requirement that Professionals comply with sections 327–331, 363, and 1103 of the Bankruptcy Code in seeking
retention or compensation for services rendered after such date shall terminate, and the Debtors, the Post-Effective



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Date Debtors, and/or the Plan Administrator, as applicable, may employ and pay any Professional in the ordinary
course of business without any further notice to or action, order, or approval of the Bankruptcy Court.

D.       Priority Tax Claims.

         Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax
Claim, each Holder of such Allowed Priority Tax Claim shall receive Cash equal to the full amount of its Claim or
such other treatment in accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

E.       Payment of Restructuring Expenses.

          The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date,
shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent not previously
paid during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms set forth herein and in
the RSA, without any requirement to File a fee application with the Bankruptcy Court, without the need for itemized
time detail, and without any requirement for Bankruptcy Court review or approval. All Restructuring Expenses to
be paid on the Effective Date shall be estimated prior to and as of the Effective Date, and such estimates shall be
delivered to the Debtors at least three (3) Business Days before the anticipated Effective Date; provided, however,
that such estimates shall not be considered an admission or limitation with respect to such Restructuring Expenses.
On the Effective Date, invoices for all Restructuring Expenses incurred prior to and as of the Effective Date shall be
submitted to the Debtors. In addition, the Debtors and the Post-Effective Date Debtors (as applicable) shall continue
to pay, when due and payable in the ordinary course, Restructuring Expenses arising directly out of the
implementation of the Plan and Consummation thereof without any requirement for review or approval by the
Bankruptcy Court or for any party to File a fee application with the Bankruptcy Court.

F.       Receivables Program Claims.

         All Receivables Program Claims shall be Allowed Claims. On the Effective Date, unless otherwise agreed
by the Holder of a Receivables Program Claim and the applicable Debtor or Post-Effective Date Debtor, Allowed
Receivables Program Claims will be satisfied in full in accordance with the terms of the Receivables Program
Documents. On the Effective Date, or as soon as reasonably practicable thereafter, all fees and expenses incurred by
the advisors to the parties to the Receivables Program shall be paid in full in Cash to the extent required under the
Final Receivables Program Order.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          The Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article
II of the Plan, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest qualifies within the description of that Class and is
classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the description of
such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving
distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that
Class and has not been paid, released, or otherwise satisfied prior to the Effective Date.




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             The classification of Claims against and Interests in the Debtors pursuant to the Plan is as follows:

     Class                   Claims and Interests                       Status                    Voting Rights
 Class 1          Other Secured Claims                              Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 2          Other Priority Claims                             Unimpaired      Not Entitled to Vote (Deemed to Accept)

 Class 3          First Lien Claims                                 Impaired        Entitled to Vote

 Class 4          General Unsecured Claims                          Impaired        Entitled to Vote

 Class 5          Section 510 Claims                                Impaired        Not Entitled to Vote (Deemed to Reject)
                                                                    Unimpaired /    Not Entitled to Vote (Deemed to Accept) /
 Class 6          Intercompany Claims
                                                                    Impaired        Not Entitled to Vote (Deemed to Reject)
                                                                    Unimpaired /    Not Entitled to Vote (Deemed to Accept) /
 Class 7          Intercompany Interests
                                                                    Impaired        Not Entitled to Vote (Deemed to Reject)
 Class 8          Existing Equity Interests                         Impaired        Not Entitled to Vote (Deemed to Reject)


B.           Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for
such Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the
Post-Effective Date Debtors, and the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless
otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment
on the Effective Date or as soon as reasonably practicable thereafter.

             1.   Class 1 - Other Secured Claims

                      (a)        Classification: Class 1 consists of any Other Secured Claims against any Debtor.

                      (b)        Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                                 to less favorable treatment, each Holder of an Allowed Other Secured Claim shall
                                 receive, in full and final satisfaction of such Claim and at the option of the Debtors and
                                 the Required Consenting Term Lenders, either:

                                 (i)          payment in full in Cash of its Allowed Other Secured Claim;

                                 (ii)         Reinstatement of its Allowed Other Secured Claim pursuant to section 1124 of
                                              the Bankruptcy Code; or

                                 (iii)        such other treatment rendering its Allowed Other Secured Claim Unimpaired in
                                              accordance with section 1124 of the Bankruptcy Code.

                      (c)        Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Claims in Class 1 are
                                 conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
                                 Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
                                 the Plan.




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        2.   Class 2 - Other Priority Claims

                 (a)      Classification: Class 2 consists of any Other Priority Claims against any Debtor.

                 (b)      Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim agrees
                          to less favorable treatment of its Allowed Claim, each Holder of an Allowed Other
                          Priority Claim shall receive, in full and final satisfaction of such Claim, Cash in an
                          amount equal to such Allowed Other Priority Claim or such other treatment consistent
                          with the provisions of section 1129(a)(9) of the Bankruptcy Code.

                 (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Claims in Class 2 are
                          conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
                          Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
                          the Plan.

        3.   Class 3 – First Lien Claims

                 (a)      Classification: Class 3 consists of any First Lien Claims against any Debtor.

                 (b)      Allowance: The First Lien Claims shall be Allowed in the aggregate principal amount of
                          $[961,496,926], plus any and all unpaid interest, fees, premiums, and all other
                          obligations, amounts, and expenses due and owing under the First Lien Credit Agreement
                          or related documents (including post-petition interest at the default contract rate) as of the
                          Effective Date.

                 (c)      Treatment: On the Effective Date, each Holder of a First Lien Claim (or its designated
                          Affiliate, managed fund or account, or other designee) shall receive, in full and final
                          satisfaction of such Claim:

                          (i)      in the event of a Recapitalization Transaction, its pro rata share of 100 percent
                                   of the New Common Stock, subject to dilution by the Management
                                   Incentive Plan; or

                          (ii)     in the event of a Sale Transaction, its pro rata share of the Distributable
                                   Consideration (including, for the avoidance of doubt, the Residual Cash).

                 (d)      Voting: Class 3 is Impaired under the Plan, and Holders of Allowed Claims in Class 3
                          are entitled to vote to accept or reject the Plan.

        4.   Class 4 - General Unsecured Claims

                 (a)      Classification: Class 4 consists of General Unsecured Claims.

                 (b)      [Treatment: Except to the extent that a Holder of a General Unsecured Claim agrees to
                          less favorable treatment or such General Unsecured Claim has been paid prior to the
                          Effective Date, each Holder of a General Unsecured Claim shall receive, in full and final
                          satisfaction of such Claim, its pro rata share of the GUC Recovery Pool.] 4

                 (c)      Voting: Class 4 is Impaired under the Plan, and Holders of Allowed Claims in Class 4
                          are entitled to vote to accept or reject the Plan.




4   [NTD: Treatment of General Unsecured Claims subject to continued negotiation with the Committee.]


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      5.   Class 5 - Section 510(b) Claims

               (a)      Classification: Class 5 consists of all Section 510(b) Claims.

               (b)      Treatment: On the Effective Date, all Section 510 Claims will be cancelled, released,
                        discharged, and extinguished and will be of no further force or effect, and Holders of
                        Section 510 Claims will not receive any distribution on account of such
                        Section 510 Claims.

               (c)      Voting: Class 5 is Impaired under the Plan. Holders of Allowed Claims in Class 5 are
                        conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                        Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
                        the Plan.

      6.   Class 6 - Intercompany Claims

               (a)      Classification: Class 6 consists of all Intercompany Claims.

               (b)      Treatment: Each Allowed Intercompany Claim shall be, at the option of the applicable
                        Debtor or Post-Effective Date Debtor, with the consent of the Required Consenting Term
                        Lenders (not to be unreasonably withheld), and, in the event of a Sale Transaction, in
                        consultation with the Purchaser, either:

                        (i)      Reinstated; or

                        (ii)     canceled or released without any distribution on account of such Claim.

               (c)      Voting: Class 6 is Unimpaired if the Class 6 Claims are Reinstated or Impaired if the
                        Class 6 Claims are cancelled. Holders of Class 6 Claims are conclusively deemed to
                        have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code or rejected the
                        Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Class 6
                        Claims are not entitled to vote to accept or reject the Plan.

      7.   Class 7 - Intercompany Interests

               (a)      Classification: Class 7 consists of all Intercompany Interests.

               (b)      Treatment: On the Effective Date, Intercompany Interests shall be, at the election of the
                        applicable Debtor or Post-Effective Date Debtor, with the consent of the Required
                        Consenting Term Lenders (not to be unreasonably withheld), and, in the event of a Sale
                        Transaction, in consultation with the Purchaser, either:

                        (i)      Reinstated; or

                        (ii)     canceled or released without any distribution on account of such Interests.

               (c)      Voting: Class 7 is Unimpaired if the Class 7 Interests are Reinstated or Impaired if the
                        Class 8 Interests are cancelled. Holders of Class 7 Interests are conclusively deemed to
                        have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code or rejected the
                        Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, such Holders are
                        not entitled to vote to accept or reject the Plan.




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         8.   Class 8 - Existing Equity Interests

                  (a)      Classification: Class 8 consists of all Existing Equity Interests.

                  (b)      Treatment: On the Effective Date, all Existing Equity Interests shall be cancelled,
                           released, extinguished, and discharged and will be of no further force or effect. Holders
                           of Interests shall receive no recovery or distribution on account of their Existing
                           Equity Interests.

                  (c)      Voting: Class 8 is Impaired under the Plan. Holders of Allowed Interests in Class 8 are
                           conclusively deemed to have rejected the Plan under section 1126(g) of the Bankruptcy
                           Code. Therefore, such Holders are not entitled to vote to accept or reject the Plan.

C.       Special Provision Governing Unimpaired Claims.

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of the Debtors or the
Post-Effective Date Debtors, as applicable, regarding any Unimpaired Claims, including all rights regarding legal
and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

          To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of New Common Stock, and in exchange for
the agreement of the Debtors and/or the Post-Effective Date Debtors, as applicable, under the Plan to make certain
distributions to the Holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall
seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting
Class of Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article X of the
Plan to the extent that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
including by modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or
Interests Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.


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I.       Subordinated Claims.

         The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and their
respective distributions and treatments under the Plan take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination, section 510
of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, and subject to the RSA, the
Post-Effective Date Debtors reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance
with any contractual, legal, or equitable subordination relating thereto.

                                           ARTICLE IV.
                              MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the provisions of the
Plan shall constitute a good faith compromise and settlement of all Claims and Interests and controversies resolved
pursuant to the Plan. The Plan shall be deemed a motion to approve the good faith compromise and settlement of all
such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of
the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement
and compromise is fair, equitable, reasonable, and in the best interests of the Debtors and their Estates. Subject to
Article VI hereof, all distributions made to Holders of Allowed Claims and Allowed Interests (as applicable) in any
Class are intended to be and shall be final.

B.       Restructuring Transactions.

         Before, on, and after the Effective Date, the Debtors or the Post-Effective Date Debtors, as applicable, shall
consummate the Restructuring Transactions and may take all actions (which, for the avoidance of doubt, shall be in
form, substance, and structure reasonably acceptable to the Required Consenting Term Lenders) as may be
necessary or appropriate to effect any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan that are consistent with and pursuant to the terms and conditions of the Plan, including, as
applicable: (i) the execution and delivery of any appropriate agreements or other documents of merger,
consolidation, restructuring, conversion, disposition, transfer, formation, organization, dissolution, or liquidation
containing terms that are consistent with the terms of the Plan, the Plan Supplement, the RSA, and the other
Definitive Documents; (ii) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan, the Plan Supplement, the RSA, and the other Definitive Documents; (iii) the execution, delivery,
and filing, if applicable, of appropriate certificates or articles of incorporation, formation, reincorporation, merger,
consolidation, conversion, or dissolution pursuant to applicable state law; (iv) the execution and delivery of the New
Takeback Facility Documents and entry into the New Takeback Facility; (v) the issuance and distribution of the
New Common Stock as set forth in the Plan; (vi) the implementation of the Management Incentive Plan; (vii) the
execution and delivery of the New Organizational Documents and any certificates or articles of incorporation,
bylaws, or such other applicable formation documents (if any) of each Post-Effective Date Debtor (including all
actions to be taken, undertakings to be made, obligations to be incurred, and fees and expenses to be paid by the
Debtors and/or the Post-Effective Date Debtors, as applicable); (viii) such other transactions that, in the reasonable
business judgment of the Debtors or the Post-Effective Date Debtors, as applicable, the Required Consenting Term
Lenders (in the event of a Recapitalization Transaction), and the Purchaser (in the event of a Sale Transaction), are
required to effectuate the Restructuring Transactions; and (ix) all other actions that the applicable Entities determine
to be necessary or appropriate, including making filings or recordings that may be required by applicable law.

         The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and section 363 of the
Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect any
transaction described in, approved by, contemplated by, or necessary to effectuate the Plan.

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         The Debtors shall pursue the Recapitalization Transaction unless the Debtors determine, with the consent
of the Required Consenting Term Lenders, to pursue an Equity Investment Transaction or an Asset Sale.

         In the event of an Equity Investment Transaction, on the Effective Date, the Purchaser shall purchase
substantially all of the New Common Stock free and clear of all Liens, Claims, Interests, charges, or other
encumbrances in exchange for the Purchase Price set forth in the Purchase Agreement. The Confirmation Order
shall authorize the Debtors, the Purchaser, and the Post-Effective Date Debtors, as applicable, to undertake the
transactions contemplated by the Purchase Agreement, including pursuant to sections 363, 365, 1123(a)(5)(B), and
1123(a)(5)(D) of the Bankruptcy Code.

          The Debtors and Purchaser shall be authorized to take all actions as may be deemed necessary or
appropriate to consummate the Equity Investment Transaction pursuant to the terms of the Purchase Agreement and
the Plan. On and after the Effective Date, except as otherwise provided in the Plan, the Post-Effective Date Debtors
may operate their businesses and may use, acquire, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any restrictions
of the Bankruptcy Code or Bankruptcy Rules; provided, that the Bankruptcy Court shall retain jurisdiction to resolve
any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with any of the foregoing.

C.       The Equity Investment Transaction or Recapitalization Transaction.

         If the Equity Investment Transaction or Recapitalization Transaction occurs, the following provisions
shall govern.

         1.   The Post-Effective Date Debtors.

        On the Effective Date, the New Board shall be established, and each Post-Effective Date Debtor shall adopt
its New Organizational Documents. The Post-Effective Date Debtors shall be authorized to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under the Plan as necessary to
consummate the Plan.

         2.   Sources of Consideration for Plan Distributions.

          The Debtors shall fund or make distributions under the Plan, as applicable, with: (i) the issuance of New
Takeback Facility Loans under the New Takeback Facility, (ii) the proceeds from the Equity Investment
Transaction; (iii) the New Common Stock, and (iv) the Debtors’ Cash on hand. Each distribution and issuance
referred to in Article VI of the Plan shall be governed by the terms and conditions set forth in the Plan applicable to
such distribution or issuance and by the terms and conditions of the instruments or other documents evidencing or
relating to such distribution or issuance, which terms and conditions shall bind each Entity receiving such
distribution or issuance. The issuance, distribution, or authorization, as applicable, of certain Securities in
connection with the Plan, including the New Common Stock, will be exempt from Securities Act registration, as
described more fully in Article IV.C.5 below.

                  (a)      The New Takeback Facility.

         In the event of a Recapitalization Transaction, on the Effective Date, the Post-Effective Date Debtors shall
enter into the New Takeback Facility Credit Agreement. Confirmation of the Plan shall be deemed approval of the
New Takeback Facility and the New Takeback Facility Documents, as applicable, and all transactions contemplated
thereby; all actions to be taken, undertakings to be made, and obligations to be incurred by the Post-Effective Date
Debtors in connection therewith, including the payment of all fees, indemnities, expenses, and other payments
provided for therein; and authorization for the Post-Effective Date Debtors to enter into and execute the New
Takeback Facility Documents and such other documents as may be required to effectuate the treatment afforded by
the New Takeback Facility. Execution of the New Takeback Facility Credit Agreement by the New Takeback
Facility Agent shall be deemed to bind all Holders of DIP Claims as if each such Holder had executed the New
Takeback Facility Credit Agreement with appropriate authorization.




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          On the Effective Date, all of the Liens and security interests to be granted in accordance with the New
Takeback Facility Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and enforceable Liens
on, and security interests in, the collateral granted thereunder in accordance with the terms of the New Takeback
Facility Documents, (c) shall be deemed automatically perfected on the Effective Date, subject only to such Liens
and security interests as may be permitted under the New Takeback Facility Documents, and (d) shall not be subject
to recharacterization or equitable subordination for any purposes whatsoever and shall not constitute preferential
transfers or fraudulent conveyances under the Bankruptcy Code or any applicable non-bankruptcy law. The
Post-Effective Date Debtors and the Persons and Entities granted such Liens and security interests shall be
authorized to make all filings and recordings and to obtain all governmental approvals and consents necessary to
establish and perfect such Liens and security interests under the provisions of the applicable state, federal, or other
law that would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order and any such filings,
recordings, approvals, and consents shall not be required) and will thereafter cooperate to make all other filings and
recordings that otherwise would be necessary under applicable law to give notice of such Liens and security interests
to third parties.

                  (b)      New Common Stock.

         Reorganized Cyxtera shall be authorized to issue a certain number of shares of New Common Stock
pursuant to its New Organizational Documents and any options or other equity awards, if any, reserved for the
Management Incentive Plan. The issuance of the New Common Stock shall be authorized without the need for any
further corporate action. On the Effective Date, the New Common Stock shall be issued and distributed pursuant to,
and in accordance with, the Plan, and, in the event of an Equity Investment Transaction, the Purchase Agreement.

          All of the shares of New Common Stock issued pursuant to the Plan and, if applicable, the Purchase
Agreement shall be duly authorized, validly issued, fully paid, and non-assessable. Each distribution and issuance
referred to in Article VI hereof shall be governed by the terms and conditions set forth in the Plan applicable to such
distribution or issuance and by the terms and conditions of the instruments evidencing or relating to such
distribution or issuance, including the New Organizational Documents, which terms and conditions shall bind each
Entity receiving such distribution or issuance. Any Entity’s acceptance of New Common Stock shall be deemed to
constitute its agreement to the New Organizational Documents, as the same may be amended or modified from time
to time following the Effective Date in accordance with their terms, without the need for execution by any party
thereto other than the applicable Post-Effective Date Debtor(s). The New Common Stock will not be registered
under the Securities Act or on any national securities exchange as of the Effective Date.

         3.   Corporate Existence.

         Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective Date as a
separate corporate Entity, limited liability company, partnership, or other form, as the case may be, with all the
powers of a corporation, limited liability company, partnership, or other form, as the case may be, pursuant to the
applicable law in the jurisdiction in which such Debtor is incorporated or formed and pursuant to the certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended under the Plan or
otherwise, and to the extent such documents are amended, such documents are deemed to be amended pursuant to
the Plan and require no further action or approval (other than any requisite filings required under applicable state,
provincial, or federal law). On or after the Effective Date, the respective certificate of incorporation and bylaws (or
other formation documents) of one or more of the Post-Effective Date Debtors may be amended or modified on the
terms therein without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules. On or after the Effective Date, one or more of the Post-Effective Date
Debtors may be disposed of, dissolved, wound down, or liquidated without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

         4.   New Organizational Documents.

       On or immediately prior to the Effective Date, the New Organizational Documents shall be adopted or
amended as may be necessary to effectuate the transactions contemplated by the Plan. To the extent required under

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the Plan or applicable non-bankruptcy law, each of the Post-Effective Date Debtors will file its New Organizational
Documents with the applicable Secretaries of State and/or other applicable authorities in its respective state,
province, or country of incorporation in accordance with the corporate laws of the respective state, province, or
country of incorporation to the extent such filing is required for each such document. The New Organizational
Documents will prohibit the issuance of non-voting Equity Securities to the extent required under section 1123(a)(6)
of the Bankruptcy Code. For the avoidance of doubt, the New Organizational Documents shall be included as
exhibits to the Plan Supplement. After the Effective Date, each Post-Effective Date Debtor may amend and restate
its constituent and governing documents as permitted by the laws of its jurisdiction of formation and the terms of
such documents, and the Post-Effective Date Debtors may file such amended certificates or articles of incorporation,
bylaws, or other applicable formation and constituent documents as permitted by the laws of the applicable states,
provinces, or countries of incorporation and the New Organizational Documents. For the avoidance of doubt, any
claimant’s acceptance of the New Common Stock shall be deemed to constitute its agreement to be bound by the
New Organizational Documents without the need for execution by any party other than the Post-Effective
Date Debtors.

         5.   Certain Securities Law Matters.

          Pursuant to section 1145 of the Bankruptcy Code, or, to the extent that section 1145 of the Bankruptcy
Code is either not permitted or not applicable, section 4(a)(2) of the Securities Act, Regulation D promulgated
thereunder, Regulation S under the Securities Act, and/or other available exemptions from registration, the offering,
issuance, and distribution of the New Common Stock as contemplated herein shall be exempt from, among other
things, the registration requirements of Section 5 of the Securities Act and any other applicable U.S. federal, state, or
local laws requiring registration prior to the offering, issuance, distribution, or sale of securities.

          The shares of New Common Stock to be issued under the Plan on account of Allowed Claims in
accordance with, and pursuant to, section 1145 of the Bankruptcy Code will be freely transferable under the
Securities Act by the recipients thereof, subject to: (a) the provisions of section 1145(b)(1) of the Bankruptcy Code
relating to the definition of an underwriter in section 2(a)(11) of the Securities Act, compliance with any applicable
state or foreign securities laws, if any, and the rules and regulations of the United States Securities and Exchange
Commission, if any, applicable at the time of any future transfer of such Securities or instruments; and (b) any
restrictions on the transferability of such New Common Stock in the New Organizational Documents.

          The shares of New Common Stock that may be issued pursuant to the exemption from registration set forth
in section 4(a)(2) of the Securities Act, Regulation D thereunder, Regulation S under the Securities Act, and/or other
available exemptions from registration will be considered “restricted securities,” will bear customary legends and
transfer restrictions, and may not be transferred except pursuant to an effective registration statement or under an
available exemption from the registration requirements of the Securities Act.

         6.   Management Incentive Plan.

          On or as soon as reasonably practicable following the Effective Date, the Post-Effective Date Debtors shall
adopt and implement the Management Incentive Plan, which will provide that up to 10% of the value of the New
Common Stock as of the Effective Date, on a fully diluted basis, shall be issued in connection with the Management
Incentive Plan on terms acceptable to the Required Consenting Term Lenders and the Debtors and, in the event of an
Equity Investment Transaction, the Purchaser. The issuance of any awards under the Management Incentive Plan
shall be at the discretion of the New Board.

         7.   Employment Obligations.

         Unless otherwise provided herein, and subject to Article V of the Plan, if applicable, all employee wages,
compensation, retiree benefits (as defined in 11 U.S.C. § 1114(a) of the Bankruptcy Code), and benefit programs in
place as of the Effective Date with the Debtors shall be assumed by the Post-Effective Date Debtors and shall
remain in place as of the Effective Date, and the Post-Effective Date Debtors will continue to honor such
agreements, arrangements, programs, and plans as of the Effective Date. For the avoidance of doubt, pursuant to
section 1129(a)(13) of the Bankruptcy Code, as of the Effective Date, all retiree benefits (as such term is defined in
section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with applicable law. On the

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Effective Date, the Post-Effective Date Debtors shall (a) assume all employment agreements, indemnification
agreements, or other agreements entered into with current employees; or (b) enter into new agreements with such
employees on terms and conditions acceptable to the Post-Effective Date Debtors, such employee, and the Required
Consenting Term Lenders and, in the event of an Equity Investment Transaction, the Purchaser.

D.       The Asset Sale.

         If the Asset Sale occurs, the following provisions shall govern.

         1.   The Asset Sale.

         On the Effective Date, the Purchaser shall purchase substantially all of the Debtors’ assets free and clear of
all Liens, Claims, Interests, charges, or other encumbrances (except for those Liens, Claims, Interests, charges, or
other encumbrances assumed by the Purchaser pursuant to the terms of the Purchase Agreement) in exchange for the
Purchase Price as set forth in the Purchase Agreement. The Confirmation Order shall authorize the Debtors, the
Post-Effective Date Debtors, and the Purchaser, as applicable, to undertake the transactions contemplated by the
Purchase Agreement, including pursuant to sections 363, 365, 1123(a)(5)(B), and 1123(a)(5)(D) of the Bankruptcy
Code.

         Subject to the consent rights set forth in the RSA, the Debtors and Purchaser shall be authorized to take all
actions as may be deemed necessary or appropriate to consummate the Asset Sale pursuant to the terms of the
Purchase Agreement and the Plan. On and after the Effective Date, except as otherwise provided in the Plan, the
Post-Effective Date Debtors or the Purchaser, as applicable, may operate their businesses and may use, acquire, or
dispose of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules;
provided, that the Bankruptcy Court shall retain jurisdiction to resolve any cases, controversies, suits, disputes, or
Causes of Action that may arise in connection with any of the foregoing.

         2.   Sources of Consideration for Plan Distributions.

          The Debtors shall fund distributions under the Plan with: (i) the proceeds from the Asset Sale, (ii) the
Debtors’ Cash on hand, and (iii) the proceeds of any Causes of Action retained by the Post-Effective Date Debtors.
Each distribution and issuance referred to in Article VI of the Plan shall be governed by the terms and conditions set
forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the instruments or
other documents evidencing or relating to such distribution or issuance, which terms and conditions shall bind each
Entity receiving such distribution or issuance.

         3.   Post-Effective Date Debtors.

         On and after the Effective Date, the Post-Effective Date Debtors shall continue in existence for purposes of
(i) winding down the Debtors’ business and affairs as expeditiously as reasonably possible as authorized by the
Bankruptcy Court; (ii) resolving Disputed Claims; (iii) making distributions on account of Allowed Claims as
provided hereunder; (iv) establishing and funding the Distribution Reserve Accounts; (v) enforcing and prosecuting
claims, interests, rights, and privileges under the Causes of Action on the Schedule of Retained Causes of Action in
an efficacious manner and only to the extent the benefits of such enforcement or prosecution are reasonably believed
to outweigh the costs associated therewith; (vi) filing appropriate tax returns; (vii) complying with any continuing
obligations under the Purchase Agreement; and (viii) administering the Plan in an efficacious manner. The
Post-Effective Date Debtors shall be deemed to be substituted as the party-in-lieu of the Debtors in all matters,
including (x) motions, contested matters, and adversary proceedings pending in the Bankruptcy Court, and (y) all
matters pending in any courts, tribunals, forums, or administrative proceedings outside of the Bankruptcy Court, in
each case without the need or requirement for the Plan Administrator to file motions or substitutions of parties or
counsel in each such matter.

          Notwithstanding anything to the contrary in the Plan, on the Effective Date, any Cause of Action not
settled, released, discharged, enjoined, or exculpated under the Plan on or prior to the Effective Date shall vest in the


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Post-Effective Date Debtors and shall be subject to administration by the Plan Administrator, and the net proceeds
thereof shall be Distributable Consideration.

         4.   Plan Administrator.

          On the Effective Date, the authority, power, and incumbency of the persons acting as managers, directors,
and officers of the Post-Effective Date Debtors shall be deemed to have resigned, solely in their capacities as such,
and the Plan Administrator shall be appointed as the sole manager, sole director, and sole officer of the
Post-Effective Date Debtors and shall succeed to the powers of the Post-Effective Date Debtors’ managers,
directors, and officers. The Plan Administrator shall act for the Post-Effective Date Debtors in the same fiduciary
capacity as applicable to a board of managers, directors, and officers, subject to the provisions hereof (and all
certificates of formation, membership agreements, and related documents are deemed amended by the Plan to permit
and authorize the same) and shall retain and have all the rights, powers, and duties necessary to carry out his or her
responsibilities under the Plan in accordance with the Wind Down and as otherwise provided in the
Confirmation Order.

          From and after the Effective Date, the Plan Administrator shall be the sole representative of, and shall act
for, the Post-Effective Date Debtors. The foregoing shall not limit the authority of the Post-Effective Date Debtors
or the Plan Administrator, as applicable, to continue the employment of any former manager or officer. The
Debtors, after the Confirmation Date, and the Post-Effective Date Debtors or Plan Administrator, after the Effective
Date, shall be permitted to make payments to employees pursuant to employment programs then in effect, and, in
the reasonable business judgment of the Plan Administrator and upon three (3) Business Days’ notice to counsel to
the AHG, to implement additional employee programs and make payments thereunder solely as necessary to
effectuate the Wind-Down, without any further notice to or action, order, or approval of the Bankruptcy Court.

          The powers of the Plan Administrator shall include any and all powers and authority to implement the Plan
and to administer and distribute the Distribution Reserve Accounts and wind down the business and affairs of the
Debtors and Post-Effective Date Debtors, including: (i) making distributions under the Plan; (ii) liquidating,
receiving, holding, investing, supervising, and protecting the assets of the Post-Effective Date Debtors in accordance
with the Wind-Down Reserve; (iii) taking all steps to execute all instruments and documents necessary to effectuate
the distributions to be made under the Plan; (iv) making distributions from the Distribution Reserve Accounts as
contemplated under the Plan; (v) establishing and maintaining bank accounts in the name of the Post-Effective Date
Debtors; (vi) subject to the terms set forth herein, employing, retaining, terminating, or replacing professionals to
represent it with respect to its responsibilities or otherwise effectuating the Plan to the extent necessary; (vii) paying
all reasonable fees, expenses, debts, charges, and liabilities of the Post-Effective Date Debtors; (viii) except as
otherwise provided for herein, enforcing and prosecuting claims, interests, rights, and privileges under the Causes of
Action on the Schedule of Retained Causes of Action in accordance with Article IV.E; (ix) administering and paying
taxes of the Post-Effective Date Debtors, including filing tax returns; (x) representing the interests of the
Post-Effective Date Debtors or the Estates before any taxing authority in all matters, including any action, suit,
proceeding, or audit; and (xi) exercising such other powers as may be vested in it pursuant to order of the
Bankruptcy Court or pursuant to the Plan, the Confirmation Order, or any applicable orders of the Bankruptcy Court
or as the Plan Administrator reasonably deems to be necessary and proper to carry out the provisions of the Plan in
accordance with the Wind-Down Reserve.

                  (a)       Retention of Professionals.

         The Plan Administrator shall have the right to retain the services of attorneys, accountants, and other
professionals that, at the discretion of the Plan Administrator, are necessary to assist the Plan Administrator in the
performance of his or her duties for the Post-Effective Date Debtors. The reasonable fees and expenses of such
professionals, if applicable, shall be paid from the Wind-Down Reserve upon the monthly submission of statements
to the Plan Administrator. The payment of the reasonable fees and expenses of the Post-Effective Date Debtors’
retained professionals shall be made in the ordinary course of business from the Wind-Down Reserve and shall not
be subject to the approval of the Bankruptcy Court.




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                  (b)      Compensation of the Plan Administrator.

        The Plan Administrator’s compensation, on a post-Effective Date basis, shall be as described in the Plan
Supplement, reasonably acceptable to the Required Consenting Term Lenders, and paid out of the Wind-Down
Reserve. Except as otherwise ordered by the Bankruptcy Court, the fees and expenses incurred by the Plan
Administrator on or after the Effective Date (including taxes) and any reasonable compensation and expense
reimbursement Claims (including attorney fees and expenses) made by the Plan Administrator in connection with
such Plan Administrator’s duties shall be paid without any further notice to, or action, order, or approval of, the
Bankruptcy Court in Cash from the Wind-Down Reserve if such amounts relate to any actions taken hereunder.

                  (c)      Plan Administrator Expenses.

         All costs, expenses, and obligations incurred by the Plan Administrator or the Post-Effective Date Debtors
in administering the Plan or in effecting distributions thereunder (including the reimbursement of reasonable
expenses), including any costs, expenses, or obligations in any manner connected, incidental, or related thereto, shall
be paid from the Wind-Down Reserve.

         The Debtors and the Plan Administrator, as applicable, shall not be required to give any bond or surety or
other security for the performance of their duties unless otherwise ordered by the Bankruptcy Court. However, in
the event that the Plan Administrator is so ordered after the Effective Date, all costs and expenses of procuring any
such bond or surety shall be paid for with Cash from the Wind-Down Reserve.

                  (d)      Exculpation, Indemnification, Insurance, and Liability Limitation.

         The Plan Administrator and all professionals retained by the Plan Administrator, each in their capacities as
such, shall be deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all
respects by the Post-Effective Date Debtors. The Plan Administrator may obtain, at the expense of the
Post-Effective Date Debtors and with funds from the Wind-Down Reserve, commercially reasonable liability or
other appropriate insurance with respect to the indemnification obligations of the Post-Effective Date Debtors. The
Plan Administrator may rely upon written information previously generated by the Debtors.

                  (e)      Tax Returns.

          After the Effective Date, the Plan Administrator shall complete and file all final or otherwise required
federal, state, and local tax returns for each of the Debtors and, pursuant to section 505 of the Bankruptcy Code and
subject to applicable law, may request an expedited determination of any unpaid tax liability of such Debtor or its
Estate.

                  (f)      Dissolution of the Post-Effective Date Debtors.

         Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all distributions
having been made, completion of all its duties under the Plan, and entry of a final decree closing the last of the
Chapter 11 Cases, the Post-Effective Date Debtors shall be deemed to be dissolved without any further action by the
Post-Effective Date Debtors, including the filing of any documents with the secretary of state for the state in which
each Post-Effective Date Debtor is formed or any other jurisdiction. The Plan Administrator, however, shall have
authority to take all necessary actions to dissolve the Post-Effective Date Debtors in and withdraw the Post-Effective
Date Debtors from applicable state(s).

          To the extent the Debtors have any Cash or other property remaining after the Chapter 11 Cases have been
closed, such Cash or other property shall constitute Residual Cash and shall be immediately allocated and
distributable to the Holders of Allowed First Lien Claims.

         5.   Wind Down.

         As soon as practicable after the Effective Date, the Plan Administrator shall: (i) cause the Debtors and the


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Post-Effective Date Debtors, as applicable, to comply with and abide by the terms of the Purchase Agreement and
any other documents contemplated thereby; (ii) to the extent applicable, file a certificate of dissolution or equivalent
document, together with all other necessary corporate and company documents, to effect the dissolution of one or
more of the Debtors or the Post-Effective Date Debtors under the applicable laws of their state of incorporation or
formation (as applicable); and (iii) take such other actions as the Plan Administrator may determine to be necessary
or desirable to carry out the purposes of the Plan. Any certificate of dissolution or equivalent document may be
executed by the Plan Administrator without the need for any action or approval by the shareholders or board of
directors or managers of any Debtor. From and after the Effective Date, except with respect to Post-Effective Date
Debtors as set forth herein, the Debtors (x) for all purposes shall be deemed to have withdrawn their business
operations from any state in which the Debtors were previously conducting, or are registered or licensed to conduct,
their business operations and shall not be required to file any document, pay any sum, or take any other action in
order to effectuate such withdrawal, (y) shall be deemed to have canceled pursuant to the Plan all Existing Equity
Interests, and (z) shall not be liable in any manner to any taxing authority for franchise, business, license, or similar
taxes accruing on or after the Effective Date. For the avoidance of doubt, notwithstanding the Debtors’ dissolution,
the Debtors shall be deemed to remain intact solely with respect to the preparation, filing, review, and resolution of
applications for Professional Fee Claims.

         The filing of the final monthly report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports shall be the responsibility of the Plan Administrator.

E.       Preservation of Causes of Action.

          In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
Post-Effective Date Debtors, shall retain and may enforce (or the Plan Administrator may enforce, if applicable) all
rights to commence and pursue, as appropriate, any and all Causes of Action, whether arising before or after the
Petition Date, including any actions specifically enumerated in the Schedule of Retained Causes of Action, and the
rights of the Post-Effective Date Debtors to commence, prosecute, or settle such Causes of Action shall be preserved
notwithstanding the occurrence of the Effective Date, other than the Causes of Action released or exculpated herein
(including, without limitation, by the Debtors) pursuant to the releases and exculpations contained in the Plan,
including in Article VIII hereof, which shall be deemed released and waived by the Debtors and the Post-Effective
Date Debtors, as applicable, as of the Effective Date.

          The Post-Effective Date Debtors may pursue such Causes of Action, as appropriate, in accordance with the
best interests of the Post-Effective Date Debtors. No Entity may rely on the absence of a specific reference in the
Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any indication
that the Debtors or the Post-Effective Date Debtors, as applicable, will not pursue any and all available
Causes of Action against it. The Debtors and the Post-Effective Date Debtors, as applicable, expressly reserve
all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly provided
in the Plan, including Article VIII of the Plan. Unless any Causes of Action against an Entity are expressly
waived, relinquished, exculpated, released, compromised, or settled in the Plan or a Final Order, the Post-Effective
Date Debtors expressly reserve all Causes of Action for later adjudication, and, therefore, no preclusion doctrine,
including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or Consummation.

           The Post-Effective Date Debtors and/or the Plan Administrator, as applicable, reserve and shall retain such
Causes of Action notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease during
the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any
Causes of Action that a Debtor may hold against any Entity shall vest in the corresponding Post-Effective Date
Debtor except as otherwise expressly provided in the Plan, including Article VIII of the Plan. The Post-Effective
Date Debtors and/or the Plan Administrator, as applicable, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Post-Effective Date Debtors and/or the
Plan Administrator, as applicable, shall have the exclusive right, authority, and discretion to determine and to
initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such
Causes of Action and to decline to do any of the foregoing without the consent or approval of any third party or
further notice to or action, order, or approval of the Bankruptcy Court. For the avoidance of doubt, in no instance

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will any Cause of Action preserved pursuant to this Article IV.E include any Claim or Cause of Action against a
Released Party or Exculpated Party.

F.       Cancellation of Existing Agreements and Interests.

          On the Effective Date, except with respect to the New Takeback Facility or to the extent otherwise
provided in the Plan, including in Article V.A hereof, all notes, instruments, certificates, and other documents
evidencing Claims or Interests, including credit agreements and indentures, shall be cancelled, and the obligations of
the Debtors and any non-Debtor Affiliate thereunder or in any way related thereto shall be deemed satisfied in full,
cancelled, discharged, and of no force or effect, and the Agents shall be released from all duties and obligations
thereunder. Holders of or parties to such cancelled instruments, securities, and other documentation will have no
rights arising from or relating to such instruments, securities, and other documentation, or the cancellation thereof,
except the rights provided for pursuant to the Plan. Notwithstanding the foregoing or anything to the contrary
herein, any rights of each Agent to indemnification under the DIP Documents, the Receivables Program Documents,
the First Lien Credit Documents, and the Bridge Facility Documents shall remain binding and enforceable in
accordance with the terms of such documents and shall not be subject to discharge, impairment, or release under the
Plan or the Confirmation Order.

G.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Post-Effective Date Debtor, as applicable, or to any other Person) of property under the Plan or pursuant
to: (i) the issuance, Reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest
in the Debtors or the Post-Effective Date Debtors, as applicable; (ii) the Restructuring Transactions; (iii) the
creation, modification, consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or
other security interest, or the securing of additional indebtedness by such or other means; (iv) the making,
assignment, or recording of any lease or sublease; (v) the grant of collateral as security for the New Takeback
Facility; (vi) the Sale Transaction; or (vii) the making, delivery, or recording of any deed or other instrument of
transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or
other instrument of transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, sales or use tax, Uniform Commercial
Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental assessment, and
upon entry of the Confirmation Order, the appropriate state or local governmental officials or agents shall forego the
collection of any such tax or governmental assessment and accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax, recordation fee, or governmental assessment.
All filing or recording officers (or any other Person with authority over any of the foregoing), wherever located and
by whomever appointed, shall comply with the requirements of section 1146 of the Bankruptcy Code, shall forego
the collection of any such tax or governmental assessment, and shall accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental assessment.

H.       Corporate Action.

         Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including, as and if applicable: (i) selection of the directors, officers, or managers for the
Post-Effective Date Debtors; (ii) the issuance and distribution of the New Common Stock; (iii) implementation of
the Restructuring Transactions; (iv) entry into the New Takeback Facility Documents; (v) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (vi) adoption of the New
Organizational Documents; (vii) the rejection, assumption, or assumption and assignment, as applicable, of
Executory Contracts and Unexpired Leases; (viii) adoption by the New Board of the Management Incentive Plan;
(ix) consummation of the Sale Transaction pursuant to the Purchase Agreement; (x) formation of the Post-Effective
Date Debtors and selection of the Plan Administrator; and (xi) all other acts or actions contemplated or reasonably
necessary or appropriate to promptly consummate the Restructuring Transactions contemplated by the Plan (whether
to occur before, on, or after the Effective Date). All matters provided for in the Plan involving the corporate
structure of the Debtors or the Post-Effective Date Debtors and any corporate action required by the Debtors or the
Post-Effective Date Debtors in connection with the Plan shall be deemed to have occurred and shall be in effect

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without any requirement of further action by the security Holders, directors, officers, or managers of the Debtors or
the Post-Effective Date Debtors. On or prior to the Effective Date, as applicable, the appropriate officers of the
Debtors or the Post-Effective Date Debtors, as applicable, shall be authorized and (as applicable) directed to issue,
execute, and deliver the agreements, documents, securities, and instruments contemplated under the Plan (or
necessary or desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the
Post-Effective Date Debtors, including, in the event of a Recapitalization Transaction or an Equity Investment
Transaction, the New Common Stock, the New Organizational Documents, the New Takeback Facility, the New
Takeback Facility Documents, any other Definitive Documents, and any and all other agreements, documents,
securities, and instruments relating to the foregoing. The authorizations and approvals contemplated by this Article
IV.H shall be effective notwithstanding any requirements under non-bankruptcy law.

I.       Directors and Officers of the Post-Effective Date Debtors.

         As of the Effective Date, the term of the current members of the board of directors or other Governing
Body of Cyxtera shall expire, and, if applicable, the members for the initial term of the New Board shall be
appointed; provided, that the disinterested directors of Cyxtera, comprising the special committee of Cyxtera’s board
of directors, shall retain authority following the Effective Date with respect to matters relating to Professional Fee
Claim requests by Professionals acting at their authority and direction in accordance with the terms of the Plan. The
disinterested directors of Cyxtera shall not have any of their privileged and confidential documents,
communications, or information transferred (or deemed transferred) to the Post-Effective Date Debtors, the
Purchaser, or any other Entity without their prior written consent.

         The Initial members of the New Board, if applicable, will be identified in the Plan Supplement to the extent
known at the time of filing. In the event of a Recapitalization Transaction or an Equity Investment Transaction,
each such member and officer of the Post-Effective Date Debtors shall serve from and after the Effective Date
pursuant to the terms of the New Organizational Documents and other constituent documents of the Post-Effective
Date Debtors. The members of the New Board shall be chosen by the Debtors or the Post-Effective Date Debtors,
subject to the applicable terms of the RSA and, if applicable, the Purchase Agreement.

J.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Post-Effective Date Debtors and their respective officers and boards of
directors and managers are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary to effectuate,
implement, and further evidence the terms and conditions of the Plan and the Securities issued pursuant to the Plan
in the name of and on behalf of the Post-Effective Date Debtors without the need for any approvals, authorizations,
or consents except for those expressly required pursuant to the Plan.

K.       Vesting of Assets in the Post-Effective Date Debtors.

         Except as otherwise provided in the Plan, the Confirmation Order, or any agreement, instrument, or other
document incorporated herein, or entered into in connection with or pursuant to, the Plan, the Plan Supplement, or
the New Takeback Facility Documents, on the Effective Date, all property in each Estate, all Causes of Action, and
any property acquired by any of the Debtors pursuant to the Plan shall vest in each respective Post-Effective Date
Debtor, free and clear of all Liens, Claims, charges, Causes of Action, or other encumbrances. On and after the
Effective Date, except as otherwise provided in the Plan, the Confirmation Order, or any agreement, instrument, or
other document incorporated herein, each Post-Effective Date Debtor may operate its business and use, acquire, or
dispose of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

L.       Private Company.

        The Post-Effective Date Debtors shall not have any class of Equity Securities listed on a national securities
exchange and shall make commercially reasonable efforts to take the steps necessary to be a private company



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without Securities Act or Exchange Act reporting obligations upon emergence or as soon as practicable thereafter in
accordance with and to the extent permitted by the Securities Act and the Exchange Act.

M.       Closing the Chapter 11 Cases.

         Upon the occurrence of the Effective Date, the Post-Effective Date Debtors shall be permitted to close all
of the Chapter 11 Cases except for one of the Chapter 11 Cases as determined by the Post-Effective Date Debtors,
and all contested matters relating to each of the Debtors, including objections to Claims, shall be administered and
heard in such Chapter 11 Case.

N.       Director and Officer Liability Insurance.

         After the Effective Date, none of the Post-Effective Date Debtors shall terminate or otherwise reduce the
coverage under any of the D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the
Petition Date, with respect to conduct or events occurring prior to the Effective Date, and all directors and officers of
the Debtors who served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits
of any such policy for the full term of such policy, to the extent set forth therein, regardless of whether such
directors and officers remain in such positions after the Effective Date.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption of Executory Contracts and Unexpired Leases.

         Each Executory Contract and Unexpired Lease shall be deemed assumed, without the need for any further
notice to or action, order, or approval of the Bankruptcy Court, as of the Effective Date under section 365 of the
Bankruptcy Code, unless such Executory Contract and Unexpired Lease: (i) was assumed or rejected previously by
the Debtors; (ii) previously expired or terminated pursuant to its own terms; (iii) is the subject of a motion to reject
Filed on or before the Effective Date; or (iv) is identified on the Rejected Executory Contract and Unexpired Lease
List. The assumption of Executory Contracts and Unexpired Leases hereunder may include the assignment of
certain of such contracts to Affiliates. The Confirmation Order will constitute an order of the Bankruptcy Court
approving the foregoing assumptions and assignments.

         Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty, each
assumed Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
restatements, or other agreements related thereto, and all rights related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other interests.
Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the
prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or amount of any Claims
that may arise in connection therewith.

         To the maximum extent permitted by law, to the extent any provision in any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict
or prevent, or is breached or deemed breached by, the assumption or assumption and assignment of such Executory
Contract or Unexpired Lease (including any “change of control” provision), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to
terminate such Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect
thereto. Notwithstanding anything to the contrary in the Plan, the Debtors, the Post-Effective Date Debtors, and/or
the Plan Administrator, as applicable, reserve the right to alter, amend, modify, or supplement the Rejected
Executory Contract and Unexpired Lease List at any time through and including ninety (90) days after the Effective
Date; provided that in the event of a Recapitalization Transaction, such alteration, amendment, modification, or
supplement shall be subject to the consent rights set forth in the RSA.




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B.       Indemnification Obligations.

          Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the by-laws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, D&O Liability Insurance
Policies, or otherwise) for current and former members of any Governing Body, directors, officers, managers,
employees, attorneys, accountants, investment bankers, and other professionals of the Debtors, as applicable, shall
(i) not be discharged, impaired, or otherwise affected in any way, including by the Plan, the Plan Supplement, or the
Confirmation Order; (ii) remain intact, in full force and effect, and irrevocable; (iii) not be limited, reduced, or
terminated after the Effective Date; and (iv) survive the effectiveness of the Plan on terms no less favorable to such
current and former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other
professionals of the Debtors than the indemnification provisions in place prior to the Effective Date irrespective of
whether such indemnification obligation is owed for an act or event occurring before, on, or after the Petition Date.
All such obligations shall be deemed and treated as Executory Contracts to be assumed by the Debtors under the
Plan and shall continue as obligations of the Post-Effective Date Debtors and/or the Plan Administrator,
as applicable.

C.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the rejections, if any,
of any Executory Contracts or Unexpired Leases as provided for in the Plan or the Rejected Executory Contract and
Unexpired Lease List, as applicable. Unless otherwise provided by a Final Order of the Bankruptcy Court, all
Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Claims and Noticing Agent at the
address specified in any notice of entry of the Confirmation Order and served on the Post-Effective Date Debtors no
later than thirty (30) days after the effective date of such rejection.

         Any Claims arising from the rejection of an Executory Contract or Unexpired Lease with respect to
which a Proof of Claims is not Filed with the Claims and Noticing Agent within such time will be
automatically disallowed and forever barred from assertion and shall not be enforceable against the Debtors,
the Post-Effective Date Debtors, the Estates, or their property without the need for any objection by the
Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as applicable, or further notice to,
action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim arising out of the
rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied, released, and
discharged and shall be subject to the permanent injunction set forth in Article VIII.F of the Plan,
notwithstanding anything in a Proof of Claim to the contrary.

         All Claims arising from the rejection by any Debtor of any Executory Contract or Unexpired Lease
pursuant to section 365 of the Bankruptcy Code shall be treated as a General Unsecured Claim as set forth in Article
III.B of the Plan and may be objected to in accordance with the provisions of Article VII of the Plan and the
applicable provisions of the Bankruptcy Code and Bankruptcy Rules.

D.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         The Debtors or the Post-Effective Date Debtors, as applicable, shall pay Cures, if any, on the Effective
Date or as soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties to the
applicable Executory Contract or Unexpired Lease, any objection by a counterparty to an Executory Contract or
Unexpired Lease to a proposed assumption, including pursuant to the Plan, or related cure amount must be filed,
served, and actually received by counsel to the Debtors and the U.S. Trustee no later than thirty (30) days after the
Effective Date or any other deadline that may be set by the Bankruptcy Court. Any such request that is not timely
Filed shall be disallowed and forever barred, estopped, and enjoined from assertion and shall not be enforceable
against any Post-Effective Date Debtor without the need for any objection by the Post-Effective Date Debtors or any
other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court. Any Cure shall
be deemed fully satisfied, released, and discharged upon payment by the Debtors or the Post-Effective Date Debtors,
as applicable, of the Cure; provided that nothing herein shall prevent the Post-Effective Date Debtors from paying
any Cure despite the failure of the relevant counterparty to File such request for payment of such Cure. The

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Post-Effective Date Debtors may also settle any Cure without any further notice to or action, order, or approval of
the Bankruptcy Court. Any such objection will be scheduled to be heard by the Bankruptcy Court at the Debtors’ or
the Post-Effective Date Debtors’, as applicable, first scheduled omnibus hearing, or such other setting as requested
by the Debtors or the Post-Effective Date Debtors, as applicable, with respect to which such objection is timely
Filed. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the proposed
assumption of any Executory Contract or Unexpired Lease will be deemed to have consented to such assumption.

         If there is any dispute regarding any Cure, the ability of the Post-Effective Date Debtors, or any assignee to
provide “adequate assurance of future performance” within the meaning of section 365 of the Bankruptcy Code, or
any other matter pertaining to assumption, then payment of Cure shall occur as soon as reasonably practicable after
entry of a Final Order resolving such dispute, approving such assumption (and, if applicable, assignment), or as may
be agreed upon by the Debtors or the Post-Effective Date Debtors, as applicable, and the counterparty to the
Executory Contract or Unexpired Lease.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
payment of any applicable Cure pursuant to this Article V.D shall result in the full release and satisfaction of any
Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the
change in control or ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any Proofs of Claim
based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, and for which any Cure has been fully paid pursuant to this
Article V.D, shall be deemed disallowed and expunged as of the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date,
(i) the Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and
instruments relating to coverage of all insured Claims, including all D&O Liability Insurance Policies and (ii) such
insurance policies and any agreements, documents, or instruments relating thereto, including all D&O Liability
Insurance Policies, shall revest in the Post-Effective Date Debtors.

           Nothing in the Plan, the Plan Supplement, the Disclosure Statement, the Confirmation Order, or any other
order of the Bankruptcy Court (including any other provision that purports to be preemptory or supervening),
(i) alters, modifies, or otherwise amends the terms and conditions of (or the coverage provided by) any of such
insurance policies or (ii) alters or modifies the duty, if any, that the insurers or third party administrators pay claims
covered by such insurance policies and their right to seek payment or reimbursement from the Debtors (or after the
Effective Date, the Post-Effective Date Debtors) or draw on any collateral or security therefor.

F.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not
constitute a termination of preexisting obligations owed to the Debtors or the Post-Effective Date Debtors, as
applicable, under such Executory Contracts or Unexpired Leases.             In particular, notwithstanding any
non-bankruptcy law to the contrary, the Debtors and the Post-Effective Date Debtors expressly reserve and do not
waive any right to receive, or any continuing obligation of a counterparty to provide, warranties or continued
maintenance obligations with respect to goods previously purchased by the Debtors pursuant to rejected Executory
Contracts or Unexpired Leases.

G.       Reservation of Rights.

         Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors that any
contract or lease is in fact an Executory Contract or Unexpired Lease or that any of the Debtors or the Post-Effective
Date Debtors have any liability thereunder. If there is a dispute regarding whether a contract or lease is or was


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executory or unexpired at the time of assumption or rejection, the Debtors or the Post-Effective Date Debtors, as
applicable, shall have forty-five (45) days following entry of a Final Order resolving such dispute to alter the
treatment of such contract or lease under the Plan.

H.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

I.       Contracts and Leases Entered Into After the Petition Date.

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtors or the Post-Effective
Date Debtors liable thereunder in the ordinary course of their business. Accordingly, such contracts and leases
(including any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of
the Confirmation Order.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan, on the Effective Date (or, if a Claim or Interest is not an Allowed
Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim
or Allowed Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Allowed
Interest shall receive the full amount of the distributions that the Plan provides for Allowed Claims or Allowed
Interests (as applicable) in the applicable Class. In the event that any payment or act under the Plan is required to be
made or performed on a date that is not a Business Day, then the making of such payment or the performance of
such act may be completed on the next succeeding Business Day but shall be deemed to have been completed as of
the required date. If and to the extent that there are Disputed Claims or Disputed Interests, distributions on account
of any such Disputed Claims or Disputed Interests shall be made pursuant to the provisions set forth in Article VII
hereof. Except as otherwise provided in the Plan, Holders of Claims of Interests shall not be entitled to interest,
dividends, or accruals on the distributions provided for in the Plan, regardless of whether such distributions are
delivered on or at any time after the Effective Date.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Disbursing Agent on the Effective Date or at such
other time as provided for in the Plan. The Disbursing Agent shall not be required to give any bond or surety or
other security for the performance of its duties unless otherwise ordered by the Bankruptcy Court. Additionally, in
the event that the Disbursing Agent is so otherwise ordered, all costs and expenses of procuring any such bond or
surety shall be borne by the Post-Effective Date Debtors.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise
such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions hereof.




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         2.   Expenses Incurred on or After the Effective Date.

         Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing
Agent shall be paid in Cash by the Post-Effective Date Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

         2.   Delivery of Distributions in General.

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims or Allowed Interests
shall be made to Holders of record as of the Distribution Record Date by the Disbursing Agent, as appropriate:
(a) to the signatory set forth on any Proof of Claim or Proof of Interest filed by such Holder or other representative
identified therein (or at the last known addresses of such Holder if no Proof of Claim or Proof of Interest is filed or if
the Debtors have not been notified in writing of a change of address); (b) at the addresses set forth in any written
notices of address changes delivered to the Post-Effective Date Debtors, or the applicable Disbursing Agent, as
appropriate, after the date of any related Proof of Claim or Proof of Interest; or (c) on any counsel that has appeared
in the Chapter 11 Cases on the Holder’s behalf. Subject to this Article VI, distributions under the Plan on account of
Allowed Claims or Allowed Interests shall not be subject to levy, garnishment, attachment, or like legal process, so
that each Holder of an Allowed Claim or Allowed Interest shall have and receive the benefit of the distributions in
the manner set forth in the Plan. The Debtors, the Post-Effective Date Debtors, and the Disbursing Agent, as
applicable, shall not incur any liability whatsoever on account of any distributions under the Plan except for fraud,
gross negligence, or willful misconduct.

         3.   Minimum Distributions.

          No fractional shares of New Common Stock shall be distributed and no Cash shall be distributed in lieu of
such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed
Interest (as applicable) would otherwise result in the issuance of a number of shares of New Common Stock that is
not a whole number, the actual distribution of shares of New Common Stock shall be rounded as follows:
(a) fractions of one-half (½) or greater shall be rounded to the next higher whole number, and (b) fractions of less
than one-half (½) shall be rounded to the next lower whole number with no further payment therefore. The total
number of authorized shares of New Common Stock to be distributed under the Plan shall be adjusted as necessary
to account for the foregoing rounding.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any Holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such Holder shall be made unless and until the Disbursing Agent has
determined the then-current address of such Holder, at which time such distribution shall be made to such Holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Post-Effective Date Debtors or the Plan Administrator, as applicable,
automatically and without need for a further order by the Bankruptcy Court (notwithstanding any applicable federal,
provincial, or state escheatment, abandoned property, or unclaimed property laws to the contrary), and the Claim or
Interest of any Holder related to such property or interest in property shall be discharged and forever barred.




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E.       Manner of Payment.

         At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check or
wire transfer or as otherwise required or provided in applicable agreements.

F.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, any applicable withholding or reporting agent shall
comply with all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions made pursuant to the Plan shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, any applicable withholding or reporting agent shall be
authorized to take all actions necessary or appropriate to comply with such withholding and reporting requirements,
including liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay
applicable withholding taxes, withholding distributions pending receipt of information necessary to facilitate such
distributions, or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and
the Post-Effective Date Debtors reserve the right to allocate all distributions made under the Plan in compliance with
all applicable wage garnishments, alimony, child support, and other spousal awards, Liens, and encumbrances in a
tax-efficient manner acceptable to the Required Consenting Term Lenders.

G.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claims, to any portion of such Claims for accrued but unpaid interest.

H.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the Plan, the DIP Orders, or the Confirmation Order, or
required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any
prepetition Claims against the Debtors, and no Holder of a prepetition Claim against the Debtors shall be entitled to
interest accruing on or after the Petition Date on any such prepetition Claim. Additionally, and without limiting the
foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective
Date to the date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim
becomes an Allowed Claim.

I.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using
the exchange rate for the applicable currency as published in The Wall Street Journal (National Edition), on the
Effective Date.

J.       Setoffs and Recoupment.

         Except as expressly provided in the Plan, each Post-Effective Date Debtor may, pursuant to section 553 of
the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed
Claim, any and all claims, rights, and Causes of Action that such Post-Effective Date Debtor may hold against the
Holder of such Allowed Claim to the extent such setoff or recoupment is either (i) agreed in amount among the
relevant Post-Effective Date Debtor(s) and Holder of Allowed Claim or (ii) otherwise adjudicated by the Bankruptcy
Court or another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a Post-Effective Date
Debtor or its successor of any and all claims, rights, and Causes of Action that such Post-Effective Date Debtor or
its successor may possess against the applicable Holder. In no event shall any Holder of Claims against, or Interests
in, the Debtors be entitled to recoup any such Claim or Interest against any claim, right, or Cause of Action of the
Debtors or the Post-Effective Date Debtors, as applicable, unless such Holder actually has performed such


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recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.G of the Plan on or
before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such Holder
asserts, has, or intends to preserve any right of recoupment.

K.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

         The Debtors or the Post-Effective Date Debtors, as applicable, shall reduce in full a Claim, and such Claim
shall be disallowed without a Claim objection having to be Filed and without any further notice to or action, order,
or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account
of such Claim from a party that is not a Debtor or a Post-Effective Date Debtor, as applicable. Subject to the last
sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on account of such Claim and
receives payment from a party that is not a Debtor or a Post-Effective Date Debtor, as applicable, on account of such
Claim, such Holder shall, within fourteen (14) days of receipt thereof, repay or return the distribution to the
applicable Post-Effective Date Debtor to the extent the Holder’s total recovery on account of such Claim from the
third party and under the Plan exceeds the amount of such Claim as of the date of any such distribution under the
Plan. The failure of such Holder timely to repay or return such distribution shall result in the Holder owing the
applicable Post-Effective Date Debtor annualized interest at the Federal Judgment Rate on such amount owed for
each Business Day after the fourteen (14) day grace period specified above until the amount is fully repaid.

         2.   Claims Payable by Third Parties.

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or
in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without a Claim objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable insurance policy. Notwithstanding anything to the contrary
contained herein (including Article III of the Plan), nothing contained in the Plan shall constitute or be deemed a
release, settlement, satisfaction, compromise, or waiver of any Cause of Action that the Debtors or any Entity may
hold against any other Entity, including insurers, under any policies of insurance, nor shall anything contained
herein constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by
such insurers.

                                           ARTICLE VII.
                              PROCEDURES FOR RESOLVING CONTINGENT,
                                UNLIQUIDATED, AND DISPUTED CLAIMS

 A.      Disputed Claims Process.

         The Debtors and the Post-Effective Date Debtors shall have the exclusive authority to (i) determine,
without the need for notice to or action, order, or approval of the Bankruptcy Court, that a claim subject to any Proof
of Claim that is Filed is Allowed and (ii) file, settle, compromise, withdraw, or litigate to judgment any objections to
Claims as permitted under the Plan. Except as otherwise provided herein, all Proofs of Claim Filed after the
earlier of: (a) the Effective Date or (b) the applicable claims bar date shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against any Debtor or Post-Effective Date
Debtor, as applicable, without the need for any objection by the Debtor or Post-Effective Date Debtor, as
applicable, or any further notice to or action, order, or approval of the Bankruptcy Court.



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B.       Allowance of Claims.

         After the Effective Date and subject to the terms of the Plan, the Plan Administrator or each of the
Post-Effective Date Debtors, as applicable, shall have and retain any and all rights and defenses such Debtor had
with respect to any Claim or Interest immediately prior to the Effective Date. The Debtors may affirmatively
determine to deem Unimpaired Claims Allowed to the same extent such Claims would be allowed under applicable
non-bankruptcy law. Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
before the Effective Date (including the Confirmation Order), no Claim or Interest shall become an Allowed Claim
or Allowed Interest unless and until such Claim or Interest is deemed Allowed under the Plan or the Bankruptcy
Code or the Bankruptcy Court has entered a Final Order, including the Confirmation Order (when it becomes a Final
Order), in the Chapter 11 Cases allowing such Claim or Interest.

         Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed, and
for which no Proof of Claim is or has been timely Filed, or that is not or has not been Allowed by the Plan or a Final
Order is not considered Allowed and shall be expunged without further action by the Debtors and without further
notice to any party or action, approval, or order of the Bankruptcy Court.

C.       Estimation of Claims.

          Before or after the Effective Date, the Debtors or the Post-Effective Date Debtors, as applicable, may (but
are not required to), at any time, request that the Bankruptcy Court estimate any Disputed Claim or Interest that is
contingent or unliquidated pursuant to applicable law, including pursuant to section 502(c) of the Bankruptcy Code,
for any reason, regardless of whether any party previously has objected to such Disputed Claim or Interest or
whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction
under sections 157 and 1334 of the Judicial Code to estimate any such Disputed Claim or Interest, including during
the litigation of any objection to any Disputed Claim or Interest or during the pendency of any appeal relating to
such objection. Notwithstanding any provision otherwise in the Plan, a Disputed Claim or Interest that has been
expunged from the Claims Register but that either is subject to appeal or has not been the subject of a Final Order
shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event the
Bankruptcy Court estimates any contingent or unliquidated Claim or Interest, that estimated amount shall constitute
a maximum limitation on such Claim or Interest for all purposes under the Plan (including for purposes of
distributions) and may be used as evidence in any supplemental proceedings, and the Debtors, the Post-Effective
Date Debtors, or the Plan Administrator, as applicable, may elect to pursue any supplemental proceedings to object
to any ultimate distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event
shall any Holder of a Disputed Claim or Interest that has been estimated pursuant to section 502(c) of the
Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless such Holder has Filed a
motion requesting the right to seek such reconsideration on or before fourteen days after the date on which such
Disputed Claim or Interest is estimated.

D.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Post-Effective Date
Debtors and/or the Plan Administrator, as applicable, (and, in the event of an Equity Investment Transaction, the
Purchaser) shall have the sole authority: (i) to File, withdraw, or litigate to judgment, objections to Claims or
Interests; (ii) to settle or compromise any Disputed Claim or Interest without any further notice to or action, order, or
approval by the Bankruptcy Court; and (iii) to administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to or action, order, or approval by the Bankruptcy Court. For
the avoidance of doubt, except as otherwise provided herein, from and after the Effective Date, each Post-Effective
Date Debtor shall have and retain any and all rights and defenses such Debtor had immediately prior to the Effective
Date with respect to any Disputed Claim or Interest, including the Causes of Action retained pursuant to the Plan.

E.       Time to File Objections to Claims.

        Any objections to Claims shall be Filed by the Post-Effective Date Debtors on or before the Claims
Objection Deadline, as such deadline may be extended from time to time.


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F.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged on the Claims Register by the Post-Effective Date Debtors and/or the Plan
Administrator, as applicable, without the Post-Effective Date Debtors having to File an application, motion,
complaint, objection, or any other legal proceeding seeking to object to such Claim or Interest and without any
further notice to or action, order, or approval of the Bankruptcy Court.

G.       Disputed and Contingent Claims Reserve.

         On or after the Effective Date, the Debtors or the Post-Effective Date Debtors, as applicable, may establish
one or more reserves for Claims that are contingent or have not yet been Allowed, in an amount or amounts as
reasonably determined by the applicable Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as
applicable, consistent with the Proof of Claim Filed by the applicable Holder of such Disputed Claim. Following
the final resolution of all Disputed Claims, any residual amounts in the Disputed Claims Reserve shall constitute
Residual Cash and be immediately distributable to Holders of Allowed First Lien Claims.

H.       Disallowance of Claims or Interests.

          All Claims and Interests of any Entity from which property is sought by the Debtors under sections 542,
543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Post-Effective Date Debtors, as applicable, allege
is a transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) shall
be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Claims or Interests
may not receive any distributions on account of such Claims until such time as such Causes of Action against that
Entity have been settled or a Bankruptcy Court order with respect thereto has been entered and all sums due, if any,
to the Debtors by that Entity have been turned over or paid to the Post-Effective Date Debtors. All Claims Filed on
account of an indemnification obligation to a director, officer, or employee shall be deemed satisfied and expunged
from the Claims Register as of the Effective Date to the extent such indemnification obligation is assumed (or
honored or reaffirmed, as the case may be) pursuant to the Plan after notice to the Holder of such Claim, but without
any further notice to or action, order, or approval of the Bankruptcy Court.

         Except as provided herein or otherwise agreed to by the Post-Effective Date Debtors, in their sole
discretion, any and all Proofs of Claim Filed after the applicable bar date shall be deemed Disallowed as of the
Effective Date without any further notice to or action, order, or approval of the Bankruptcy Court, and Holders of
such Claims may not receive any distributions on account of such Claims, unless on or before the Confirmation
Hearing such late Claim has been deemed timely Filed by a Final Order.

I.       Amendments to Proofs of Claim or Interest.

         On or after the Effective Date, a Proof of Claim or Proof of Interest may not be Filed or amended without
the prior authorization of the Bankruptcy Court, the Debtors, the Post-Effective Date Debtors, or the Plan
Administrator, as applicable, and any such new or amended Proof of Claim or Proof of Interest Filed that is not so
authorized before it is Filed shall be deemed Disallowed in full and expunged without any further action, order, or
approval of the Bankruptcy Court absent prior Bankruptcy Court approval or agreement by the Debtors, the
Post-Effective Date Debtors, or the Plan Administrator, as applicable; provided that the foregoing shall not apply to
Administrative Claims [or claims filed by Governmental Units].

J.       Distributions Pending Allowance.

         Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim
or Interest, as applicable, no payment or distribution provided under the Plan shall be made on account of such
Claim or Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest.




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K.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Allowed Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Allowed Interest (as applicable) in
accordance with the provisions of the Plan. As soon as reasonably practicable after the date that the order or
judgment of the Bankruptcy Court allowing any Disputed Claim or Disputed Interest becomes a Final Order, the
Disbursing Agent shall provide to the Holder of such Claim or Interest the distribution (if any) to which such Holder
is entitled under the Plan as of the Effective Date, without any interest, dividends, or accruals to be paid on account
of such Claim or Interest unless required under applicable bankruptcy law.

                                      ARTICLE VIII.
                SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS 5

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan, the Confirmation Order, or in any contract, instrument, or other agreement or document created or entered into
pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany
Claims resolved or compromised after the Effective Date by the Post-Effective Date Debtors), Interests, and Causes
of Action of any nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition
Date, whether known or unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the
Debtors or any of their assets or properties, regardless of whether any property shall have been distributed or
retained pursuant to the Plan on account of such Claims or Interests, including demands, liabilities, and Causes of
Action that arose before the Effective Date, any liability (including withdrawal liability) to the extent such Claims or
Interests relate to services performed by employees of the Debtors prior to the Effective Date and that arise from a
termination of employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: (i) a Proof of Claim based upon such debt or right is Filed or
deemed Filed pursuant to section 501 of the Bankruptcy Code; (ii) a Claim or Interest based upon such debt, right,
or Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (iii) the Holder of such a Claim or Interest
has accepted the Plan. The Confirmation Order shall be a judicial determination of the discharge of all Claims
(other than any Reinstated Claims) and Interests (other than any Intercompany Interests that are Reinstated) subject
to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the New Takeback Facility Documents, the Plan, the Confirmation
Order, the Purchase Agreement (if applicable), or any contract, instrument, release, or other agreement or
document created pursuant to the Plan, on the Effective Date and concurrently with the applicable
distributions made pursuant to the Plan and, in the case of a Secured Claim, in satisfaction in full of the
portion of the Secured Claim that is Allowed as of the Effective Date, except for Other Secured Claims that
the Debtors elect to Reinstate in accordance with Article III.B.1 hereof, all mortgages, deeds of trust, Liens,
pledges, or other security interests against any property of the Estates shall be fully released and discharged,
and all of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests shall revert to the Post-Effective Date Debtors and their successors and assigns. Any Holder
of such Secured Claim (and the applicable agents for such Holder) shall be authorized and directed, at the
sole cost and expense of the Post-Effective Date Debtors, to release any collateral or other property of any
Debtor (including any Cash Collateral and possessory collateral) held by such Holder (and the applicable
agents for such Holder) and to take such actions as may be reasonably requested by the Post-Effective Date
Debtors or the Plan Administrator, as applicable, to evidence the release of such Lien, including the


5    [NTD: Release provisions subject to ongoing review, including as part of the Special Committee
     investigation.]


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execution, delivery, and filing or recording of such releases. The presentation or filing of the Confirmation
Order to or with any federal, state, provincial, or local agency or department shall constitute good and
sufficient evidence of, but shall not be required to effect, the termination of such Liens.

C.      Releases by the Debtors.

          Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby
confirmed, on and after the Effective Date, the Released Parties will be deemed conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged, by and on behalf of the Debtors, their
Estates, and, if applicable, the Post-Effective Date Debtors and the Plan Administrator, in each case on behalf
of itself and its respective successors, assigns, and representatives and any and all other Persons that may
purport to assert any Cause of Action derivatively, by or through the foregoing Persons, from any and all
claims and Causes of Action whatsoever (including any derivative claims asserted or assertable on behalf of
the Debtors, their Estates, the Post-Effective Date Debtors, or the Plan Administrator), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law or equity,
whether sounding in tort or contract, whether arising under federal or state statutory or common law, or any
other applicable international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty,
requirement or otherwise, that the Debtors, their Estates, the Post-Effective Date Debtors, if applicable, the
Plan Administrator, if applicable, or their Affiliates, heirs, executors, administrators, successors, assigns,
managers, accountants, attorneys, representatives, consultants, agents, and any other Persons claiming under
or through them would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Interest or other Person, based on or relating to, or in
any manner arising from, in whole or in part, the Debtors or the Estates, the Chapter 11 Cases, the
Restructuring Transactions, the purchase, sale, or rescission of the purchase or sale of any security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated under the Plan, the business or contractual arrangements or interactions between the Debtors and
any Released Party, the restructuring of any Claim or Interest before or during the Chapter 11 Cases, the
negotiation, formulation, preparation, or consummation of the RSA, the Restructuring Transactions, the
First Lien Credit Documents, the Bridge Facility Documents, the New Organizational Documents, the DIP
Documents, the DIP Orders, the Disclosure Statement, the Plan Supplement, the Purchase Agreement (if
applicable), the Plan and related agreements, instruments, and other documents, the solicitation of votes with
respect to the Plan, the New Takeback Facility Documents, the New Organizational Documents, the
Receivables Program Documents, and all other Definitive Documents, in all cases based upon any act or
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained in the Plan and, further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (i) in exchange for the good and valuable consideration provided by the Released Parties,
including, without limitation, the Released Parties’ contributions to facilitating the Restructuring
Transactions and implementing the Plan; (ii) a good faith settlement and compromise of the Claims released
by the Debtor Release; (iii) in the best interests of the Debtors and all Holders of Claims and Interests;
(iv) fair, equitable, and reasonable; (v) given and made after due notice and opportunity for hearing; and
(vi) a bar to any of the Debtors, the Debtors’ Estates, or, if applicable, the Post-Effective Date Debtors or the
Plan Administrator, asserting any Claim or Cause of Action released pursuant to the Debtor Release.

D.      Releases by Holders of Claims and Interests.

         Except as otherwise expressly set forth in the Plan or the Confirmation Order, on and after the
Effective Date, the Released Parties will be deemed conclusively, absolutely, unconditionally, irrevocably, and
forever released and discharged, by the Releasing Parties, in each case on behalf of itself and its respective
successors, assigns, and representatives and any and all other Persons that may purport to assert any Cause
of Action derivatively, by or through the foregoing Persons, in each case solely to the extent of the Releasing
Parties’ authority to bind any of the foregoing, including pursuant to agreement or applicable

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non-bankruptcy law, from any and all claims and Causes of Action whatsoever (including any derivative
claims, asserted or assertable on behalf of the Debtors or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or
unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law or equity, whether sounding
in tort or contract, whether arising under federal or state statutory or common law, or any other applicable
international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement, or
otherwise, that such Holders or their estates, Affiliates, heirs, executors, administrators, successors, assigns,
managers, accountants, attorneys, representatives, consultants, agents, and any other Persons claiming under
or through them would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Interest or other Person, based on or relating to, or in
any manner arising from, in whole or in part, the Debtors or the Estates, the Chapter 11 Cases, the
Restructuring Transactions, the purchase, sale, or rescission of the purchase or sale of any security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated under the Plan, the business or contractual arrangements or interactions between the Debtors and
any Released Party, the restructuring of any Claim or Interest before or during the Chapter 11 Cases, the
negotiation, formulation, preparation, or consummation of the RSA, the Restructuring Transactions, the
First Lien Credit Documents, the Bridge Facility Documents, the New Organizational Documents, the DIP
Documents, the DIP Orders, the Disclosure Statement, the Plan Supplement, the Purchase Agreement (if
applicable), the Plan and related agreements, instruments, and other documents, the solicitation of votes with
respect to the Plan, the New Takeback Facility Documents, the New Organizational Documents, the
Receivables Program Documents, and all other Definitive Documents, in all cases based upon any act or
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the
Third-Party Release is: (i) consensual; (ii) essential to the confirmation of the Plan; (iii) given in exchange for
good and valuable consideration provided by the Released Parties; (iv) a good faith settlement and
compromise of the Claims released by the Third-Party Release; (v) in the best interests of the Debtors and
their Estates; (vi) fair, equitable, and reasonable; (vii) given and made after due notice and opportunity for
hearing; and (viii) a bar to any of the Releasing Parties asserting any claim or Cause of Action released
pursuant to the Third-Party Release.

E.      Exculpation.

         To the fullest extent permitted by applicable law, no Exculpated Party will have or incur, and each
Exculpated Party will be released and exculpated from, any Claim or Cause of Action arising prior to the
Effective Date in connection with or arising out of the administration of the Chapter 11 Cases, the negotiation
and pursuit of the RSA, the Restructuring Transactions, the First Lien Credit Documents, the Bridge Facility
Documents, the New Organizational Documents, the DIP Documents, the DIP Orders, the Disclosure
Statement, the Plan Supplement, the Purchase Agreement (if applicable), the Plan and related agreements,
instruments, and other documents, the New Takeback Facility Documents, the Receivables Program
Documents, and all other Definitive Documents, the solicitation of votes for, or Confirmation of, the Plan, the
funding of the Plan, the occurrence of the Effective Date, the administration of the Plan or the property to be
distributed under the Plan, the issuance of securities under or in connection with the Plan, the purchase, sale,
or rescission of the purchase or sale of any security of the Debtors or the Post-Effective Date Debtors, if
applicable, in connection with the Plan and the Restructuring Transactions, or the transactions in
furtherance of any of the foregoing, other than Claims or Causes of Action in each case arising out of or
related to any act or omission of an Exculpated Party that is a criminal act or constitutes actual fraud, willful
misconduct, or gross negligence as determined by a Final Order, but in all respects such Persons will be
entitled to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The Exculpated Parties have acted in compliance with the applicable provisions of the
Bankruptcy Code with regard to the solicitation and distribution of securities pursuant to the Plan and,
therefore, are not, and on account of such distributions will not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan, including the issuance of securities thereunder. The exculpation will

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be in addition to, and not in limitation of, all other releases, indemnities, exculpations, and any other
applicable law or rules protecting such Exculpated Parties from liability.

F.       Injunction.

          Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations
issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who have held,
hold, or may hold Claims or Interests that have been released, discharged, or are subject to exculpation are
permanently enjoined, from and after the Effective Date, from taking any of the following actions against, as
applicable, the Debtors, the Post-Effective Date Debtors, the Exculpated Parties, or the Released Parties:
(i) commencing or continuing in any manner any action or other proceeding of any kind on account of or in
connection with or with respect to any such Claims, Interests, Causes of Action, or liabilities; (ii) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree, or order against
such Entities on account of or in connection with or with respect to any such Claims, Interests, Causes of
Action, or liabilities; (iii) creating, perfecting, or enforcing any encumbrance of any kind against such Entities
or the property or the Estates of such Entities on account of or in connection with or with respect to any such
Claims, Interests, Causes of Action, or liabilities; (iv) asserting any right of setoff, subrogation, or
recoupment of any kind against any obligation due from such Entities or against the property of such Entities
on account of or in connection with or with respect to any such Claims, Interests, Causes of Action, or
liabilities unless such Holder has Filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such Holder
asserts, has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and
(v) commencing or continuing in any manner any action or other proceeding of any kind on account of or in
connection with or with respect to any such Claims, Interests, Causes of Action, or liabilities released or
settled pursuant to the Plan.

         No Person or Entity may commence or pursue a Claim or Cause of Action of any kind against the
Debtors, the Post-Effective Date Debtors, the Exculpated Parties, or the Released Parties, as applicable, that
relates to or is reasonably likely to relate to any act or omission in connection with, relating to, or arising out
of a Claim or Cause of Action subject to Article VIII.C, Article VIII.D, or Article VIII.E hereof, without the
Bankruptcy Court (i) first determining, after notice and a hearing, that such Claim or Cause of Action
represents a colorable Claim of any kind, and (ii) specifically authorizing such Person or Entity to bring such
Claim or Cause of Action against any such Debtor, Post-Effective Date Debtor, Exculpated Party, or
Released Party.

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, principals, and direct and indirect affiliates shall be
enjoined from taking any actions to interfere with the implementation or Consummation of the Plan. Except
as otherwise set forth in the Confirmation Order, each Holder of an Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions
set forth in this Article VIII.F.

G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Post-Effective Date Debtors, or deny,
revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a
grant to, discriminate with respect to such a grant against the Post-Effective Date Debtors, or another Entity with
whom the Post-Effective Date Debtors have been associated, solely because each Debtor has been a debtor under
chapter 11 of the Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or
during the Chapter 11 Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is
dischargeable in the Chapter 11 Cases.




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H.      Document Retention.

         On and after the Effective Date, the Post-Effective Date Debtors may maintain documents in accordance
with their standard document retention policy, as may be altered, amended, modified, or supplemented by the Post-
Effective Date Debtors.

I.      Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (i) such Claim has been adjudicated as non-contingent
or (ii) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a
Final Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                       ARTICLE IX.
                    CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.      Conditions Precedent to the Effective Date.

          It shall be a condition to the Effective Date of the Plan that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article IX.B hereof:

         1.          the Restructuring Transactions shall have been implemented in accordance with the
Restructuring Transactions Memorandum in all material respects;

        2.            in the event of an Asset Sale, the Distribution Reserve Accounts shall have been established
and funded with the Priority Claims Reserve Amount and the Wind-Down Amount;

         3.          the Bankruptcy Court shall have entered the Confirmation Order and the Confirmation Order
shall have become a Final Order;

         4.          each document or agreement constituting the applicable Definitive Documents, the form and
substance of which shall be subject to the consent rights set forth in the RSA (and, in the event of a Sale
Transaction, the form and substance of which shall be reasonably acceptable to the Purchaser), shall have been
executed and/or effectuated and remain in full force and effect, and any conditions precedent related thereto or
contained therein shall have been satisfied or waived by the applicable party or parties prior to or
contemporaneously with the occurrence of the Effective Date;

         5.            the New Takeback Facility Documents, if applicable, the form and substance of which shall
be subject to the consent rights set forth in the RSA, shall have been executed and delivered by each party thereto,
and any conditions precedent related thereto shall have been satisfied or waived by the parties thereto (with the
consent of the Required Consenting Term Lenders), other than such conditions that relate to the effectiveness of the
Plan and related transactions, including payment of fees and expenses;

         6.             the DIP Claims shall have been indefeasibly paid in full in Cash or, solely to the extent set
forth herein, satisfied by the New Takeback Facility;

         7.           the New Common Stock shall have been issued;

         8.           all Restructuring Expenses, to the extent invoiced, shall have been paid in full;

       9.             the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
documents that are necessary to implement and effectuate the Plan and the Restructuring Transactions;



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         10.           if and as applicable, the Purchase Agreement shall have been executed and all conditions
precedent to the effectiveness thereof shall have occurred or will occur substantially simultaneously with the
effectiveness of the Plan;

         11.             if and as applicable, the Purchaser shall deliver the Purchase Price to the Debtors in exchange
for the Post-Effective Date Debtors’ distribution of the substantially all of the New Common Stock or transfer of
substantially all of the Debtors’ assets or as otherwise agreed to by the Debtors and the Purchaser;

        12.            the Plan Supplement and all of the schedules, documents, and exhibits contained therein shall
have been Filed;

         13.           the RSA shall remain in full force and effect;

        14.            none of the Chapter 11 Cases shall have been converted to a case under chapter 7 of the
Bankruptcy Code;

         15.         no Bankruptcy Court order appointing a trustee or examiner with expanded powers shall have
been entered and remain in effect under any chapter of the Bankruptcy Code with respect to the Debtors; and

        16.           all professional fees and expenses of retained professionals required to be approved by the
Bankruptcy Court shall have been paid in full or amounts sufficient to pay such fees and expenses after the Effective
Date shall have been placed in the Professional Fee Escrow Account pending approval by the Bankruptcy Court.

B.       Waiver of Conditions.

          The conditions to the Effective Date set forth in this Article IX, except for the conditions set forth in Article
IX.A.8 and 16 of the Plan (each of which may not be waived without the consent of the affected parties), may be
waived in whole or in part at any time by the Debtors only with the prior written consent (email shall suffice) of the
Required Consenting Term Lenders and, in the event of a Sale Transaction, the Purchaser, without notice, leave, or
order of the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

         If Consummation does not occur, the Plan shall be null and void in all respects, and nothing contained in
the Plan or the Disclosure Statement shall: (i) constitute a waiver or release of any Claims by the Debtors or other
Claims or Interests; (ii) prejudice in any manner the rights of the Debtors, any Holders of Claims or Interests, or any
other Entity; or (iii) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of
Claims or Interests, or any other Entity in any respect; provided that all provisions of the RSA that survive
termination thereof shall remain in effect in accordance with the terms thereof.

D.       Substantial Consummation.

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on
the Effective Date.

                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

         Except as otherwise specifically provided in the Plan and only to the extent permitted by the RSA, the
Debtors reserve the right to modify the Plan, whether such modification is material or immaterial, and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
Subject to those restrictions on modifications set forth in the Plan and the RSA, and the requirements of
section 1127 of the Bankruptcy Code, rule 3019 of the Bankruptcy Rules, and, to the extent applicable,


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sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its respective rights
to revoke or withdraw, or to alter, amend, or modify, the Plan with respect to such Debtor, one or more times, after
Confirmation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend, or
modify the Plan, or remedy any defect or omission or reconcile any inconsistencies in the Plan, the Disclosure
Statement, or the Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of
the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

         To the extent permitted by the RSA, the Debtors reserve the right to revoke or withdraw the Plan prior to
the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke or withdraw the Plan,
or if Confirmation or Consummation does not occur, then: (i) the Plan shall be null and void in all respects; (ii) any
settlement or compromise embodied in the Plan (including the fixing or limiting to an amount certain of any Claim
or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases
effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null and
void; and (iii) nothing contained in the Plan shall (a) constitute a waiver or release of any Claims or Interests,
(b) prejudice in any manner the rights of such Debtor or any other Entity, or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

        1.            allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the secured or unsecured status, priority,
amount, or allowance of Claims or Interests;

         2.           decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
the Bankruptcy Code or the Plan;

         3.            resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of
any Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be
liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Cure pursuant to
section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or
Unexpired Lease that is assumed; (c) the Post-Effective Date Debtors’ amending, modifying, or supplementing, after
the Effective Date, pursuant to Article V hereof, any Executory Contracts or Unexpired Leases to the list of
Executory Contracts and Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute regarding
whether a contract or lease is or was executory or expired;

        4.           grant any consensual request to extend the deadline for assuming or rejecting Executory
Contracts and Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code;




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        5.           ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable)
are accomplished pursuant to the provisions of the Plan;

         6.          adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
matters, and any other matters and grant or deny any applications involving a Debtor that may be pending on the
Effective Date;

        7.            adjudicate, decide, or resolve any and all matters related to sections 1141 and 1145 of the
Bankruptcy Code;

         8.            enter and implement such orders as may be necessary to execute, implement, or consummate
the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or documents
created or entered into in connection with the Plan or the Disclosure Statement;

         9.          enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a)
of the Bankruptcy Code;

        10.           resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred
in connection with the Plan;

        11.             issue injunctions, enter and implement other orders, or take such other actions as may be
necessary to restrain interference by any Entity with Consummation or enforcement of the Plan;

         12.           resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, discharges, and exculpations contained in the Plan, including under Article VIII hereof,
whether arising prior to or after the Effective Date, and enter such orders as may be necessary or appropriate to
implement such releases, injunctions, exculpations, and other provisions;

          13.         resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim or
Interest for amounts not timely repaid pursuant to Article VI.K hereof;

        14.           enter and implement such orders as are necessary if the Confirmation Order is for any reason
modified, stayed, reversed, revoked, or vacated;

         15.          determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or
document created in connection with the Plan, the Plan Supplement, or the Disclosure Statement, including the RSA
and the Purchase Agreement (if applicable);

        16.           enter an order concluding or closing the Chapter 11 Cases;

        17.           adjudicate any and all disputes arising from or relating to distributions under the Plan;

         18.          consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         19.          determine requests for the payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

        20.          hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements (including the
Purchase Agreement, if applicable), documents, or instruments executed in connection with the Plan;



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         21.          hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

         22.          hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII hereof;

         23.           enforce all orders previously entered by the Bankruptcy Court; and

         24.           hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Takeback
Facility Documents shall be governed by the jurisdictional provisions therein, and the Bankruptcy Court shall not
retain any jurisdiction with respect thereto.

                                               ARTICLE XII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt,
the Plan Supplement) shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Post-Effective Date Debtors, the Purchaser (if applicable), and any and all Holders of Claims or Interests
(irrespective of whether such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties
to or are subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each
Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired
Leases with the Debtors. All Claims against and Interests in the Debtors shall be as fixed, adjusted, or
compromised, as applicable, pursuant to the Plan regardless of whether any Holder of a Claim or Interest has voted
on the Plan.

B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the RSA, the Debtors may
File with the Bankruptcy Court such agreements and other documents as may be necessary to effectuate and further
evidence the terms and conditions of the Plan and the RSA. The Debtors or the Post-Effective Date Debtors, as
applicable, and all Holders of Claims or Interests receiving distributions pursuant to the Plan and all other parties in
interest shall, from time to time, prepare, execute, and deliver any agreements or documents and take any other
actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

C.       Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Post-Effective Date Debtors,
(or the Disbursing Agent on behalf of each of the Post-Effective Date Debtors) for each quarter (including any
fraction thereof) until such Post-Effective Date Debtor’s Chapter 11 Case is converted, dismissed, or closed,
whichever occurs first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

        On the Effective Date, the Committee and any other statutory committee appointed in these Chapter 11
Cases shall dissolve, and members thereof shall be released and discharged from all rights and duties from or related
to the Chapter 11 Cases. The Post-Effective Date Debtors shall no longer be responsible for paying any fees or
expenses incurred by the members of or advisors to any statutory committees after the Effective Date.




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         All monthly reports shall be filed, and all fees due and payable pursuant to section 1930(a) of Title 28 of
the United States Code shall be paid by the Debtors or the Post-Effective Date Debtors, as applicable, (or the
Disbursing Agent on behalf of each of the Post-Effective Date Debtors) on the Effective Date, and following the
Effective Date, the Post-Effective Date Debtors (or the Disbursing Agent on behalf of each of the Post-Effective
Date Debtors) shall pay such fees as they are assessed and come due for each quarter (including any fraction thereof)
and shall file quarterly reports in a form reasonably acceptable to the U.S. Trustee. Each Debtor shall remain
obligated to pay such quarterly fees to the U.S. Trustee and to file quarterly reports until the earliest of that
particular Debtor’s case being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code.

E.       Reservation of Rights.

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
enters the Confirmation Order. None of the Filing of the Plan, any statement or provision contained in the Plan, or
the taking of any action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement
shall be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders of
Claims or Interests prior to the Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of, any heir, executor, administrator, successor, or assign, Affiliate, officer, manager,
director, agent, representative, attorney, beneficiaries, or guardian, if any, of such Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

         1.   if to the Debtors, to:

                    Cyxtera Technologies, Inc.
                    Attention: Victor Semah, Chief Legal Counsel
                    E-mail address: victor.semah@cyxtera.com
                    with copies to:

                    Kirkland & Ellis LLP
                    601 Lexington Avenue
                    New York, NY 10022
                    Attention: Edward O. Sassower, Christopher Marcus, Derek I. Hunter
                    E-mail addresses:        esassower@kirkland.com
                                             christopher.marcus@kirkland.com
                                             derek.hunter@kirkland.com

         2.   if to a member of the AHG, to:

                    Gibson, Dunn & Crutcher LLP
                    200 Park Ave
                    New York, NY 10166
                    Attention: Scott J. Greenberg, Steven Domanowski, Stephen D. Silverman
                    E-mail addresses:         sgreenberg@gibsondunn.com,
                                              sdomanowski@gibsondunn.com
                                              ssilverman@gibsondunn.com



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         3.   if to a Consenting Sponsor, to:

                     Latham & Watkins LLP
                     1271 6th Avenue
                     New York, NY 10020
                     Attention: George A. Davis, Joseph C. Celentino
                     E-mail addresses:        george.davis@lw.com,
                                              joe.celentino@lw.com

         4.   if to the Purchaser, to:

                     [●]

         After the Effective Date, the Debtors have authority to notify Entities that, in order to continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents
pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

H.       Term of Injunctions or Stays.

          Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained
in the Plan or the Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the RSA, the Plan (including, for
the avoidance of doubt, the Plan Supplement) supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.

J.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://www.kccllc.net/cyxtera or the Bankruptcy Court’s
website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the terms
of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

K.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan shall remain in full force and effect and shall in no way be affected, impaired, or invalidated
by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with
the foregoing, is: (i) valid and enforceable pursuant to its terms; (ii) integral to the Plan, and any deletion or



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modification thereof shall be subject to the consent rights set forth in the RSA (and, in the event of a Sale
Transaction, with the reasonable consent of the Purchaser); and (iii) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

          Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code,
the Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders,
officers, directors, managers, employees, advisors, and attorneys shall be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties nor individuals nor the Post-
Effective Date Debtors will have any liability for the violation of any applicable law, rule, or regulation governing
the solicitation of votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under
the Plan or any previous plan.

M.       Closing of Chapter 11 Cases.

        The Post-Effective Date Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the
Bankruptcy Court to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

         Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured, or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, the RSA, or papers Filed with the
Bankruptcy Court prior to the Confirmation Date.

O.       Creditor Default.

          An act or omission by a Holder of a Claim or Interest or the Purchaser in contravention of the provisions of
the Plan shall be deemed an event of default under the Plan. Upon an event of default, the Post-Effective Date
Debtors may seek to hold the defaulting party in contempt of the Confirmation Order and shall be entitled to
reasonable attorneys’ fees and costs of the Post-Effective Date Debtors in remedying such default. Upon the finding
of such a default by a Holder of a Claim or Interest, the Bankruptcy Court may: (a) designate a party to appear,
sign, and/or accept the documents required under the Plan on behalf of the defaulting party, in accordance with
Bankruptcy Rule 7070; (b) enforce the Plan by order of specific performance; (c) award a judgment against such
defaulting Holder of a Claim or Interest in favor of the Post-Effective Date Debtors in an amount, including interest,
if applicable, to compensate the Post-Effective Date Debtors for the damages caused by such default; and (d) make
such other order as may be equitable that does not materially alter the terms of the Plan.

P.       Removal or Abandonment of Third Parties’ Property.

         Nothing in the Plan shall impose upon the Post-Effective Date Debtors any obligation to store or protect
any third party’s property, all of which property will be deemed abandoned and surrendered to the Post-Effective
Date Debtors if such property has not been removed (by its owner in a commercially reasonable manner, and with
insurance to cover any damage from such removal) from any real property owned or leased by the Post-Effective
Date Debtors within forty-five (45) days after Confirmation of the Plan. Following the abandonment and surrender
of any such property, the Post-Effective Date Debtors may sell, transfer, assign, scrap, abandon, or otherwise
dispose of such property and retain any proceeds resulting therefrom.

                                     [Remainder of page intentionally left blank.]




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Dated: September 13, 2023                          Cyxtera Technologies, Inc.
                                                   on behalf of itself and all other Debtors


                                                   /s/ Eric Koza
                                                        Name: Eric Koza
                                                        Title: Chief Restructuring Officer




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                                   Exhibit B

                                    Redline
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF NEW JERSEY

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    CYXTERA TECHNOLOGIES, INC., et al.,1                             )     Case No. 23-14853 (JKS)
                                                                     )
                              Debtors.                               )     (Jointly Administered)
                                                                     )

          AMENDED JOINT PLAN OF REORGANIZATION OF CYXTERA TECHNOLOGIES, INC.
        AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


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    Co-Counsel to                                               Co-Counsel to
    the Debtors and Debtors in Possession                       the Debtors and Debtors in Possession


    Dated: August 7September 13, 2023




1      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
       proposed Claims and Noticing Agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera
       Technologies, Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is:
       2333 Ponce de Leon Boulevard, Ste. 900, Coral Gables, Florida, 33134.
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                                                  INTRODUCTION

         Cyxtera Technologies, Inc. and the above-captioned debtors and debtors in possession propose thisthe Plan
for the resolution of the outstanding Claims against and Interests in the Debtors pursuant to chapter 11 of the
Bankruptcy Code. Capitalized terms used herein and not otherwise defined have the meanings ascribed to such
terms in Article I.A of thisthe Plan. Although proposed jointly for administrative purposes, the Plan constitutes a
separate Plan for each Debtor for the resolution of outstanding Claims and Interests pursuant to the Bankruptcy
Code. Holders of Claims against or Interests in the Debtors may refer to the Disclosure Statement for a discussion
of the Debtors’ history, businesses, assets, results of operations, historical financial information, and projections of
future operations as well as a summary and description of thisthe Plan, the Restructuring Transactions, and certain
related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
Bankruptcy Code.

      ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO READ
THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT
OR REJECT THE PLAN.

                                              ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in thisthe Plan, capitalized terms have the meanings set forth below.

     1.     “Administrative Claim” means a Claim for costs and expenses of administration of the Estates under
sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary
costs and expenses incurred on or after the Petition Date of preserving the Estates and operating the businesses of
the Debtors; (b) Allowed Professional Fee Claims in the Chapter 11 Cases; (c) all fees and charges assessed against
the Estates under chapter 123 of title 28 of the United States Code, 28 U.S.C. §§ 1911–1930; (d) Adequate
Protection Claims (as defined in the DIP Orders); (e) Restructuring Expenses, and (f) the Disinterested Director
Fee Claims.

    2.       “Administrative Claims Bar Date” means the deadline for Filing requests for payment of Administrative
Claims, which: (a) with respect to Administrative Claims other than Professional Fee Claims, shall be thirty (30)
days after the Effective Date; and (b) with respect to Professional Fee Claims, shall be forty-five (45) days after the
Effective Date.

    3.      “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code as if the reference Entity
were a debtor in a case under the Bankruptcy Code.

    4.     “Agents” means, collectively, the DIP Agent, the Prepetition Agent, the Bridge Facility Agent, the New
Takeback Facility Agent, and the Receivables Program Agent, including, in each case, any successors thereto.

   5.    “AHG” means that certain ad hoc group of Holders of Term Loan Claims represented by the
AHG Advisors.

      6.     “AHG Advisors” means (i) Gibson, Dunn & Crutcher LLP and, (ii) Houlihan Lokey Capital, Inc., and
(iii) Gibbons P.C.

    7.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim that is
evidenced by a Proof of Claim timely Filed by the applicable bar date (or for which Claim a Proof of Claim is not
required under the Plan, the Bankruptcy Code, or a Final Order of the Bankruptcy Court); (b) a Claim that is listed in
the Schedules as not contingent, not unliquidated, and not disputed, and for which no Proof of Claim has been
timely filed; or (c) a Claim Allowed pursuant to the Plan, any stipulation approved by the Bankruptcy Court, any



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contract, instrument, indenture, or other agreement entered into or assumed in connection with the Plan, or a Final
Order of the Bankruptcy Court; provided that, with respect to a Claim described in clauses (a) and (b) above, such
Claim shall be considered Allowed only if and to the extent that no objection to the allowance thereof has been
interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
Bankruptcy Court or, if such an objection is so interposed, such Claim shall have been Allowed by a Final Order.
Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed, and for
which no Proof of Claim or Interest is or has been timely Filed, is not considered Allowed and shall be expunged
without further action by the Debtors and without further notice to any party or action, approval, or order of the
Bankruptcy Court, and Holders of such Claims shall not receive any distributions under the Plan on account of such
Claims or Interests. Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section
502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount that it
owes. For the avoidance of doubt, a Proof of Claim Filed after the applicable bar date shall not be Allowed for any
purposes whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow” and “Allowing” shall
have correlative meanings.

     8.     “Asset Sale” means a Sale Transaction in which the Debtors sell all or substantially all of their assets to
the Purchaser pursuant to the Purchase Agreement.

    9.      8. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532.

    10.     9. “Bankruptcy Court” means the United States Bankruptcy Court for the District of New Jersey.

     11.    10. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court.

    12.    11. “Bidding Procedures” means the bidding procedures attached as Exhibit 1 to the Bidding
Procedures Order.

    13.     12. “Bidding Procedures Documents” means the Bidding Procedures, the Bidding Procedures Motion,
and the Bidding Procedures Order.

    14.    13. “Bidding Procedures Motion” means the Debtors’ Motion for Entry of an Order (I) Approving the
Bidding Procedures and Auction, (II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid Deadlines
and an Auction, (IV) Approving the Form and Manner of Notice Thereof, and (V) Granting Related Relief [Docket
No. 95].

     15.    14. “Bidding Procedures Order” means the Order (I) Approving the Bidding Procedures and Auction,
(II) Approving Stalking Horse Bid Protections, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the
Form and Manner of Notice Thereof, and (V) Granting Related Relief [Docket No. 180].

    16.     15. “Bridge Facility” means that certain super senior financing facility issued pursuant to the Bridge
Facility Credit Agreement.

   17.      16. “Bridge Facility Agent” means Wilmington Savings Fund Society, FSB, in its capacity as
administrative and collateral agent under the Bridge Facility Credit Agreement.

    18.     17. “Bridge Facility Credit Agreement” means that certain Frist Lien Priority Credit Agreement dated as
of May 4, 2023, by and among Initial Holdings, the Prepetition Borrower, the lenders party thereto, and the Bridge
Facility Agent.

    19.    18. “Bridge Facility Documents” means the Bridge Facility Credit Agreement and any other
documentation necessary to effectuate the incurrence of the Bridge Facility.




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   20.     19. “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

     21.     20. “Cash” means cash and cash equivalents, including bank deposits, checks, and other similar items in
legal tender of the United States of America.

    22.     21. “Cash Collateral” has the meaning set forth in section 363(a) of the Bankruptcy Code.

     23.      22. “Cause of Action” means any action, claim, cross-claim, third-party claim, cause of action,
controversy, dispute, demand, right, Lien, indemnity, contribution, guaranty, suit, obligation, liability, loss, debt, fee
or expense, damage, interest, judgment, cost, account, defense, remedy, offset, power, privilege, proceeding, license,
and franchise of any kind or character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter
arising, contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, secured or unsecured, assertable directly or derivatively (including any alter ego theories),
whether arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or pursuant to any
other theory of law (including under any state or federal securities laws). Causes of Action include: (a) any right of
setoff, counterclaim, or recoupment and any claim for breach of contract or for breach of duties imposed by law or
in equity, (b) the right to object to Claims or Interests, (c) any claim pursuant to section 362 or chapter 5 of the
Bankruptcy Code, (d) any claim or defense including fraud, mistake, duress, and usury, and any other defenses set
forth in section 558 of the Bankruptcy Code, and (e) any state law fraudulent transfer claim.

      24.    23. “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending for
that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court, and (b) when used with reference to
all the Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

    25.      24. “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of
the Debtors.

     26.      25. “Claims and Noticing Agent” means Kurtzman Carson Consultants LLC, the claims, noticing, and
solicitation agent retained by the Debtors in the Chapter 11 Cases by Bankruptcy Court order.

     27.     “Claims Objection Deadline” means the deadline for objecting to a Claim asserted against a Debtor,
which shall be on the date that is the later of (a) 180 days after the Effective Date and (b) such other period of
limitation as may be specifically fixed by the Debtors or the Post-Effective Date Debtors, as applicable, or by an
order of the Bankruptcy Court for objecting to such Claims.

     28.    26. “Claims Register” means the official register of Claims and Interests in the Debtors maintained by
the Claims and Noticing Agent.

     29.    27. “Class” means a class of Claims or Interests as set forth in Article III hereof pursuant to
section 1122(a) of the Bankruptcy Code.

    30.     28. “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

    31.     29. “Committee” means the official committee of unsecured creditors appointed in the Chapter 11 Cases
pursuant to section 1102(a) of the Bankruptcy Code as set forth in the Notice of Appointment of Official Committee
of Unsecured Creditors [Docket No. 133] and as may be reconstituted from time to time.

   32.     30. “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

   33.     31. “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.




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    34.     32. “Confirmation Hearing” means the hearing held by the Bankruptcy Court on Confirmation of the
Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing
may be continued from time to time.

     35.    33. “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code, the form and substance of which shall be subject to the consent rights set forth
in the RSA, and, in the event of an Equity Investmenta Sale Transaction, willshall also be in form and substance
reasonably acceptable to the Plan SponsorPurchaser.

     36.   34. “Consenting Lenders” means, collectively, the Holders of First Lien Claims that are signatories to
the RSA or any subsequent Holder of First Lien Claims that becomes party thereto in accordance with the terms of
the RSA, each solely in their capacity as such.

    37.     35. “Consenting Sponsors” means, collectively, the Holders of Existing Equity Interests that are
signatories to the RSA or any subsequent Holder of Existing Equity Interests that becomes party thereto in
accordance with the terms of the RSA, each solely in their capacity as such.

   38.      36. “Consenting Stakeholders” means, collectively, the Consenting Lenders and the Consenting
Sponsors.

    39.     37. “Consummation” means the occurrence of the Effective Date.

    40.     38. “Cure” means a Claim (unless waived or modified by the applicable counterparty) based upon a
Debtor’s defaults under an Executory Contract or an Unexpired Lease assumed by such Debtor under section 365 of
the Bankruptcy Code, other than a default that is not required to be cured pursuant to section 365(b)(2) of the
Bankruptcy Code.

    41.     39. “Cyxtera” means Cyxtera Technologies, Inc.

    42.     40. “D&O Liability Insurance Policies” means all insurance policies (including any “tail policy”)
covering any of the Debtors’ current or former directors’, managers’, officers’ and/or employees’ liability and all
agreements, documents, or instruments relating thereto.

    43.     41. “Debtor Release” means the release set forth in Article VIII.C of this Planhereof.

    44.    42. “Debtors” means, collectively, each of the following: Cyxtera Technologies, Inc., Cyxtera Canada
TRS, ULC, Cyxtera Canada, LLC, Cyxtera Communications Canada, ULC, Cyxtera Communications, LLC, Cyxtera
Data Centers, Inc., Cyxtera DC Holdings, Inc., Cyxtera DC Parent Holdings, Inc., Cyxtera Digital Services, LLC,
Cyxtera Employer Services, LLC, Cyxtera Federal Group, Inc., Cyxtera Holdings, LLC, Cyxtera Management, Inc.,
Cyxtera Netherlands B.V., Cyxtera Technologies Maryland, Inc., and Cyxtera Technologies, LLC.

     45.      43. “Definitive Documents” means, collectively and as applicable, (a) the Disclosure Statement; (b) the
Solicitation Materials; (c) the New Organizational Documents; (d) the DIP Orders (and motion(s) seeking approval
thereof); (fe) the DIP Documents; (gf) the New Takeback Facility Documents, (hg) the Plan (and all exhibits
thereto); (ih) the Confirmation Order; (ji) the order of the Bankruptcy Court approving the Disclosure Statement and
the other Solicitation Materials (and motion(s) seeking approval thereof); (kj) all material pleadings Filed by the
Debtors in connection with the Chapter 11 Cases (and related orders), including the first day pleadings and all orders
sought pursuant thereto; (lk) the Plan Supplement; (ml) the MIP Documents; (nm) any and all filings with or requests
for regulatory or other approvals from any governmental entity or unit, other than ordinary course filings and
requests, necessary or desirable to implement the Restructuring Transactions; (on) the Bridge Facility Documents;
(po) the Bidding Procedures Documents; (p) the Purchase Agreement; and (q) such other agreements, instruments,
and documentation as may be necessary to consummate and document the transactions contemplated by the Plan;
for. For the avoidance of doubt, the form and substance of each Definitive Document shall be subject to the consent
rights set forth in the RSA.



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    46.     44. “DIP Agent” means the administrative agent and collateral agent under the DIP Facility.

    47.      “DIP Agent Advisors” means ArentFox Schiff LLP, in its capacity as counsel to the DIP Agent and the
Prepetition Priority Administrative Agent (as defined in the DIP Orders).

    48.     45. “DIP Claims” means any Claim against any Debtor derived from, based upon, or arising under the
DIP Facility, the DIP Credit Agreement, or the other DIP Documents.

     49.     46. “DIP Credit Agreement” means that certain Senior Secured Superpriority Debtor-in-Possession
Credit Agreement, dated as of June 7, 2023, by and among Initial Holdings, Prepetition Borrower, the lenders party
thereto, and Wilmington Savings Fund Society, FSB, as administrative agent and collateral agent.

    50.    47. “DIP Documents” means, collectively, the DIP Credit Agreement and any other documents
governing the DIP Facility, including the DIP Orders, as such documents may be amended, supplemented, or
otherwise modified from time to time in accordance with their terms.

     51.     48. “DIP Facility” means the superpriority senior secured debtor-in-possession credit facility provided
for under the DIP Documents.

    52.     49. “DIP Lenders” means, collectively, each lender under the DIP Facility.

    53.     50. “DIP Loans” means the loans issued pursuant to the DIP Credit Agreement.

    54.     51. “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP Order.

     55.    52. “Disbursing Agent” means, as applicable, the Reorganized Debtors, the Post-Effective Date
Debtors, or the Plan Administrator, or any Entity the Reorganized Debtors, the Post-Effective Date Debtors, or the
Plan Administrator selects to make or to facilitate distributions in accordance with the Plan, which Entity may
include the Claims and Noticing Agent and the Agents, as applicable.

    56.    53. “Disclosure Statement” means the disclosure statement in respect of the Plan, including all exhibits
and schedules thereto, as approved or ratified by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy
Code.

     57.     “Disinterested Director Fee Claims” means all unpaid fees and expenses as of the Effective Date due to
the disinterested directors of Cyxtera pursuant to their respective director agreements with Cyxtera. On the Effective
Date, the Disinterested Director Fee Claims shall be deemed Allowed Administrative Claims against Cyxtera.

     58.      54. “Disputed” means, as to a Claim or an Interest, a Claim or an Interest: (a) that is not Allowed;
(b) that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order, as applicable; and (c) with respect
to which a party in interest has Filed a Proof of Claim or Proof of Interest or otherwise made a written request to a
Debtor for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

     55. “Disinterested Director Fee Claims” means all unpaid fees and expenses as of the Effective Date due to the
disinterested directors of Cyxtera pursuant to their respective director agreements with Cyxtera. On the Effective
Date, the Disinterested Director Fee Claims shall be deemed Allowed Administrative Claims against Cyxtera.

    59.     “Disputed Claims Reserve Amount” means Cash in an amount to be determined by the Debtors in
consultation with the Required Consenting Term Lenders, which amount shall be used to fund the Disputed Claims
Reserve.

    60.     “Disputed Claims Reserve” means the account to be established on the Effective Date and funded with
the Disputed Claims Reserve Amount for distribution as set forth in Article VII.G, if any.




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     61.    “Distributable Consideration” means, in the event of a Sale Transaction, all Cash of the Debtors or the
Post-Effective Date Debtors, as applicable, on or after the Effective Date, including any Cash comprising the
Purchase Price and the Residual Cash, after payment of the Administrative Claims, DIP Claims, Professional Fee
Claims, Disinterested Director Fee Claims, Priority Tax Claims, Receivables Program Claims, Other Secured
Claims, and Other Priority Claims, each as set forth in the Plan, and funding the Professional Fee Escrow Account,
the GUC Recovery Pool, the Disputed Claims Reserve, the Wind-Down Reserve, and the Priority Claims Reserve,
as applicable, plus any non-Cash consideration comprising the Purchase Price plus any proceeds generated by any
Cause of Action retained by the Post-Effective Date Debtors.

    62.     56. “Distribution Record Date” means the record date for purposes of making distributions under the
Plan on account of Allowed Claims, which date shall be the first day of the Confirmation Hearing or such other date
agreed to by the Debtors and the Required Consenting Term Lenders.

    63.   “Distribution Reserve Accounts” means, in the event of an Asset Sale, the Priority Claims Reserve and
the Wind-Down Reserve established pursuant to the Plan.

     64.     57. “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
(a) no stay of the Confirmation Order is in effect, and (b) all conditions precedent to the occurrence of the Effective
Date set forth in Article IX.A of the Plan have been satisfied or waived in accordance with Article IX.B of the Plan.
Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

    65.     58. “Entity” means any entity, as defined in section 101(15) of the Bankruptcy Code.

    66.      59. “Equity Investment Transaction” means a restructuring under thisthe Plan pursuant to which, among
other things, a Plan Sponsorthe Purchaser purchases the Plan Sponsor Equity Shareall or substantially all of the New
Common Stock in exchange for the Purchase Price.

     67.     60. “Equity Security” means any equity security, as defined in section 101(16) of the Bankruptcy Code,
in a Debtor.

     68.     61. “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

    69.     62. “Exchange Act” means the Securities Exchange Act of 1934, as amended, 15 U.S.C. §§ 78a et seq,
or any similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations
promulgated thereunder.

    63. “Exculpated Claim” means a claim subject to Article VIII.E hereof.

     70.     64. “Exculpated Parties” means, collectively: (a) the Debtors; (b) the ReorganizedPost-Effective Date
Debtors, (c) the Committee and the members of the Committee; and (d) the Plan Administrator (as applicable); and
(e) with respect to each of the foregoing Entities in clauses (a), through (b), and (cd), each of the Related Parties of
such Entity.

    71.      65. “Executory Contract” means a contract to which one or more of the Debtors are a party and that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

     72.      66. “Existing Equity Interests” means, collectively, the shares (or any class thereof), common stock,
preferred stock, limited liability company interests, and any other equity, ownership, or profits interests of any
Debtor, and options, warrants, rights, or other securities or agreements to acquire or subscribe for, or which are
convertible into the shares (or any class thereof) of, common stock, preferred stock, limited liability company
interests, or other equity, ownership, or profits interests of Cyxtera (in each case whether or not arising under or in
connection with any employment agreement) immediately prior to the consummation of the transactions
contemplated in thisthe Plan.



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    73.     67. “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

   74.     68. “File” means file, filed, or filing with the Bankruptcy Court or its authorized designee in the
Chapter 11 Cases. “Filed” and “Filing” shall have correlative meanings.

     75.    69. “Final DIP Order” means the Final Order (I) Authorizing the Debtors to Obtain Postpetition
Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
Administrative Expense Claims, (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay, and
(VI) Granting Related Relief [Docket No. 297].

     76.     70. “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the relevant subject matter that has not been reversed, vacated, stayed,
modified, or amended, and as to which the time to appeal, seek certiorari, or move for a new trial, reargument, or
rehearing has expired and no appeal, petition for certiorari, or other proceeding for a new trial, reargument, or
rehearing thereof has been timely sought, or, if an appeal, writ of certiorari, new trial, reargument, or rehearing
thereof has been sought, such order or judgment shall have been affirmed by the highest court to which such order
was appealed, or certiorari shall have been denied, or a new trial, reargument, or rehearing shall have been denied,
or resulted in no modification of such order, and the time to take any further appeal, petition for certiorari, or move
for a new trial, reargument, or rehearing shall have expired; provided, however, that no order or judgment shall fail
to be a “Final Order” solely because of the possibility that a motion under Rules 59 or 60 of the Federal Rules of
Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable in another court of competent
jurisdiction) or sections 502(j) or 1144 of the Bankruptcy Code has been or may be filed with respect to such order
or judgment.

    77.     71. “Final Receivables Program Order” means the Final Order (I) Authorizing Certain Debtors to
Continue Selling, Contributing, and Servicing Receivables and Related Rights Pursuant to the Receivables
Program, (II) Modifying the Automatic Stay, and (III) Granting Related Relief [Docket No. 295].

    78.     72. “First Lien Claims” means, collectively, the RCF Claims and the Term Loan Claims.

    79.     73. “First Lien Credit Agreement” means that certain First Lien Credit Agreement, dated as of
May 17, 2017, by and among the Prepetition Borrower, Initial Holdings, the lenders from time to time party thereto,
and the Prepetition Agent, as the same may be amended, supplemented, or otherwise modified from time to time.

    80.     74. “First Lien Credit Documents” means the First Lien Credit Agreement and any other documentation
necessary to effectuate the incurrence of the Revolving Credit Facility or the Term Loan Facilities.

     81.     75. “General Unsecured Claim” means any Claim that is not (a) an Administrative Claim,
(b) a Professional Fee Claim, (c) a Priority Tax Claim, (d) a Secured Tax Claim, (e) a DIP Claim, (f) an Other
Secured Claim, (g) an Other Priority Claim, (h) a First Lien Claim, (i) a Receivables Program Claim, (j) an
Intercompany Claim, or (k) a Section 510 Claim, (l) a Disinterested Director Fee Claim, or (m) a
Restructuring Expense.

    82.    76. “Governing Body” means, in each case in its capacity as such, the board of directors, board of
managers, manager, managing member, general partner, investment committee, special committee, or such similar
governing body of any of the Debtors or the ReorganizedPost-Effective Date Debtors, as applicable.

   83.     77. “Governmental Unit” means any governmental unit, as defined in section 101(27) of the
Bankruptcy Code.




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    84.     78. [“GUC Recovery Pool” means a pool of value to be distributed in accordance with Article III
hereof.]2

    85.      79. “Holder” means an Entity that is the record owner of a Claim or Interest. For the avoidance of
doubt, affiliated record owners of Claims or Interests managed or advised by the same institution shall constitute
separate Holders.

    86.     80. “Impaired” means “impaired” within the meaning of section 1124 of the Bankruptcy Code.

    87.     81. “Initial Holdings” means Cyxtera DC Parent Holdings, Inc.

    88.     82. “Intercompany Claim” means any Claim against a Debtor held by another Debtor.

    89.     83. “Intercompany Interest” means an Interest in a Debtor held by another Debtor.

     90.    84. “Interest” means, collectively, (a) any Equity Security in any Debtor and (b) any other rights,
options, warrants, stock appreciation rights, phantom stock rights, restricted stock units, redemption rights, or
repurchase rights; convertible, exercisable, or exchangeable securities; or other agreements, arrangements, or
commitments of any character relating to, or whose value is related to, any such interest or other ownership interest
in any Debtor.

     91.    85. “Interim DIP Order” means the Interim Order (I) Authorizing the Debtors to Obtain Postpetition
Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
Administrative Expense Claims, (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay,
(VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No. 70].

    92.     86. “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

    93.     87. “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

     94.     88. “Management Incentive Plan” means, in the event of a Recapitalization Transaction or an Equity
Investment Transaction, the management incentive plan reserving up to 10 percent of the New Common Stock on a
fully diluted basis, with structure, awards, and terms of the management incentive plan to be determined by the New
Board, which management incentive plan shall be acceptable to the Required Consenting Term Lenders and
the Debtors.

     95.     89. “MIP Documents” means, collectively, the documents governing the Management Incentive Plan, as
such documents may be amended, supplemented, or otherwise modified from time to time in accordance with
their terms.

    90. “Net Sale Consideration” means the consideration provided by the Plan Sponsor in exchange for the Plan
Sponsor Equity Share in the event of an Equity Investment Transaction less the amount of Allowed DIP Claims.

     96.     91. “New Board” means, in the event of a Recapitalization Transaction or an Equity Investment
Transaction, the board of directors or similar Governing Body of Reorganized Cyxtera, which shall be acceptable to
the Required Consenting Term Lenders, including, without limitation, with respect to the number and identity of
the directors.

    97.     92. “New Common Stock” means, in the event of a Recapitalization Transaction or an Equity Investment
Transaction, a single class of common equity interests issued by Reorganized Cyxtera on the Effective Date.



2   [NTD: Treatment of General Unsecured Claims subject to continued negotiation with the Committee.]


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     98.      93. “New Organizational Documents” means, in the event of a Recapitalization Transaction or an
Equity Investment Transaction, the documents providing for corporate governance of Reorganized Cyxtera and the
other ReorganizedPost-Effective Date Debtors, including charters, bylaws, operating agreements, or other
organizational documents or shareholders’ agreements, as applicable, which shall be consistent with
section 1123(a)(6) of the Bankruptcy Code (as applicable) and in form and substance subject to the consent rights
set forth in the RSA, and, in the event of an Equity Investmenta Sale Transaction, in form and substance reasonably
acceptable to the Plan SponsorPurchaser.

    99.      94. “New Takeback Facility” means, in the event of a Recapitalization Transaction, a new senior
secured, first lien, “first out” term loan facility, in thean initial aggregate principal amount of $200,468,511.87 plus
any accrued and unpaid interest, fees, costs, charges, expenses, and any other accrued and unpaid amounts under the
DIP Documents as of the Effective Date, to be obtainedincurred by the Debtors on the Effective Date in connection
with effectuating the RestructuringRecapitalization Transactions in accordance with the Plan and the Restructuring
Transactions Memorandum, in each case, as determined by the Debtors and in form and substance subject to the
consent rights set forth in the RSA, and, in the event of an Equity Investment Transaction, in form and substance
reasonably acceptable to the Plan Sponsor.

    100. 95. “New Takeback Facility Agent” means the agent under the New Takeback Facility
Credit Agreement.

    101. 96. “New Takeback Facility Credit Agreement” means the credit agreement with respect to the New
Takeback Facility, as may be amended, supplemented, or otherwise modified from to time and which shall be in
form and substance subject to the consent rights set forth in the RSA.

    102. 97. “New Takeback Facility Documents” means the New Takeback Facility Credit Agreement and any
other documentation necessary or appropriate to effectuate the incurrence of the New Takeback Facility, each of
which shall be in form and substance subject to the consent rights set forth in the RSA.

    103.    98. “New Takeback Facility Loans” means loans issued under the New Takeback Facility.

    104. 99. “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority Tax
Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

     105. 100. “Other Secured Claim” means any Secured Claim against the Debtors other than the DIP Claims,
the Priority Tax Claims, the Receivables Program Claims, or the First Lien Claims.

    106.    101. “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

    107.    102. “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

     108. 103. “Plan” means this joint plan of reorganization under chapter 11 of the Bankruptcy Code, either in
its present form or as it may be altered, amended, modified, or supplemented from time to time in accordance with
the Bankruptcy Code, the Bankruptcy Rules, the RSA, or the terms hereof, as the case may be, and the Plan
Supplement, which is incorporated herein by reference, including all exhibits and schedules hereto and thereto.

    109. “Plan Administrator” means, in the event of an Asset Sale, the Person selected by the Debtors and the
Required Consenting Term Lenders to administer all assets of the Estates vested in the Post-Effective Date Debtors,
and thereafter, all assets held from time to time by the Post-Effective Date Debtors.

     110. 104. “Plan Distribution” means a payment or distribution to Holders of Allowed Claims, Allowed
Interests, or other eligible Entities under and in accordance with the Plan.




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    105. “Plan Sponsor” means, in the event that the Debtors, with the consent of the Required Consenting Term
Lenders, determine to pursue an Equity Investment Transaction, the “Successful Bidder” under and as defined in the
Bidding Procedures.

    106. “Plan Sponsor Agreement” means the purchase agreement to be entered into by the Debtors and the
Successful Bidder in accordance with the Bidding Procedures, which shall be in form and substance subject to the
consent rights set forth in the RSA.

    107. “Plan Sponsor Equity Share” means the equity contemplated to be purchased by the Plan Sponsor in the
Successful Bid (as defined in the Bidding Procedures) pursuant to the Plan Sponsor Agreement, which shall be
subject to dilution by the Management Incentive Plan.

     111. 108. “Plan Supplement” means the compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed by the Debtors, to the extent reasonably practicable, no later than seven (7) days before the Confirmation
Hearing or such later date as may be approved by the Bankruptcy Court on notice to parties in interest, including the
following, as applicable: (a) the New Organizational Documents; (b) the identity and members of the New Board;
(c) the Schedule of Retained Causes of Action; (d) the New Takeback Facility Documents; (e) the Restructuring
Transactions Memorandum; (f) the Rejected Executory Contract and Unexpired Lease List, if any; and (g) in the
event of an asset sale, the identity of the Plan Administrator and the terms of compensation of the Plan
Administrator; (h) in the event of a Sale Transaction, the Purchase Agreement; and (i) additional documents Filed
with the Bankruptcy Court prior to the Effective Date as amendments to the Plan Supplement.

     112. “Post-Effective Date Debtors” means the Debtors after the Effective Date or the Plan Administrator,
as applicable.

    113. “Purchaser” means, in the event that the Debtors, with the consent of the Required Consenting Term
Lenders, determine to pursue a Sale Transaction, the “[Purchaser]” under and as defined in the Purchase Agreement.

     114. “Purchase Agreement” means the purchase agreement to be entered into by the Debtors and the
Purchaser in accordance with the Bidding Procedures, which shall be in form and substance subject to the consent
rights set forth in the RSA.

    115. 109. “Prepetition Agent” means Citibank, N.A., in its capacity as administrative and collateral agent
under the First Lien Credit Agreement.

    116.    110. “Prepetition Borrower” means Cyxtera DC Holdings, Inc. (f/k/a Colorado Buyer Inc.).

     117. “Prepetition First Lien Administrative Agent Advisors” means (i) Davis Polk & Wardell LLP,
(ii) Greenberg Traurig, LLP, and (iii) FTI Consulting, Inc.

    118. “Priority Claims” means, collectively, Administrative Claims, Priority Tax Claims, and Other
Priority Claims.

     119. “Priority Claims Reserve” means, in the event of an Asset Sale, the account to be established and
maintained by the Plan Administrator on the Effective Date and funded with the Priority Claims Reserve Amount for
distribution to Holders of Priority Claims (except for Professional Fee Claims) as set forth in Article II.

    120. “Priority Claims Reserve Amount” means, in the event of an Asset Sale, Cash in an amount to be
determined in the Debtors’ reasonable business judgment and in consultation with the Required Consenting Term
Lenders, which amount shall be used by the Plan Administrator to fund the Priority Claims Reserve.




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     121. 111. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

     122. 112. “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance
with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on
the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or
(b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.

    123. 113. “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and other
unpaid fees and expenses of Professionals reasonably estimate in good faith that they have incurred or will incur in
rendering services to the Debtors as set forth in Article II.C of the Plan.

   124. 114. “Professional Fee Claim” means a Claim by a pProfessional seeking an award by the Bankruptcy
Court of compensation for services rendered or reimbursement of expenses incurred through and including the
Confirmation Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

    125. 115. “Professional Fee Escrow Account” means an interest-bearing account funded by the Debtors with
Cash on the Effective Date in an amount equal to the Professional Fee Amount.

     126. 116. “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases
by the applicable bar date.

    127.    117. “Proof of Interest” means a proof of Interest filed in any of the Debtors in the Chapter 11 Cases.

    128.    118. “Purchase Price” has the meaning set forth in the Bidding Procedures.

    129.    119. “RCF Claims” means any Claim on account of the Revolving Credit Facility.

    130. 120. “Recapitalization Transaction” means, in the event that the Debtors, with the consent of the
Required Consenting Term Lenders, do not determine to pursue a Sale Transaction, the restructuring transaction
pursuant to the Plan, pursuant to which, among other things, Holders of First Lien Claims receive 100 percent of the
New Common Stock, subject to dilution by the Management Incentive Plan.

    131. 121. “Receivables Program” means that certain trade receivables securitization facility pursuant to the
Receivables Program Documents and approved by the Final Receivables Program Order.

     132. 122. “Receivables Program Agent” means, collectively, PNC Bank, National Association, in its capacity
as Administrative Agent under the Receivables Program Documents, and PNC Capital Markets LLC, in its capacity
as Structuring Agent under the Receivables Program Documents, including, in each case, any successors thereto.

     133. 123. “Receivables Program Claims” means any Claims constituting Receivables Program Obligations
(as defined in the Final Receivables Program Order).

     134. 124. “Receivables Program Documents” means, collectively, the “Transaction Documents” as defined
in the Final Receivables Program Order, as such documents may be amended, supplemented, or otherwise modified
from time to time in accordance with their terms.

    135. 125. “Reinstate” means reinstate, reinstated, or reinstatement with respect to Claims and Interests, that
the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.
“Reinstated” and “Reinstatement” shall have correlative meanings.

    136. 126. “Rejected Executory Contract and Unexpired Lease List” means the list to be included in the Plan
Supplement, as determined by the Debtors and subject to the consent rights set forth in the RSA and, in the event of
an Equity Investmenta Sale Transaction, reasonably acceptable to the Plan SponsorPurchaser, of Executory


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Contracts and Unexpired Leases that will be rejected by the ReorganizedPost-Effective Date Debtors, pursuant to
the Plan, which list may be amended from time to time subject to the consent rights set forth in the RSA, and, in the
event of an Equity Investmenta Sale Transaction, with the reasonable consent of the Plan SponsorPurchaser.

     137. 127. “Related Party” means each of, and in each case in its capacity as such, current and former
directors, managers, officers, committee members, members of any Governing Body, equity holders (regardless of
whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles, managed
accounts or funds, predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners,
general partners, principals, members, management companies, fund advisors or managers, employees, agents,
trustees, advisory board members, financial advisors, attorneys (including any other attorneys or professionals
retained by any current or former director or manager in his or her capacity as director or manager of an Entity),
accountants, investment bankers, consultants, representatives, and other professionals and advisors and any such
Person’s or Entity’s respective heirs, executors, estates, and nominees.

     138. 128. “Released Party” means, each of, and in each case in its capacity as such: (a) each Debtor;
(b) each ReorganizedPost-Effective Date Debtor; (c) each Consenting Stakeholder; (d) each Releasing Party; (e)
each Agent; (f) each DIP Lender; (g) in the event of an Equity Investmenta Sale Transaction, the Plan
SponsorPurchaser; (h) the Committee and each member of the Committee; (i) each current and former Affiliate of
each Entity in clause (a) through the following clause (j); (j) each Related Party of each Entity in clause (a) through
this clause (j); provided that in each case, an Entity shall not be a Released Party if it: (x) elects to opt out of the
releases described in Article VIII.D of the Plan; or (y) timely objects to the releases contained in Article VIII.D of
the Plan and such objection is not resolved before Confirmation.3

     139. 129. “Releasing Party” means, each of, and in each case in its capacity as such: (a) the Debtors;
(b) the ReorganizedPost-Effective Date Debtors; (c) each DIP Lender; (d) each Agent; (e) each Consenting
Stakeholder; (f) in the event of an Equity Investmenta Sale Transaction, the Plan SponsorPurchaser; (g) the
Committee and each member of the Committee; (h) all Holders of Claims that vote to accept the Plan; (i) all Holders
of Claims thatwho are deemed to accept the Plan but who do not affirmatively opt out of the releases provided byfor
in the Plan by checking the box on the applicable notice of non-votingnon-voting status indicating that they opt not
to grant the releases provided for in the Plan; (j) all Holders of Claims thatwho abstain from voting on the Plan and
who do not affirmatively opt out of the releases provided byfor in the Plan by checking the box on the applicable
ballot indicating that they opt not to grant the releases provided for in the Plan; (k) all Holders of Claims or Interests
thatwho vote to reject the Plan or are deemed to reject the Plan and who do not affirmatively opt out of the releases
provided byfor in the Plan by checking the box on the applicable ballot or notice of non-voting status indicating that
they opt not to grant the releases provided for in the Plan; (l) each current and former Affiliate of each Entity in
clause (a) through (k); and (m) each Related Party of each Entity in clause (a) through (l) for which such Entity is
legally entitled to bind such Related Party to the releases contained in the Plan under applicable law; provided that,
for the avoidance of doubt, an Entity in clause (i) through clause (k) shall not be a Releasing Party if it: (x) elects
to opt out of the releases contained in Article VIII.D of the Plan; or (y) timely objects to the releases contained in
Article VIII.D of the Plan and such objection is not resolved before Confirmation.

   140. 130. “Reorganized Cyxtera” means Cyxtera Technologies, Inc., or any successor or assign thereto, by
merger, consolidation, or otherwise, on and after the Effective Date.

     131. “Reorganized Debtor” means a Debtor, or any successor or assign thereto, by merger, consolidation,
reorganization, or otherwise, in the form of a corporation, limited liability company, partnership, or other form, as
the case may be, on and after the Effective Date.




3   [NTD: Release provisions subject to ongoing review, including as part of the Special Committee investigation.]


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     141. 132. “Required Consenting Term Lenders” means, as of the relevant date, Consenting Lenders holding
at least 66.67% of the aggregate outstanding principal amount of the Term Loan Claims that are held by
Consenting Lenders.

     142. “Residual Cash” means, in the event of a Sale Transaction, the sum of (a) any amounts remaining in the
Professional Fee Escrow Account after payment in full of all Allowed Professional Fee Claims, (b) any amounts
remaining in the Priority Claims Reserve after payment in full of all Allowed Priority Claims and Allowed
Administrative Claims (other than Professional Fee Claims), (c) any amounts remaining in the Disputed Claim
Reserve after the final resolution of Disputed Claims, and (d) any amounts remaining in the Wind-Down Reserve
after entry of a final decree closing the last of the Chapter 11 Cases.

      143. 133. “Restructuring Expenses” means the reasonable and documented fees and expenses accrued from
the inception of their respective engagements related to the implementation of the Restructuring Transactions and
not previously paid by, or on behalf of, the Debtors of: (i) the AHG Advisors; (ii) the DIP Agent Advisors; and
(iii) the Prepetition First Lien Administrative Agent Advisors.

    144.    “Restructuring Term Sheet” means the term sheet attached to the RSA as Exhibit B.

    145.    134. “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.

     146. 135. “Restructuring Transactions Memorandum” means the description of the steps to be carried out to
effectuate the Restructuring Transactions in accordance with the Plan and as set forth in the Plan Supplement, which
shall be in form and substance acceptable to the Required Consenting Term Lenders, and, in the event of an Equity
Investmenta Sale Transaction, the Plan SponsorPurchaser.

     147. 136. “Revolving Credit Facility” means that certain first lien, multi-currency revolving credit facility
issued pursuant to the First Lien Credit Agreement.

    148. 137. “RSA” means that certain restructuring support agreement, entered intodated as of May 4, 2023, by
and among the Debtors and the Consenting Stakeholders, including all exhibits thereto (including the Restructuring
Term Sheet), as may be amended, modified, or supplemented from time to time, in accordance with its terms.

    149.    “Sale Transaction” means, as applicable, either an Equity Investment Transaction or an Asset Sale.

     150. 138. “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the
Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time, which shall be subject to the consent rights set forth in the RSA, and, in the event
of an Equity Investmenta Sale Transaction, subject to the Plan Sponsorconsent of the Purchaser.

     151. 139. “Schedules” means, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases, and statements of financial affairs Filed by the Debtors pursuant to section 521 of
the Bankruptcy Code, including any amendments or supplements thereto.

     152. 140. “Section 510 Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

     153. 141. “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on
collateral to the extent of the value of such collateral, as determined in accordance with section 506(a) of the
Bankruptcy Code or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

     154. 142. “Secured Tax Claim” means any Secured Claim that, absent its secured status, would be entitled to
priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined irrespective of time
limitations), including any related Secured Claim for penalties.




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    155. 143. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any
similar federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations
promulgated thereunder.

     156.      144. “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

     157.      145. “Solicitation Materials” means, collectively, the solicitation materials with respect to the Plan.

     158.      146. “Term Loan Claims” means any Claim on account of the Term Loan Facilities.

    159. 147. “Term Loan Facilities” means those certain first lien term loan facilities issued pursuant to the First
Lien Credit Agreement.

     160.      148. “Third-Party Release” means the release set forth in Article VIII.D of thisthe Plan.

     161.      “U.S. Trustee” means the Office of the United States Trustee for the District of New Jersey.

    162. 149. “Unexpired Lease” means a lease to which one or more of the Debtors are a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

     163. 150. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

    164. “Wind Down” means, in the event of an Asset Sale, the wind down and dissolution of the Debtors’
Estates as set forth in Article IV.D.5.

    165. “Wind-Down Amount” means, in the event of an Asset Sale, Cash in an amount to be determined by
the Debtors with the consent of the Required Consenting Term Lenders, not to be unreasonably withheld, to fund the
Wind Down in accordance with Article IV.D.5 of the Plan.

    166. “Wind-Down Reserve” means, in the event of an Asset Sale, the account to be established and
maintained by the Plan Administrator and funded with the Wind-Down Amount to fund the Wind Down in
accordance with Article IV.D.5 of the Plan and for Plan Administrator purposes in accordance with Article IV.D.4.

B.          Rules of Interpretation.

          For purposes of thisthe Plan: (i) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (ii) unless otherwise specified, any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; provided that nothing in this clause (ii) shall affect any party’s consent
rights over any of the Definitive Documents or any amendments thereto (both as that term is defined herein and as it
is defined in the RSA); (iii) unless otherwise specified, any reference herein to an existing document, schedule, or
exhibit, whether or not Filed, having been Filed, or to be Filed shall mean that document, schedule, or exhibit, as it
may thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as
applicable; (iv) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors and
assigns; (v) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(vi) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(vii) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (viii) subject to the provisions of any contract, certificate of incorporation, bylaw,
instrument, release, or other agreement or document created or entered into in connection with the Plan, the rights
and obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with,
applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (ix) unless otherwise specified, the
words “include” and “including,” and variations thereof, shall not be deemed to be terms of limitation and shall be


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deemed to be followed by the words “without limitation”; (x) captions and headings to Articles are inserted for
convenience of reference only and are not intended to be a part of or to affect the interpretation of the Plan;
(xi) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply; (xii) any term used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy
Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be; (xiii) all references to docket numbers of documents Filed in the Chapter 11
Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system; (xiv) all references to
statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to time, and as applicable
to the Chapter 11 Cases, unless otherwise stated; (xv) any immaterial effectuating provisions may be interpreted by
the ReorganizedPost-Effective Date Debtors in such a manner that is consistent with the overall purpose and intent
of the Plan, all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity;
and (xvi) unless otherwise specified and subject to the reasonable consent of the Required Consenting Term
Lenders, any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
thereafter.

C.       Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day.

D.       Governing Law.

          Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to
the principles of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General
Obligations Law), shall govern the rights, obligations, construction, and implementation of the Plan,; any
agreements, documents, instruments, or contracts executed or entered into in connection with the Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall control),; and
corporate governance matters; provided that corporate governance matters relating to the Debtors or the
ReorganizedPost-Effective Date Debtors, as applicable, not incorporated in New York shall be governed by the laws
of the state of incorporation or formation of the relevant Debtor or the ReorganizedPost-Effective Date Debtors, as
applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganizedand the Post-Effective Date Debtors.

        Except as otherwise specifically provided in thisthe Plan to the contrary, references in thisthe Plan to the
Debtors or the Reorganizedand the Post-Effective Date Debtors shall mean the Debtors and the
ReorganizedPost-Effective Date Debtors, as applicable, to the extent the context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.




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H.       Consultation, Notice, Information, and Consent Rights.

          Notwithstanding anything herein to the contrary, all consultation, information, notice, and consent rights of
the parties to the RSA, as applicable, and as respectively set forth therein, with respect to the form and substance of
the Plan, all exhibits to the Plan, the Plan Supplement, and all other Definitive Documents, including any
amendments, restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated herein by this
reference (including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated in full
herein until such time as the RSA is terminated in accordance with its terms.

        Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to
any document referenced in the RSA, as applicable, shall not impair such rights and obligations.

                                      ARTICLE II.
        ADMINISTRATIVE CLAIMS, PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims,
Professional Fee Claims, Priority Tax Claims, and Receivables Program Claims have not been classified and, thus,
are excluded from the Classes of Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtors or the
ReorganizedPost-Effective Date Debtors, as applicable, each Holder of an Allowed Administrative Claim (other
than Holders of DIP Claims, Professional Fee Claims, DIP Claims, Receivables Program Claims, and Claims for
fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will receive in full
and final satisfaction of its Administrative Claim an amount of Cash equal to the amount of such Allowed
Administrative Claim in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to the
Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such
Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative
Claim is not Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order allowing
such Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such
Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course of their business
after the Petition Date, in accordance with the terms and conditions of the particular transaction giving rise to such
Allowed Administrative Claim without any further action by the Holders of such Allowed Administrative Claim; (4)
at such time and upon such terms as may be agreed upon by such Holder and the Debtors or the
ReorganizedPost-Effective Date Debtors, as applicable; or (5) at such time and upon such terms as set forth in an
order of the Bankruptcy Court.

        Except as otherwise provided in this Article II.A of the Plan, requests for payment of Administrative Claims
must be Filed with the Bankruptcy Court and served on the Debtors by the applicable Administrative Claims Bar
Date. Holders of Administrative Claims that are required to, but do not, File and serve a request for payment
of such Administrative Claims by such date shall be forever barred, estopped, and enjoined from asserting
such Administrative Claims against the Debtors, their Estates, or their property, and such Administrative
Claims shall be deemed discharged as of the Effective Date without the need for any objection from the
Debtors or Reorganizedthe Post-Effective Date Debtors, as applicable, or any notice to or action, order, or
approval of the Bankruptcy Court or any other Entity. Objections to such requests, if any, must be Filed with
the Bankruptcy Court and served on the Debtors and the requesting party no later than sixty days after the Effective
Dateby the Claims Objection Deadline. Notwithstanding the foregoing, no request for payment of an Administrative
Claim need be Filed with the Bankruptcy Court with respect to an Administrative Claim previously Allowed.

B.       DIP Claims.

        On the Effective Date, except to the extent that a Holder of an Allowed DIP Claim agrees to alternative
treatment, and in full and final satisfaction, settlement, release, and discharge of, and in exchange for, each Allowed


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DIP Claim: (i) in the event of a Recapitalization Transaction, either (a) the DIP Loan giving rise to such Allowed
DIP Claim shall be refinanced by means of a cashless settlement whereby such DIP Loan shall be converted on a
dollar-for-dollar basis into New Takeback Facility Loans in accordance with the DIP Documents and the New
Takeback Facility Documents, and all collateral that secures the Obligations (as defined in the DIP Credit
Agreement) under the DIP Credit Agreement shall be reaffirmed, ratified, and shall automatically secure all
[Obligations] (as defined in the New Takeback Facility Documents) under the New Takeback Facility Documents,
subject to the priorities of liens and payment set forth in the New Takeback Facility Documents, or (b) such DIP
Claim shall be paid in full in Cash; or (ii) in the event of an Equity Investmenta Sale Transaction, Holders of the DIP
Claims shall receive payment in full in Cash or, with the consent of Required Consenting Term Lenders, such other
treatment rendering Allowed DIP Clams Unimpaired in accordance with section 1124 of the Bankruptcy Code.

C.       Professional Fee Claims.

         1.   Final Fee Applications and Payment of Professional Fee Claims.

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement of
expenses incurred prior to the Confirmation Date must be Filed no later than forty-five (45) days after the Effective
Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice and
a hearing in accordance with the procedures established by the Bankruptcy Court. The ReorganizedPost-Effective
Date Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court allows, including from
funds held in the Professional Fee Escrow Account. The ReorganizedPost-Effective Date Debtors shall establish the
Professional Fee Escrow Account in trust for the Professionals and fund such account with Cash equal to the
Professional Fee Amount on the Effective Date.

         2.   Professional Fee Escrow Account.

          On the Effective Date, the ReorganizedPost-Effective Date Debtors shall establish and fund the
Professional Fee Escrow Account with Cash equal to the Professional Fee Amount, which shall be funded by the
Reorganized Debtors. The Professional Fee Escrow Account shall be maintained in trust solely for the
Professionals. Such funds shall not be considered property of the Estates of the Debtors or the Reorganized Debtors,
the Post-Effective Date Debtors, or the Plan Administrator, as applicable. The amount of Professional Fee Claims
owing to the Professionals shall be paid in Cash to such Professionals by the ReorganizedPost-Effective Date
Debtors from the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee
Claims are Allowed. When all such Allowed amounts owing to Professionals have been paid in full, any remaining
amount in the Professional Fee Escrow Account shall promptly be paid to the ReorganizedPost-Effective Date
Debtors, without any further action or order of the Bankruptcy Court; provided, however, in the event of a Sale
Transaction, any remaining amount in the professional Fee Escrow Account shall constitute Residual Cash and be
distributable to Holders of Allowed First Lien Claims.

         3.   Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimates to the Debtors no later than three (3) Business Days before the Effective Date; provided, however, that
such estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of the
Professional’s final request for payment of Filed Professional Fee Claims. If a Professional does not provide an
estimate, the Debtors or Reorganizedthe Post-Effective Date Debtors, as applicable, may estimate the unpaid and
unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
related to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any


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requirement that Professionals comply with sections 327–331, 363, and 1103 of the Bankruptcy Code in seeking
retention or compensation for services rendered after such date shall terminate, and the Debtors, the Post-Effective
Date Debtors, and/or the Plan Administrator, as applicable, may employ and pay any Professional in the ordinary
course of business without any further notice to or action, order, or approval of the Bankruptcy Court.

D.       Priority Tax Claims.

         Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax
Claim, each Holder of such Allowed Priority Tax Claim shall receive Cash equal to the full amount of its Claim or
such other treatment in accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

E.       Payment of Restructuring Expenses.

          The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date,
shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent not previously
paid during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms set forth herein and in
the RSA, without any requirement to File a fee application with the Bankruptcy Court, without the need for itemized
time detail, and without any requirement for Bankruptcy Court review or approval. All Restructuring Expenses to be
paid on the Effective Date shall be estimated prior to and as of the Effective Date, and such estimates shall be
delivered to the Debtors at least three (3) Business Days before the anticipated Effective Date; provided, however,
that such estimates shall not be considered an admission or limitation with respect to such Restructuring Expenses.
On the Effective Date, invoices for all Restructuring Expenses incurred prior to and as of the Effective Date shall be
submitted to the Debtors. In addition, the Debtors and the ReorganizedPost-Effective Date Debtors (as applicable)
shall continue to pay, when due and payable in the ordinary course, Restructuring Expenses arising directly out of
the implementation of the Plan and Consummation, thereof without any requirement for review or approval by the
Bankruptcy Court or for any party to File a fee application with the Bankruptcy Court and for review or approval by
the Bankruptcy Court.

F.       Receivables Program Claims.

         All Receivables Program Claims shall be Allowed Claims. On the Effective Date, unless otherwise agreed
by the Holder of a Receivables Program Claim and the applicable Debtor or ReorganizedPost-Effective Date
Debtor, Allowed Receivables Program Claims will be satisfied in full in accordance with the terms of the
Receivables Program Documents. On the Effective Date, or as soon as reasonably practicable thereafter, all fees and
expenses incurred by the advisors to the parties to the Receivables Program shall be paid in full in Cash to the extent
required under the Final Receivables Program Order.

                                         ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

         ThisThe Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in
Article II of the Plan, all Claims and Interests are classified in the Classes set forth below in accordance with
sections 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in
a particular Class only to the extent that any portion of such Claim or Interest qualifies within the description of that
Class and is classified in other Classes to the extent that any portion of such Claim or Interest qualifies within the
description of such other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of
receiving distributions under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in
that Class and has not been paid, released, or otherwise satisfied prior to the Effective Date.




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             The classification of Claims against and Interests in the Debtors pursuant to the Plan is as follows:

     Class                    Claims and Interests                        Status                    Voting Rights
 Class 1          Other Secured Claims                                 Unimpaired     Not Entitled to Vote (Deemed to Accept)

 Class 2          Other Priority Claims                                Unimpaired     Not Entitled to Vote (Deemed to Accept)

 Class 3          First Lien Claims                                    Impaired       Entitled to Vote

 Class 4          General Unsecured Claims                             Impaired       Entitled to Vote

 Class 5          Section 510 Claims                                   Impaired       Not Entitled to Vote (Deemed to Reject)
                                                                       Unimpaired /   Not Entitled to Vote (Deemed to Accept) /
 Class 6          Intercompany Claims
                                                                       Impaired       Not Entitled to Vote (Deemed to Reject)
                                                                       Unimpaired /   Not Entitled to Vote (Deemed to Accept) /
 Class 7          Intercompany Interests
                                                                       Impaired       Not Entitled to Vote (Deemed to Reject)
 Class 8          Existing Equity Interests                            Impaired       Not Entitled to Vote (Deemed to Reject)


B.           Treatment of Claims and Interests.

        Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for
such Holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the
ReorganizedPost-Effective Date Debtors, and the Holder of such Allowed Claim or Allowed Interest, as applicable.
Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such
treatment on the Effective Date or as soon as reasonably practicable thereafter.

             1.   Class 1 - Other Secured Claims

                       (a)       Classification: Class 1 consists of any Other Secured Claims against any Debtor.

                       (b)       Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                                 to less favorable treatment, each Holder of an Allowed Other Secured Claim shall
                                 receive, in full and final satisfaction of such Claim and at the option of the Debtors and
                                 the Required Consenting Term Lenders, either:

                                 (i)          payment in full in Cash of its Allowed Other Secured Claim;

                                 (ii)         Reinstatement of its Allowed Other Secured Claim pursuant to section 1124 of
                                              the Bankruptcy Code; or

                                 (iii)        such other treatment rendering its Allowed Other Secured Claim Unimpaired in
                                              accordance with section 1124 of the Bankruptcy Code.

                       (c)       Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Claims in Class 1 are
                                 conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
                                 Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
                                 the Plan.




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      2.   Class 2 - Other Priority Claims

               (a)      Classification: Class 2 consists of any Other Priority Claims against any Debtor.

               (b)      Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim agrees
                        to less favorable treatment of its Allowed Claim, each Holder of an Allowed Other
                        Priority Claim shall receive, in full and final satisfaction of such Claim, Cash in an
                        amount equal to such Allowed Other Priority Claim or such other treatment consistent
                        with the provisions of section 1129(a)(9) of the Bankruptcy Code.

               (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Claims in Class 2 are
                        conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
                        Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
                        the Plan.

      3.   Class 3 – First Lien Claims

               (a)      Classification: Class 3 consists of any First Lien Claims against any Debtor.

               (b)      Allowance: The First Lien Claims shall be Allowed in the aggregate principal amount of
                        $[961,496,926], plus any and all unpaid interest, fees, premiums, and all other
                        obligations, amounts, and expenses due and owing under the First Lien Credit Agreement
                        or related documents (including post-petition interest at the default contract rate) as of the
                        Effective Date.

               (c)      Treatment: On the Effective Date, each Holder of a First Lien Claim (or its designated
                        Affiliate, managed fund or account, or other designee) shall receive, in full and final
                        satisfaction of such Claim:

                        (i)      in the event of a Recapitalization Transaction, its pro rata share of 100 percent
                                 of the New Common Stock, subject to dilution by the Management
                                 Incentive Plan; or

                        (ii)     in the event of an Equity Investmenta Sale Transaction, its pro rata share of the
                                 Net SaleDistributable Consideration (including, for the avoidance of doubt, the
                                 Residual Cash).

               (d)      Voting: Class 3 is Impaired under the Plan, and Holders of Allowed Claims in Class 3
                        are entitled to vote to accept or reject the Plan.

      4.   Class 4 - General Unsecured Claims

               (a)      Classification: Class 4 consists of General Unsecured Claims.




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                 (b)      [Treatment: Except to the extent that a Holder of a General Unsecured Claim agrees to
                          less favorable treatment or such General Unsecured Claim has been paid prior to the
                          Effective Date, each Holder of a General Unsecured Claim shall receive, in full and final
                          satisfaction of such Claim, its pro rata share of the GUC Recovery Pool.]4

                 (c)      Voting: Class 4 is Impaired under the Plan, and Holders of Allowed Claims in Class 4
                          are entitled to vote to accept or reject the Plan.

        5.   Class 5 - Section 510(b) Claims

                 (a)      Classification: Class 5 consists of all Section 510(b) Claims.

                 (b)      Treatment: On the Effective Date, all Section 510 Claims will be cancelled, released,
                          discharged, and extinguished and will be of no further force or effect, and Holders of
                          Section 510 Claims will not receive any distribution on account of such
                          Section 510 Claims.

                 (c)      Voting: Class 5 is Impaired under the Plan. Holders of Allowed Claims in Class 5 are
                          conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the
                          Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or reject
                          the Plan.

        6.   Class 6 - Intercompany Claims

                 (a)      Classification: Class 6 consists of all Intercompany Claims.

                 (b)      Treatment: Each Allowed Intercompany Claim shall be, at the option of the applicable
                          Debtor or ReorganizedPost-Effective Date Debtor, with the consent of the Required
                          Consenting Term Lenders (not to be unreasonably withheld), and, in the event of an
                          Equity Investmenta Sale Transaction, in consultation with the Plan SponsorPurchaser,
                          either:

                          (i)      Reinstated; or

                          (ii)     canceled, or released without any distribution on account of such Claim.

                 (c)      Voting: Class 6 is Unimpaired if the Class 6 Claims are Reinstated or Impaired if the
                          Class 6 Claims are cancelled. Holders of Class 6 Claims are conclusively deemed to have
                          accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code or rejected the Plan
                          pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Class 6
                          Claims are not entitled to vote to accept or reject the Plan.




4   [NTD: Treatment of General Unsecured Claims subject to continued negotiation with the Committee.]


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         7.   Class 7 - Intercompany Interests

                  (a)      Classification: Class 7 consists of all Intercompany Interests.

                  (b)      Treatment: On the Effective Date, Intercompany Interests shall be, at the election of the
                           applicable Debtor or ReorganizedPost-Effective Date Debtor, with the consent of the
                           Required Consenting Term Lenders (not to be unreasonably withheld), and, in the event
                           of an Equity Investmenta Sale Transaction, in consultation with the Plan
                           SponsorPurchaser, either:

                           (i)       Reinstated; or

                           (ii)      cancelled andor released without any distribution on account of such Interests.

                  (c)      Voting: Class 7 is Unimpaired if the Class 7 Interests are Reinstated or Impaired if the
                           Class 8 Interests are cancelled. Holders of Class 7 Interests are conclusively deemed to
                           have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code or rejected
                           the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, such Holders
                           are not entitled to vote to accept or reject the Plan.

         8.   Class 8 - Existing Equity Interests

                  (a)      Classification: Class 8 consists of all Existing Equity Interests.

                  (b)      Treatment: On the Effective Date, all Existing Equity Interests shall be cancelled,
                           released, extinguished, and discharged and will be of no further force or effect. Holders
                           of Interests shall receive no recovery or distribution on account of their Existing
                           Equity Interests.

                  (c)      Voting: Class 8 is Impaired under the Plan. Holders of Allowed Interests in Class 8 are
                           conclusively deemed to have rejected the Plan under section 1126(g) of the Bankruptcy
                           Code. Therefore, such Holders are not entitled to vote to accept or reject the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of the Debtors’ or
the ReorganizedPost-Effective Date Debtors’ rights, as applicable, regarding any Unimpaired Claims, including, all
rights regarding legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.




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F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by Holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience, for the ultimate benefit of the Holders of New Common Stock, and in exchange for
the Debtors’ and Reorganized Debtors’ agreement of the Debtors and/or the Post-Effective Date Debtors, as
applicable, under the Plan to make certain distributions to the Holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall
seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting
Class of Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article X of the
Plan to the extent that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
including by modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or
Interests Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and thetheir
respective distributions and treatments under the Plan take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination
rights relating thereto, whether arising under general principles of equitable subordination, section 510 of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, and subject to the RSA, the
ReorganizedPost-Effective Date Debtors reserve the right to re-classify any Allowed Claim or Allowed Interest in
accordance with any contractual, legal, or equitable subordination relating thereto.

                                            ARTICLE IV.
                              MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the provisions of the
Plan shall constitute a good faith compromise and settlement of all Claims and Interests and controversies resolved
pursuant to the Plan. The Plan shall be deemed a motion to approve the good faith compromise and settlement of all
such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order
shall constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the
Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and
compromise is fair, equitable, reasonable, and in the best interests of the Debtors and their Estates. Subject to
Article VI hereof, all distributions made to Holders of Allowed Claims and Allowed Interests (as applicable) in any
Class are intended to be and shall be final.

B.       Restructuring Transactions.

         Before, on, and after the Effective Date, the Debtors or Reorganizedthe Post-Effective Date Debtors, as
applicable, shall consummate the Restructuring Transactions and may take all actions (which, for the avoidance of


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doubt, shall be in form, substance, and structure reasonably acceptable to the Required Consenting Term Lenders) as
may be necessary or appropriate to effect any transaction described in, approved by, contemplated by, or necessary
to effectuate the Plan that are consistent with and pursuant to the terms and conditions of the Plan, including, as
applicable: (i) the execution and delivery of any appropriate agreements or other documents of merger,
consolidation, restructuring, conversion, disposition, transfer, formation, organization, dissolution, or liquidation
containing terms that are consistent with the terms of the Plan, the Plan Supplement, the RSA, and the other
Definitive Documents; (ii) the execution and delivery of appropriate instruments of transfer, assignment, assumption,
or delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the terms of the Plan,
the Plan Supplement, the RSA, and the other Definitive Documents; (iii) the execution, delivery, and filing, if
applicable, of appropriate certificates or articles of incorporation, formation, reincorporation, merger, consolidation,
conversion, or dissolution pursuant to applicable state law; (iv) the execution and delivery of the New Takeback
Facility Documents and entry into the New Takeback Facility; (v) the issuance and distribution of the New Common
Stock as set forth in the Plan; (vi) the implementation of the Management Incentive Plan; (vii) the execution and
delivery of the New Organizational Documents and any certificates or articles of incorporation, bylaws, or such
other applicable formation documents (if any) of each ReorganizedPost-Effective Date Debtor (including all actions
to be taken, undertakings to be made, and obligations to be incurred, and fees and expenses to be paid by the
Debtors and/or the ReorganizedPost-Effective Date Debtors, as applicable); (viii) such other transactions that, in the
reasonable business judgment of the Debtors or the ReorganizedPost-Effective Date Debtors, as applicable, the
Required Consenting Term Lenders (in the event of a Recapitalization Transaction), and the Plan SponsorPurchaser
(in the event of an Equity Investmenta Sale Transaction), are required to effectuate the Restructuring Transactions;
and (ix) all other actions that the applicable Entities determine to be necessary or appropriate, including making
filings or recordings that may be required by applicable law.

        For the avoidance of doubt, in the event there is no Plan Sponsor, the Debtors shall pursue a
Recapitalization Transaction.

         The Confirmation Order shall and shall be deemed to, pursuant to both section 1123 and section 363 of the
Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect any
transaction described in, approved by, contemplated by, or necessary to effectuate the Plan.

C. New Equity Investment.

        The Debtors shall pursue the Recapitalization Transaction unless the Debtors determine, with the consent of
the Required Consenting Term Lenders, to pursue an Equity Investment Transaction or an Asset Sale.

         In the event of an Equity Investment Transaction, on the Effective Date, the Plan SponsorPurchaser shall
purchase the Plan Sponsor Equity Sharesubstantially all of the New Common Stock free and clear of all Liens,
Claims, Interests, charges, or other encumbrances in exchange for the Purchase Price committed in the Successful
Bid pursuant to the Plan Sponsor Agreement.set forth in the Purchase Agreement. The Confirmation Order shall
authorize the Debtors, the Purchaser, and the Post-Effective Date Debtors, as applicable, to undertake the
transactions contemplated by the Purchase Agreement, including pursuant to sections 363, 365, 1123(a)(5)(B), and
1123(a)(5)(D) of the Bankruptcy Code.

          The Debtors and Purchaser shall be authorized to take all actions as may be deemed necessary or
appropriate to consummate the Equity Investment Transaction pursuant to the terms of the Purchase Agreement and
the Plan. On and after the Effective Date, except as otherwise provided in the Plan, the Post-Effective Date Debtors
may operate their businesses and may use, acquire, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without supervision or approval by the Bankruptcy Court and free of any restrictions
of the Bankruptcy Code or Bankruptcy Rules; provided, that the Bankruptcy Court shall retain jurisdiction to resolve
any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with any of the foregoing.




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C.       The Equity Investment Transaction or Recapitalization Transaction.

         If the Equity Investment Transaction or Recapitalization Transaction occurs, the following provisions
shall govern.

         1.   D. The ReorganizedPost-Effective Date Debtors.

         On the Effective Date, the New Board shall be established, and each ReorganizedPost-Effective Date
Debtor shall adopt its New Organizational Documents. The ReorganizedPost-Effective Date Debtors shall be
authorized to adopt any other agreements, documents, and instruments and to take any other actions contemplated
under the Plan as necessary to consummate the Plan.

         2.   E. Sources of Consideration for Plan Distributions.

          The Debtors shall fund or make distributions under the Plan, as applicable, with: (i) the issuance of New
Takeback Facility Loans under the New Takeback Facility, (ii) the proceeds from the sale of the Plan Sponsor
Equity ShareInvestment Transaction; (iii) the New Common Stock, and (iv) the Debtors’ Cash on hand. Each
distribution and issuance referred to in Article VIArticle VI of the Plan shall be governed by the terms and
conditions set forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the
instruments or other documents evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance. The issuance, distribution, or authorization, as
applicable, of certain Securities in connection with the Plan, including the New Common Stock, will be exempt from
Securities Act registration, as described more fully in Article IV.MArticle IV.C.5 below.

                  (a)      1. The New Takeback Facility.

         OnIn the event of a Recapitalization Transaction, on the Effective Date, the ReorganizedPost-Effective
Date Debtors shall enter into the New Takeback Facility Credit Agreement. Confirmation of the Plan shall be
deemed approval of the New Takeback Facility and the New Takeback Facility Documents, as applicable, and all
transactions contemplated thereby; all actions to be taken, undertakings to be made, and obligations to be incurred
by the ReorganizedPost-Effective Date Debtors in connection therewith, including the payment of all fees,
indemnities, expenses, and other payments provided for therein; and authorization of the Reorganizedfor the
Post-Effective Date Debtors to enter into and execute the New Takeback Facility Documents and such other
documents as may be required to effectuate the treatment afforded by the New Takeback Facility. Execution of the
New Takeback Facility Credit Agreement by the New Takeback Facility Agent shall be deemed to bind all Holders
of DIP Claims as if each such Holder had executed the New Takeback Facility Credit Agreement with
appropriate authorization.

          On the Effective Date, all of the Liens and security interests to be granted in accordance with the New
Takeback Facility Documents (a) shall be deemed to be granted, (b) shall be legal, binding, and enforceable Liens
on, and security interests in, the collateral granted thereunder in accordance with the terms of the New Takeback
Facility Documents, (c) shall be deemed automatically perfected on the Effective Date, subject only to such Liens
and security interests as may be permitted under the New Takeback Facility Documents, and (d) shall not be subject
to recharacterization or equitable subordination for any purposes whatsoever and shall not constitute preferential
transfers or fraudulent conveyances under the Bankruptcy Code or any applicable non-bankruptcy law. The
ReorganizedPost-Effective Date Debtors and the Persons and Entities granted such Liens and security interests shall
be authorized to make all filings and recordings and to obtain all governmental approvals and consents necessary to
establish and perfect such Liens and security interests under the provisions of the applicable state, federal, or other
law that would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order and any such filings,
recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other filings and
recordings that otherwise would be necessary under applicable law to give notice of such Liens and security interests
to third parties.




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                  (b)      2. New Common Stock.

         Reorganized Cyxtera shall be authorized to issue a certain number of shares of New Common Stock
pursuant to its New Organizational Documents and any options or other equity awards, if any, reserved for the
Management Incentive Plan. The issuance of the New Common Stock shall be authorized without the need for any
further corporate action. On the Effective Date, the New Common Stock shall be issued and distributed pursuant to,
and in accordance with, the Plan, and, in the event of an Equity Investment Transaction, the Plan
SponsorPurchase Agreement.

          All of the shares of New Common Stock issued pursuant to the Plan and, if applicable, the Plan
SponsorPurchase Agreement shall be duly authorized, validly issued, fully paid, and non-assessable. Each
distribution and issuance referred to in Article VI hereof shall be governed by the terms and conditions set forth in
the Plan applicable to such distribution or issuance and by the terms and conditions of the instruments evidencing or
relating to such distribution or issuance, including the New Organizational Documents, which terms and conditions
shall bind each Entity receiving such distribution or issuance. Any Entity’s acceptance of New Common Stock shall
be deemed asto constitute its agreement to the New Organizational Documents, as the same may be amended or
modified from time to time following the Effective Date in accordance with their terms, without the need for
execution by any party thereto other than the applicable ReorganizedPost-Effective Date Debtor(s). [The New
Common Stock will not be registered under the Securities Act or on any national securities exchange as of the
Effective Date.]

         3.   F. Corporate Existence.

         Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective Date as a
separate corporate Entity, limited liability company, partnership, or other form, as the case may be, with all the
powers of a corporation, limited liability company, partnership, or other form, as the case may be, pursuant to the
applicable law in the jurisdiction in which such Debtor is incorporated or formed and pursuant to the certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended under the Plan or
otherwise, and to the extent such documents are amended, such documents are deemed to be amended pursuant to
the Plan and require no further action or approval (other than any requisite filings required under applicable state,
provincial, or federal law). On or after the Effective Date, the respective certificate of incorporation and bylaws (or
other formation documents) of one or more of the ReorganizedPost-Effective Date Debtors may be amended or
modified on the terms therein without supervision or approval by the Bankruptcy Court and free of any restrictions
of the Bankruptcy Code or Bankruptcy Rules. On or after the Effective Date, one or more of the
ReorganizedPost-Effective Date Debtors may be disposed of, dissolved, wound down, or liquidated without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules.

G. Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in the Plan, the Confirmation Order, or any agreement, instrument, or other
document incorporated herein, or entered into in connection with or pursuant to, the Plan, the Plan Supplement, or
the New Takeback Facility Documents, on the Effective Date, all property in each Estate, all Causes of Action, and
any property acquired by any of the Debtors pursuant to the Plan shall vest in each respective Reorganized Debtor,
free and clear of all Liens, Claims, charges, Causes of Action, or other encumbrances. On and after the Effective
Date, except as otherwise provided in the Plan, the Confirmation Order, or any agreement, instrument, or other
document incorporated herein, each Reorganized Debtor may operate its business and may use, acquire, or dispose
of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by
the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

H. Cancellation of Existing Agreements and Interests.

         On the Effective Date, except with respect to the New Takeback Facility or to the extent otherwise provided
in the Plan, including in Article V.A hereof, all notes, instruments, certificates, and other documents evidencing


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Claims or Interests, including credit agreements and indentures, shall be cancelled, and the obligations of the
Debtors and any non-Debtor Affiliate thereunder or in any way related thereto shall be deemed satisfied in full,
cancelled, discharged, and of no force or effect, and the Agents shall be released from all duties and obligations
thereunder. Holders of or parties to such cancelled instruments, securities, and other documentation will have no
rights arising from or relating to such instruments, securities, and other documentation, or the cancellation thereof,
except the rights provided for pursuant to this Plan. Notwithstanding the foregoing or anything to the contrary
herein, any rights of each Agent to indemnification under the DIP Documents, the Receivables Program Documents,
the First Lien Credit Documents, and the Bridge Facility Documents shall remain binding and enforceable in
accordance with the terms of such documents and shall not be subject to discharge, impairment, or release under the
Plan or the Confirmation Order.

I. Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (i) selection of the directors, officers, or managers for the Reorganized Debtors; (ii) the
issuance and distribution of the New Common Stock; (iii) implementation of the Restructuring Transactions;
(iv) entry into the New Takeback Facility Documents; (v) all other actions contemplated under the Plan (whether to
occur before, on, or after the Effective Date); (vi) adoption of the New Organizational Documents; (vii) the
rejection, assumption, or assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases;
(viii) adoption by the New Board of the Management Incentive Plan; and (ix) all other acts or actions contemplated
or reasonably necessary or appropriate to promptly consummate the Restructuring Transactions contemplated by the
Plan (whether to occur before, on, or after the Effective Date). All matters provided for in the Plan involving the
corporate structure of the Debtors or the Reorganized Debtors, and any corporate action required by the Debtors or
the Reorganized Debtor, as applicable, in connection with the Plan shall be deemed to have occurred and shall be in
effect without any requirement of further action by the security Holders, directors, officers, or managers of the
Debtors or the Reorganized Debtors, as applicable. On or prior to the Effective Date, as applicable, the appropriate
officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to
issue, execute, and deliver the agreements, documents, securities, and instruments contemplated under the Plan (or
necessary or desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the
Reorganized Debtors, including the New Common Stock, the New Organizational Documents, the New Takeback
Facility, and the New Takeback Facility Documents, any other Definitive Documents, and any and all other
agreements, documents, securities, and instruments relating to the foregoing. The authorizations and approvals
contemplated by this Article IV.I shall be effective notwithstanding any requirements under non-bankruptcy law.

         4.   J. New Organizational Documents.

          On or immediately prior to the Effective Date, the New Organizational Documents shall be adopted or
amended as may be necessary to effectuate the transactions contemplated by the Plan. To the extent required under
the Plan or applicable non-bankruptcy law, each of the ReorganizedPost-Effective Date Debtors will file its New
Organizational Documents with the applicable Secretaries of State and/or other applicable authorities in its
respective state, province, or country of incorporation in accordance with the corporate laws of the respective state,
province, or country of incorporation to the extent such filing is required for each such document. The New
Organizational Documents will prohibit the issuance of non-voting Equity Securities to the extent required under
section 1123(a)(6) of the Bankruptcy Code. For the avoidance of doubt, the New Organizational Documents shall
be included as exhibits to the Plan Supplement. After the Effective Date, each ReorganizedPost-Effective Date
Debtor may amend and restate its constituent and governing documents as permitted by the laws of its jurisdiction of
formation and the terms of such documents, and the ReorganizedPost-Effective Date Debtors may file such amended
certificates or articles of incorporation, bylaws, or other applicable formation and constituent documents as
permitted by the laws of the applicable states, provinces, or countries of incorporation and the New Organizational
Documents. For the avoidance of doubt, any claimant’s acceptance of the New Common Stock shall be deemed to
constitute its agreement to be bound by the New Organizational Documents without the need for execution by any
party other than Reorganizedthe Post-Effective Date Debtors.




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K. Directors and Officers of the Reorganized Debtors.

          As of the Effective Date, the term of the current members of the board of directors or other Governing
Body of Cyxtera shall expire, and the members for the initial term of the New Board shall be appointed; provided,
that the disinterested directors of Cyxtera, comprising the special committee of Cyxtera’s board of directors, shall
retain authority following the Effective Date with respect to matters relating to Professional Fee Claim requests by
Professionals acting at their authority and direction in accordance with the terms of the Plan. The disinterested
directors of Cyxtera shall not have any of their privileged and confidential documents, communications, or
information transferred (or deemed transferred) to the Reorganized Debtors, the Plan Sponsor, or any other Entity
without their prior written consent. The initial members of the New Board will be identified in the Plan Supplement
to the extent known at the time of filing. Each such member and officer of the Reorganized Debtors shall serve from
and after the Effective Date pursuant to the terms of the New Organizational Documents and other constituent
documents of the Reorganized Debtors. In the event of an Equity Investment Transaction, the members of the New
Board shall be chosen by the Debtors or the Reorganized Debtors, subject to the applicable terms of the RSA, and, if
applicable, the Plan Sponsor Agreement.

L. Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Reorganized Debtors, and their respective officers and boards of
directors and managers, are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary to effectuate,
implement, and further evidence the terms and conditions of the Plan and the Securities issued pursuant to the Plan
in the name of and on behalf of the Reorganized Debtors without the need for any approvals, authorization, or
consents except for those expressly required pursuant to the Plan.

         5.   M. Certain Securities Law Matters.

         The offering of any New Common Stock before the Petition Date shall be exempt from the registration
requirements of the Securities Act in reliance upon SectionPursuant to section 1145 of the Bankruptcy Code, or, to
the extent that section 1145 of the Bankruptcy Code is either not permitted or not applicable, section 4(a)(2) of the
Securities Act, Regulation D promulgated thereunder, and/or in reliance on Regulation S under the Securities Act.

          , and/or other available exemptions from registration, the The offering, issuance, and distribution of the
New Common Stock, as contemplated by Article III of this Plan, after the Petition Date,herein shall be exempt
from, among other things, the registration requirements of Section 5 of the Securities Act and any other applicable
U.S. federal, state, or local laws requiring registration prior to the offering, issuance, distribution, or sale of
securities in accordance with, and pursuant to, section 1145 .

           of the Bankruptcy Code, and to the extent such exemption is not available, then suchThe shares of New
Common Stock willto be offered, issued, and distributed under the Plan pursuant to other applicable exemptions
from registration under the Securities Act and any other applicable securities laws. Such New Common Stock, to the
extent offered, issued, and distributed pursuant to on account of Allowed Claims in accordance with, and pursuant
to, section 1145 of the Bankruptcy Code, (i) will not be “restricted securities” as defined in Rule 144(a)(3) will be
freely transferable under the Securities Act, and (ii) will be freely tradeable and transferable without registration
under the Securities Act in the United States by the recipients thereof that are not, and have not been within 90 days
of such transfer, an “affiliate” of the Debtors as defined in Rule 144(a)(1) under the Securities Act, subject to: (a)
the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section
11452(ba)(11) of the Bankruptcy Code, andSecurities Act, compliance with any applicable state or foreign securities
laws and, if any, and the rules and regulations of the United States Securities and Exchange Commission or state or
local securities laws, if any, applicable at the time of any future transfer of such sSecurities or instruments; and (b)
any restrictions on the transferability of such New Common Stock in the New Organizational Documents.

          The shares of New Common Stock that may be issued pursuant to the exemption from registration set forth
in section 4(a)(2) of the Securities Act, Regulation D thereunder, Regulation S under the Securities Act, and/or other
available exemptions from registration will be considered “restricted securities,” will bear customary legends and


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transfer restrictions, and may not be transferred except pursuant to an effective registration statement or under an
available exemption from the registration requirements of the Securities Act.

N. Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (i) the issuance,
Reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest in the Debtors or the
Reorganized Debtors; (ii) the Restructuring Transactions; (iii) the creation, modification, consolidation, termination,
refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (iv) the making, assignment, or recording of any lease or sublease;
(v) the grant of collateral as security for the New Takeback Facility; or (vi) the making, delivery, or recording of any
deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds,
bills of sale, assignments, or other instrument of transfer executed in connection with any transaction arising out of,
contemplated by, or in any way related to the Plan, shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, sales or use
tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or
governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental
officials or agents shall forego the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such tax, recordation
fee, or governmental assessment. All filing or recording officers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements of section 1146 of the
Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and shall accept for filing
and recordation any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

         6.   O. Management Incentive Plan.

         On or as soon as reasonably practicable following the Effective Date, the ReorganizedPost-Effective Date
Debtors shall adopt and implement the Management Incentive Plan, which will provide that up to 10% of the value
of the New Common Stock as of the Effective Date, on a fully diluted basis, shall be issued in connection with the
Management Incentive Plan on terms acceptable to the Required Consenting Term Lenders and the Debtors, and, in
the event of an Equity Investment Transaction, the Plan SponsorPurchaser. The issuance of any awards under the
Management Incentive Plan shall be at the discretion of the New Board.

         7.   P. Employment Obligations.

         Unless otherwise provided herein, and subject to Article V of the Plan, if applicable, all employee wages,
compensation, retiree benefits (as defined in 11 U.S.C. § 1114(a) of the Bankruptcy Code), and benefit programs in
place as of the Effective Date with the Debtors shall be assumed by the ReorganizedPost-Effective Date Debtors and
shall remain in place as of the Effective Date, and the ReorganizedPost-Effective Date Debtors will continue to
honor such agreements, arrangements, programs, and plans as of the Effective Date. For the avoidance of doubt,
pursuant to section 1129(a)(13) of the Bankruptcy Code, as of the Effective Date, all retiree benefits (as such term is
defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with applicable law.
On the Effective Date, the ReorganizedPost-Effective Date Debtors shall (a) assume all employment agreements,
indemnification agreements, or other agreements entered into with current employees; or (b) enter into new
agreements with such employees on terms and conditions acceptable to the ReorganizedPost-Effective Date Debtors,
such employee, and the Required Consenting Term Lenders, and, in the event of an Equity Investment Transaction,
the Plan SponsorPurchaser.




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D.       The Asset Sale.

         If the Asset Sale occurs, the following provisions shall govern.

         1.   The Asset Sale.

         On the Effective Date, the Purchaser shall purchase substantially all of the Debtors’ assets free and clear of
all Liens, Claims, Interests, charges, or other encumbrances (except for those Liens, Claims, Interests, charges, or
other encumbrances assumed by the Purchaser pursuant to the terms of the Purchase Agreement) in exchange for the
Purchase Price as set forth in the Purchase Agreement. The Confirmation Order shall authorize the Debtors, the
Post-Effective Date Debtors, and the Purchaser, as applicable, to undertake the transactions contemplated by the
Purchase Agreement, including pursuant to sections 363, 365, 1123(a)(5)(B), and 1123(a)(5)(D) of the Bankruptcy
Code.

         Subject to the consent rights set forth in the RSA, the Debtors and Purchaser shall be authorized to take all
actions as may be deemed necessary or appropriate to consummate the Asset Sale pursuant to the terms of the
Purchase Agreement and the Plan. On and after the Effective Date, except as otherwise provided in the Plan, the
Post-Effective Date Debtors or the Purchaser, as applicable, may operate their businesses and may use, acquire, or
dispose of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules;
provided, that the Bankruptcy Court shall retain jurisdiction to resolve any cases, controversies, suits, disputes, or
Causes of Action that may arise in connection with any of the foregoing.

         2.   Sources of Consideration for Plan Distributions.

          The Debtors shall fund distributions under the Plan with: (i) the proceeds from the Asset Sale, (ii) the
Debtors’ Cash on hand, and (iii) the proceeds of any Causes of Action retained by the Post-Effective Date Debtors.
Each distribution and issuance referred to in Article VI of the Plan shall be governed by the terms and conditions set
forth in the Plan applicable to such distribution or issuance and by the terms and conditions of the instruments or
other documents evidencing or relating to such distribution or issuance, which terms and conditions shall bind each
Entity receiving such distribution or issuance.

         3.   Post-Effective Date Debtors.

         On and after the Effective Date, the Post-Effective Date Debtors shall continue in existence for purposes of
(i) winding down the Debtors’ business and affairs as expeditiously as reasonably possible as authorized by the
Bankruptcy Court; (ii) resolving Disputed Claims; (iii) making distributions on account of Allowed Claims as
provided hereunder; (iv) establishing and funding the Distribution Reserve Accounts; (v) enforcing and prosecuting
claims, interests, rights, and privileges under the Causes of Action on the Schedule of Retained Causes of Action in
an efficacious manner and only to the extent the benefits of such enforcement or prosecution are reasonably believed
to outweigh the costs associated therewith; (vi) filing appropriate tax returns; (vii) complying with any continuing
obligations under the Purchase Agreement; and (viii) administering the Plan in an efficacious manner. The
Post-Effective Date Debtors shall be deemed to be substituted as the party-in-lieu of the Debtors in all matters,
including (x) motions, contested matters, and adversary proceedings pending in the Bankruptcy Court, and (y) all
matters pending in any courts, tribunals, forums, or administrative proceedings outside of the Bankruptcy Court, in
each case without the need or requirement for the Plan Administrator to file motions or substitutions of parties or
counsel in each such matter.

         Notwithstanding anything to the contrary in the Plan, on the Effective Date, any Cause of Action not settled,
released, discharged, enjoined, or exculpated under the Plan on or prior to the Effective Date shall vest in the
Post-Effective Date Debtors and shall be subject to administration by the Plan Administrator, and the net proceeds
thereof shall be Distributable Consideration.




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         4.   Plan Administrator.

          On the Effective Date, the authority, power, and incumbency of the persons acting as managers, directors,
and officers of the Post-Effective Date Debtors shall be deemed to have resigned, solely in their capacities as such,
and the Plan Administrator shall be appointed as the sole manager, sole director, and sole officer of the
Post-Effective Date Debtors and shall succeed to the powers of the Post-Effective Date Debtors’ managers,
directors, and officers. The Plan Administrator shall act for the Post-Effective Date Debtors in the same fiduciary
capacity as applicable to a board of managers, directors, and officers, subject to the provisions hereof (and all
certificates of formation, membership agreements, and related documents are deemed amended by the Plan to permit
and authorize the same) and shall retain and have all the rights, powers, and duties necessary to carry out his or her
responsibilities under the Plan in accordance with the Wind Down and as otherwise provided in the
Confirmation Order.

          From and after the Effective Date, the Plan Administrator shall be the sole representative of, and shall act
for, the Post-Effective Date Debtors. The foregoing shall not limit the authority of the Post-Effective Date Debtors
or the Plan Administrator, as applicable, to continue the employment of any former manager or officer. The
Debtors, after the Confirmation Date, and the Post-Effective Date Debtors or Plan Administrator, after the Effective
Date, shall be permitted to make payments to employees pursuant to employment programs then in effect, and, in the
reasonable business judgment of the Plan Administrator and upon three (3) Business Days’ notice to counsel to the
AHG, to implement additional employee programs and make payments thereunder solely as necessary to effectuate
the Wind-Down, without any further notice to or action, order, or approval of the Bankruptcy Court.

          The powers of the Plan Administrator shall include any and all powers and authority to implement the Plan
and to administer and distribute the Distribution Reserve Accounts and wind down the business and affairs of the
Debtors and Post-Effective Date Debtors, including: (i) making distributions under the Plan; (ii) liquidating,
receiving, holding, investing, supervising, and protecting the assets of the Post-Effective Date Debtors in accordance
with the Wind-Down Reserve; (iii) taking all steps to execute all instruments and documents necessary to effectuate
the distributions to be made under the Plan; (iv) making distributions from the Distribution Reserve Accounts as
contemplated under the Plan; (v) establishing and maintaining bank accounts in the name of the Post-Effective Date
Debtors; (vi) subject to the terms set forth herein, employing, retaining, terminating, or replacing professionals to
represent it with respect to its responsibilities or otherwise effectuating the Plan to the extent necessary; (vii) paying
all reasonable fees, expenses, debts, charges, and liabilities of the Post-Effective Date Debtors; (viii) except as
otherwise provided for herein, enforcing and prosecuting claims, interests, rights, and privileges under the Causes of
Action on the Schedule of Retained Causes of Action in accordance with Article IV.E; (ix) administering and paying
taxes of the Post-Effective Date Debtors, including filing tax returns; (x) representing the interests of the
Post-Effective Date Debtors or the Estates before any taxing authority in all matters, including any action, suit,
proceeding, or audit; and (xi) exercising such other powers as may be vested in it pursuant to order of the
Bankruptcy Court or pursuant to the Plan, the Confirmation Order, or any applicable orders of the Bankruptcy Court
or as the Plan Administrator reasonably deems to be necessary and proper to carry out the provisions of the Plan in
accordance with the Wind-Down Reserve.

                  (a)       Retention of Professionals.

         The Plan Administrator shall have the right to retain the services of attorneys, accountants, and other
professionals that, at the discretion of the Plan Administrator, are necessary to assist the Plan Administrator in the
performance of his or her duties for the Post-Effective Date Debtors. The reasonable fees and expenses of such
professionals, if applicable, shall be paid from the Wind-Down Reserve upon the monthly submission of statements
to the Plan Administrator. The payment of the reasonable fees and expenses of the Post-Effective Date Debtors’
retained professionals shall be made in the ordinary course of business from the Wind-Down Reserve and shall not
be subject to the approval of the Bankruptcy Court.

                  (b)       Compensation of the Plan Administrator.

       The Plan Administrator’s compensation, on a post-Effective Date basis, shall be as described in the Plan
Supplement, reasonably acceptable to the Required Consenting Term Lenders, and paid out of the Wind-Down


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Reserve. Except as otherwise ordered by the Bankruptcy Court, the fees and expenses incurred by the Plan
Administrator on or after the Effective Date (including taxes) and any reasonable compensation and expense
reimbursement Claims (including attorney fees and expenses) made by the Plan Administrator in connection with
such Plan Administrator’s duties shall be paid without any further notice to, or action, order, or approval of, the
Bankruptcy Court in Cash from the Wind-Down Reserve if such amounts relate to any actions taken hereunder.

                  (c)      Plan Administrator Expenses.

         All costs, expenses, and obligations incurred by the Plan Administrator or the Post-Effective Date Debtors
in administering the Plan or in effecting distributions thereunder (including the reimbursement of reasonable
expenses), including any costs, expenses, or obligations in any manner connected, incidental, or related thereto, shall
be paid from the Wind-Down Reserve.

         The Debtors and the Plan Administrator, as applicable, shall not be required to give any bond or surety or
other security for the performance of their duties unless otherwise ordered by the Bankruptcy Court. However, in
the event that the Plan Administrator is so ordered after the Effective Date, all costs and expenses of procuring any
such bond or surety shall be paid for with Cash from the Wind-Down Reserve.

                  (d)      Exculpation, Indemnification, Insurance, and Liability Limitation.

         The Plan Administrator and all professionals retained by the Plan Administrator, each in their capacities as
such, shall be deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all
respects by the Post-Effective Date Debtors. The Plan Administrator may obtain, at the expense of the
Post-Effective Date Debtors and with funds from the Wind-Down Reserve, commercially reasonable liability or
other appropriate insurance with respect to the indemnification obligations of the Post-Effective Date Debtors. The
Plan Administrator may rely upon written information previously generated by the Debtors.

                  (e)      Tax Returns.

          After the Effective Date, the Plan Administrator shall complete and file all final or otherwise required
federal, state, and local tax returns for each of the Debtors and, pursuant to section 505 of the Bankruptcy Code and
subject to applicable law, may request an expedited determination of any unpaid tax liability of such Debtor or its
Estate.

                  (f)      Dissolution of the Post-Effective Date Debtors.

         Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all distributions
having been made, completion of all its duties under the Plan, and entry of a final decree closing the last of the
Chapter 11 Cases, the Post-Effective Date Debtors shall be deemed to be dissolved without any further action by the
Post-Effective Date Debtors, including the filing of any documents with the secretary of state for the state in which
each Post-Effective Date Debtor is formed or any other jurisdiction. The Plan Administrator, however, shall have
authority to take all necessary actions to dissolve the Post-Effective Date Debtors in and withdraw the Post-Effective
Date Debtors from applicable state(s).

          To the extent the Debtors have any Cash or other property remaining after the Chapter 11 Cases have been
closed, such Cash or other property shall constitute Residual Cash and shall be immediately allocated and
distributable to the Holders of Allowed First Lien Claims.

         5.   Wind Down.

         As soon as practicable after the Effective Date, the Plan Administrator shall: (i) cause the Debtors and the
Post-Effective Date Debtors, as applicable, to comply with and abide by the terms of the Purchase Agreement and
any other documents contemplated thereby; (ii) to the extent applicable, file a certificate of dissolution or equivalent
document, together with all other necessary corporate and company documents, to effect the dissolution of one or
more of the Debtors or the Post-Effective Date Debtors under the applicable laws of their state of incorporation or


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formation (as applicable); and (iii) take such other actions as the Plan Administrator may determine to be necessary
or desirable to carry out the purposes of the Plan. Any certificate of dissolution or equivalent document may be
executed by the Plan Administrator without the need for any action or approval by the shareholders or board of
directors or managers of any Debtor. From and after the Effective Date, except with respect to Post-Effective Date
Debtors as set forth herein, the Debtors (x) for all purposes shall be deemed to have withdrawn their business
operations from any state in which the Debtors were previously conducting, or are registered or licensed to conduct,
their business operations and shall not be required to file any document, pay any sum, or take any other action in
order to effectuate such withdrawal, (y) shall be deemed to have canceled pursuant to the Plan all Existing Equity
Interests, and (z) shall not be liable in any manner to any taxing authority for franchise, business, license, or similar
taxes accruing on or after the Effective Date. For the avoidance of doubt, notwithstanding the Debtors’ dissolution,
the Debtors shall be deemed to remain intact solely with respect to the preparation, filing, review, and resolution of
applications for Professional Fee Claims.

         The filing of the final monthly report (for the month in which the Effective Date occurs) and all subsequent
quarterly reports shall be the responsibility of the Plan Administrator.

E.       Q. Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, the
ReorganizedPost-Effective Date Debtors, shall retain and may enforce (or the Plan Administrator may enforce, if
applicable) all rights to commence and pursue, as appropriate, any and all Causes of Action, whether arising before
or after the Petition Date, including any actions specifically enumerated in the Schedule of Retained Causes of
Action, and the Reorganized Debtors’ rights of the Post-Effective Date Debtors to commence, prosecute, or settle
such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date, other than the
Causes of Action released or exculpated herein (including, without limitation, by the Debtors) pursuant to the
releases and exculpations contained in the Plan, including in Article VIII hereof, which shall be deemed released and
waived by the Debtors and the ReorganizedPost-Effective Date Debtors, as applicable, as of the Effective Date.

         The ReorganizedPost-Effective Date Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of the ReorganizedPost-Effective Date Debtors. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against it as any indication that the Debtors or the ReorganizedPost-Effective Date Debtors, as
applicable, will not pursue any and all available Causes of Action against it. The Debtors and the
ReorganizedPost-Effective Date Debtors, as applicable, expressly reserve all rights to prosecute any and all
Causes of Action against any Entity, except as otherwise expressly provided in the Plan, including Article
VIII of the Plan. Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated,
released, compromised, or settled in the Plan or a Final Order, the ReorganizedPost-Effective Date Debtors
expressly reserve all Causes of Action for later adjudication, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or
Consummation.

          The ReorganizedPost-Effective Date Debtors and/or the Plan Administrator, as applicable, reserve and
shall retain such Causes of Action notwithstanding the rejection or repudiation of any Executory Contract or
Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the
Bankruptcy Code, any Causes of Action that a Debtor may hold against any Entity shall vest in the corresponding
ReorganizedPost-Effective Date Debtor, except as otherwise expressly provided in the Plan, including Article VIII
of the Plan. The ReorganizedPost-Effective Date Debtors and/or the Plan Administrator, as applicable, through their
authorized agents or representatives, shall retain and may exclusively enforce any and all such Causes of Action.
The ReorganizedPost-Effective Date Debtors and/or the Plan Administrator, as applicable, shall have the exclusive
right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the foregoing
without the consent or approval of any third party or further notice to or action, order, or approval of the Bankruptcy
Court. For the avoidance of doubt, in no instance will any Cause of Action preserved pursuant to this Article
IV.QArticle IV.E include any Claim or Cause of Action against a Released Party or Exculpated Party.


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F.       Cancellation of Existing Agreements and Interests.

          On the Effective Date, except with respect to the New Takeback Facility or to the extent otherwise provided
in the Plan, including in Article V.A hereof, all notes, instruments, certificates, and other documents evidencing
Claims or Interests, including credit agreements and indentures, shall be cancelled, and the obligations of the
Debtors and any non-Debtor Affiliate thereunder or in any way related thereto shall be deemed satisfied in full,
cancelled, discharged, and of no force or effect, and the Agents shall be released from all duties and obligations
thereunder. Holders of or parties to such cancelled instruments, securities, and other documentation will have no
rights arising from or relating to such instruments, securities, and other documentation, or the cancellation thereof,
except the rights provided for pursuant to the Plan. Notwithstanding the foregoing or anything to the contrary
herein, any rights of each Agent to indemnification under the DIP Documents, the Receivables Program Documents,
the First Lien Credit Documents, and the Bridge Facility Documents shall remain binding and enforceable in
accordance with the terms of such documents and shall not be subject to discharge, impairment, or release under the
Plan or the Confirmation Order.

G.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Post-Effective Date Debtor, as applicable, or to any other Person) of property under the Plan or pursuant
to: (i) the issuance, Reinstatement, distribution, transfer, or exchange of any debt, Equity Security, or other interest
in the Debtors or the Post-Effective Date Debtors, as applicable; (ii) the Restructuring Transactions; (iii) the
creation, modification, consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or
other security interest, or the securing of additional indebtedness by such or other means; (iv) the making,
assignment, or recording of any lease or sublease; (v) the grant of collateral as security for the New Takeback
Facility; (vi) the Sale Transaction; or (vii) the making, delivery, or recording of any deed or other instrument of
transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or
other instrument of transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, sales or use tax, Uniform Commercial
Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental assessment, and
upon entry of the Confirmation Order, the appropriate state or local governmental officials or agents shall forego the
collection of any such tax or governmental assessment and accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax, recordation fee, or governmental assessment.
All filing or recording officers (or any other Person with authority over any of the foregoing), wherever located and
by whomever appointed, shall comply with the requirements of section 1146 of the Bankruptcy Code, shall forego
the collection of any such tax or governmental assessment, and shall accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental assessment.

H.       Corporate Action.

         Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including, as and if applicable: (i) selection of the directors, officers, or managers for the
Post-Effective Date Debtors; (ii) the issuance and distribution of the New Common Stock; (iii) implementation of
the Restructuring Transactions; (iv) entry into the New Takeback Facility Documents; (v) all other actions
contemplated under the Plan (whether to occur before, on, or after the Effective Date); (vi) adoption of the New
Organizational Documents; (vii) the rejection, assumption, or assumption and assignment, as applicable, of
Executory Contracts and Unexpired Leases; (viii) adoption by the New Board of the Management Incentive Plan;
(ix) consummation of the Sale Transaction pursuant to the Purchase Agreement; (x) formation of the Post-Effective
Date Debtors and selection of the Plan Administrator; and (xi) all other acts or actions contemplated or reasonably
necessary or appropriate to promptly consummate the Restructuring Transactions contemplated by the Plan (whether
to occur before, on, or after the Effective Date). All matters provided for in the Plan involving the corporate
structure of the Debtors or the Post-Effective Date Debtors and any corporate action required by the Debtors or the
Post-Effective Date Debtors in connection with the Plan shall be deemed to have occurred and shall be in effect
without any requirement of further action by the security Holders, directors, officers, or managers of the Debtors or
the Post-Effective Date Debtors. On or prior to the Effective Date, as applicable, the appropriate officers of the
Debtors or the Post-Effective Date Debtors, as applicable, shall be authorized and (as applicable) directed to issue,

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execute, and deliver the agreements, documents, securities, and instruments contemplated under the Plan (or
necessary or desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the
Post-Effective Date Debtors, including, in the event of a Recapitalization Transaction or an Equity Investment
Transaction, the New Common Stock, the New Organizational Documents, the New Takeback Facility, the New
Takeback Facility Documents, any other Definitive Documents, and any and all other agreements, documents,
securities, and instruments relating to the foregoing. The authorizations and approvals contemplated by this Article
IV.H shall be effective notwithstanding any requirements under non-bankruptcy law.

I.       Directors and Officers of the Post-Effective Date Debtors.

         As of the Effective Date, the term of the current members of the board of directors or other Governing
Body of Cyxtera shall expire, and, if applicable, the members for the initial term of the New Board shall be
appointed; provided, that the disinterested directors of Cyxtera, comprising the special committee of Cyxtera’s board
of directors, shall retain authority following the Effective Date with respect to matters relating to Professional Fee
Claim requests by Professionals acting at their authority and direction in accordance with the terms of the Plan. The
disinterested directors of Cyxtera shall not have any of their privileged and confidential documents,
communications, or information transferred (or deemed transferred) to the Post-Effective Date Debtors, the
Purchaser, or any other Entity without their prior written consent.

         The Initial members of the New Board, if applicable, will be identified in the Plan Supplement to the extent
known at the time of filing. In the event of a Recapitalization Transaction or an Equity Investment Transaction, each
such member and officer of the Post-Effective Date Debtors shall serve from and after the Effective Date pursuant to
the terms of the New Organizational Documents and other constituent documents of the Post-Effective Date Debtors.
The members of the New Board shall be chosen by the Debtors or the Post-Effective Date Debtors, subject to the
applicable terms of the RSA and, if applicable, the Purchase Agreement.

J.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Post-Effective Date Debtors and their respective officers and boards of
directors and managers are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary to effectuate,
implement, and further evidence the terms and conditions of the Plan and the Securities issued pursuant to the Plan
in the name of and on behalf of the Post-Effective Date Debtors without the need for any approvals, authorizations,
or consents except for those expressly required pursuant to the Plan.

K.       Vesting of Assets in the Post-Effective Date Debtors.

         Except as otherwise provided in the Plan, the Confirmation Order, or any agreement, instrument, or other
document incorporated herein, or entered into in connection with or pursuant to, the Plan, the Plan Supplement, or
the New Takeback Facility Documents, on the Effective Date, all property in each Estate, all Causes of Action, and
any property acquired by any of the Debtors pursuant to the Plan shall vest in each respective Post-Effective Date
Debtor, free and clear of all Liens, Claims, charges, Causes of Action, or other encumbrances. On and after the
Effective Date, except as otherwise provided in the Plan, the Confirmation Order, or any agreement, instrument, or
other document incorporated herein, each Post-Effective Date Debtor may operate its business and use, acquire, or
dispose of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

L.       R. Private Company.

         The ReorganizedPost-Effective Date Debtors shall not have any class of Equity Securities listed on a
national securities exchange and shall make commercially reasonable efforts to take the steps necessary to be a
private company without Securities Act or Exchange Act reporting obligations upon emergence or as soon as
practicable thereafter in accordance with and to the extent permitted by the Securities Act and the Exchange Act.




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M.       S. Closing the Chapter 11 Cases.

         Upon the occurrence of the Effective Date, the ReorganizedPost-Effective Date Debtors shall be permitted
to close all of the Chapter 11 Cases except for one of the Chapter 11 Cases as determined by the
ReorganizedPost-Effective Date Debtors, and all contested matters relating to each of the Debtors, including
objections to Claims, shall be administered and heard in such Chapter 11 Case.

N.       T. Director and Officer Liability Insurance.

          After the Effective Date, none of the ReorganizedPost-Effective Date Debtors shall terminate or otherwise
reduce the coverage under any of the D&O Liability Insurance Policies (including any “tail policy”) in effect on or
after the Petition Date, with respect to conduct or events occurring prior to the Effective Date, and all directors and
officers of the Debtors who served in such capacity at any time prior to the Effective Date shall be entitled to the full
benefits of any such policy for the full term of such policy, to the extent set forth therein, regardless of whether such
directors and officers remain in such positions after the Effective Date.

                                       ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption of Executory Contracts and Unexpired Leases.

         Each Executory Contract and Unexpired Lease shall be deemed assumed, without the need for any further
notice to or action, order, or approval of the Bankruptcy Court, as of the Effective Date under section 365 of the
Bankruptcy Code, unless such Executory Contract and Unexpired Lease: (i) was assumed or rejected previously by
the Debtors; (ii) previously expired or terminated pursuant to its own terms; (iii) is the subject of a motion to reject
Filed on or before the Effective Date; or (iv) is identified on the Rejected Executory Contract and Unexpired Lease
List. The assumption of Executory Contracts and Unexpired Leases hereunder may include the assignment of
certain of such contracts to Affiliates. The Confirmation Order will constitute an order of the Bankruptcy Court
approving the foregoing assumptions and assignments.

          Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty, each
assumed Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
restatements, or other agreements related thereto, and all rights related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other interests.
Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the
prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or amount of any Claims
that may arise in connection therewith.

         To the maximum extent permitted by law, to the extent any provision in any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict
or prevent, or is breached or deemed breached by, the assumption or assumption and assignment of such Executory
Contract or Unexpired Lease (including any “change of control” provision), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to
terminate such Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect
thereto. Notwithstanding anything to the contrary in the Plan, the Debtors, or the ReorganizedPost-Effective Date
Debtors, and/or the Plan Administrator, as applicable, reserve the right to alter, amend, modify, or supplement the
Rejected Executory Contract and Unexpired Lease List at any time through and including ninety (90) days after the
Effective Date,; provided that in the event of a Recapitalization Transaction, such alteration, amendment,
modification, or supplement shall be subject to the consent rights set forth in the RSA.

B.       Indemnification Obligations.

         Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the by-laws, certificates of incorporation or formation, limited liability company agreements, other organizational


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documents, board resolutions, indemnification agreements, employment contracts, D&O Liability Insurance
Policies, or otherwise) for current and former members of any Governing Body, directors, officers, managers,
employees, attorneys, accountants, investment bankers, and other professionals of the Debtors, as applicable, shall
(i) not be discharged, impaired, or otherwise affected in any way, including by the Plan, the Plan Supplement, or the
Confirmation Order,; (ii) remain intact, in full force and effect, and irrevocable,; (iii) not be limited, reduced, or
terminated after the Effective Date,; and (iv) survive the effectiveness of the Plan on terms no less favorable to such
current and former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other
professionals of the Debtors than the indemnification provisions in place prior to the Effective Date irrespective of
whether such indemnification obligation is owed for an act or event occurring before, on, or after the Petition Date.
All such obligations shall be deemed and treated as Executory Contracts to be assumed by the Debtors under the
Plan and shall continue as obligations of the ReorganizedPost-Effective Date Debtors and/or the Plan Administrator,
as applicable.

C.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

         Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the rejections, if any,
of any Executory Contracts or Unexpired Leases as provided for in the Plan or the Rejected Executory Contract and
Unexpired Lease List, as applicable. Unless otherwise provided by a Final Order of the Bankruptcy Court, all
Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Claims and Noticing Agent at the
address specified in any notice of entry of the Confirmation Order and served on the ReorganizedPost-Effective
Date Debtors no later than thirty (30) days after the effective date of such rejection.

         Any Claims arising from the rejection of an Executory Contract or Unexpired Lease with respect to
which a Proof of Claims is not Filed with the Claims and Noticing Agent within such time will be
automatically disallowed, and forever barred from assertion, and shall not be enforceable against the
Debtors, the ReorganizedPost-Effective Date Debtors, the Estates, or their property without the need for any
objection by the Debtors or Reorganized, the Post-Effective Date Debtors, or the Plan Administrator, as
applicable, or further notice to, action, order, or approval of the Bankruptcy Court or any other Entity, and
any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully
satisfied, released, and discharged and shall be subject to the permanent injunction set forth in Article VIII.F
of the Plan, notwithstanding anything in a Proof of Claim to the contrary.

         All Claims arising from the rejection by any Debtor of any Executory Contract or Unexpired Lease
pursuant to section 365 of the Bankruptcy Code shall be treated as a General Unsecured Claim as set forth in Article
III.B of the Plan and may be objected to in accordance with the provisions of Article VII of the Plan and the
applicable provisions of the Bankruptcy Code and Bankruptcy Rules.

D.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

          The Debtors or the ReorganizedPost-Effective Date Debtors, as applicable, shall pay Cures, if any, on the
Effective Date or as soon as reasonably practicable thereafter. Unless otherwise agreed upon in writing by the
parties to the applicable Executory Contract or Unexpired Lease, all requests for payment of Cure that differ from
the amounts paid or proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty must be Filed
with the Bankruptcy Court on or before any objection by a counterparty to an Executory Contract or Unexpired
Lease to a proposed assumption, including pursuant to the Plan, or related cure amount must be filed, served, and
actually received by counsel to the Debtors and the U.S. Trustee no later than thirty (30) days after the Effective
Date or any other deadline that may be set by the Bankruptcy Court. Any such request that is not timely Filed shall
be disallowed and forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any
ReorganizedPost-Effective Date Debtor, without the need for any objection by the ReorganizedPost-Effective Date
Debtors or any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court.
Any Cure shall be deemed fully satisfied, released, and discharged upon payment by the Debtors or the
ReorganizedPost-Effective Date Debtors, as applicable, of the Cure; provided that nothing herein shall prevent the
ReorganizedPost-Effective Date Debtors from paying any Cure despite the failure of the relevant counterparty to
File such request for payment of such Cure. The ReorganizedPost-Effective Date Debtors may also settle any Cure
without any further notice to or action, order, or approval of the Bankruptcy Court. In addition, any objection to the

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assumption of an Executory Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on
or before thirty (30) days after the Effective Date. Any such objection will be scheduled to be heard by the
Bankruptcy Court at the Debtors’ or Reorganizedthe Post-Effective Date Debtors’, as applicable, first scheduled
omnibus hearing, or such other setting as requested by the Debtors or Reorganizedthe Post-Effective Date Debtors,
foras applicable, with respect to which such objection is timely Filed. Any counterparty to an Executory Contract or
Unexpired Lease that fails to timely object to the proposed assumption of any Executory Contract or Unexpired
Lease will be deemed to have consented to such assumption.

         If there is any dispute regarding any Cure, the ability of the ReorganizedPost-Effective Date Debtors, or
any assignee to provide “adequate assurance of future performance” within the meaning of section 365 of the
Bankruptcy Code, or any other matter pertaining to assumption, then payment of Cure shall occur as soon as
reasonably practicable after entry of a Final Order resolving such dispute, approving such assumption (and, if
applicable, assignment), or as may be agreed upon by the Debtors or the ReorganizedPost-Effective Date Debtors, as
applicable, and the counterparty to the Executory Contract or Unexpired Lease.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise and full
payment of any applicable Cure pursuant to this Article V.D shall result in the full release and satisfaction of any
Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
in control or ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption. Any Proofs of Claim
based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, and for which any Cure has been fully paid pursuant to this
Article V.D, shall be deemed disallowed and expunged as of the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

E.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date,
(i) the Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and
instruments relating to coverage of all insured Claims, including all D&O Liability Insurance Policies and (ii) such
insurance policies and any agreements, documents, or instruments relating thereto, including all D&O Liability
Insurance Policies, shall revest in the ReorganizedPost-Effective Date Debtors.

           Nothing in thisthe Plan, the Plan Supplement, the Disclosure Statement, the Confirmation Order, or any
other order of the Bankruptcy Court (including any other provision that purports to be preemptory or supervening),
(i) alters, modifies, or otherwise amends the terms and conditions of (or the coverage provided by) any of such
insurance policies or (ii) alters or modifies the duty, if any, that the insurers or third party administrators pay claims
covered by such insurance policies and their right to seek payment or reimbursement from the Debtors (or after the
Effective Date, the ReorganizedPost-Effective Date Debtors) or draw on any collateral or security therefor.

F.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not
constitute a termination of preexisting obligations owed to the Debtors or the ReorganizedPost-Effective Date
Debtors, as applicable, under such Executory Contracts or Unexpired Leases. In particular, notwithstanding any
non-bankruptcy law to the contrary, the ReorganizedDebtors and the Post-Effective Date Debtors expressly reserve
and do not waive any right to receive, or any continuing obligation of a counterparty to provide, warranties or
continued maintenance obligations with respect to goods previously purchased by the Debtors pursuant to rejected
Executory Contracts or Unexpired Leases.

G.       Reservation of Rights.

        Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors that any
such contract or lease is in fact an Executory Contract or Unexpired Lease or that any of the ReorganizedDebtors or


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the Post-Effective Date Debtors have any liability thereunder. If there is a dispute regarding whether a contract or
lease is or was executory or unexpired at the time of assumption or rejection, the Debtors or the
ReorganizedPost-Effective Date Debtors, as applicable, shall have forty-five (45) days following entry of a Final
Order resolving such dispute to alter itsthe treatment of such contract or lease under the Plan.

H.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

I.       Contracts and Leases Entered Into After the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtors or the
ReorganizedPost-Effective Date Debtors liable thereunder in the ordinary course of their business. Accordingly,
such contracts and leases (including any assumed Executory Contracts and Unexpired Leases) will survive and
remain unaffected by entry of the Confirmation Order.

                                              ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Timing and Calculation of Amounts to Be Distributed.

          Unless otherwise provided in the Plan, on the Effective Date (or, if a Claim or Interest is not an Allowed
Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim
or Allowed Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Allowed
Interest shall receive the full amount of the distributions that the Plan provides for Allowed Claims or Allowed
Interests (as applicable) in the applicable Class. In the event that any payment or act under the Plan is required to be
made or performed on a date that is not a Business Day, then the making of such payment or the performance of
such act may be completed on the next succeeding Business Day but shall be deemed to have been completed as of
the required date. If and to the extent that there are Disputed Claims or Disputed Interests, distributions on account
of any such Disputed Claims or Disputed Interests shall be made pursuant to the provisions set forth in Article VII
hereof. Except as otherwise provided in the Plan, Holders of Claims of Interests shall not be entitled to interest,
dividends, or accruals on the distributions provided for in the Plan, regardless of whether such distributions are
delivered on or at any time after the Effective Date.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Disbursing Agent on the Effective Date or at such
other time as provided for in the Plan. The Disbursing Agent shall not be required to give any bond or surety or
other security for the performance of its duties unless otherwise ordered by the Bankruptcy Court. Additionally, in
the event that the Disbursing Agent is so otherwise ordered, all costs and expenses of procuring any such bond or
surety shall be borne by the ReorganizedPost-Effective Date Debtors.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise
such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions hereof.



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         2.   Expenses Incurred Onon or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the ReorganizedPost-Effective Date Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date.

         2.   Delivery of Distributions in General.

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims or Allowed Interests
shall be made to Holders of record as of the Distribution Record Date by the Disbursing Agent, as appropriate:
(a) to the signatory set forth on any Proof of Claim or Proof of Interest filed by such Holder or other representative
identified therein (or at the last known addresses of such Holder if no Proof of Claim or Proof of Interest is filed or if
the Debtors have not been notified in writing of a change of address); (b) at the addresses set forth in any written
notices of address changes delivered to the ReorganizedPost-Effective Date Debtors, or the applicable Disbursing
Agent, as appropriate, after the date of any related Proof of Claim or Proof of Interest; or (c) on any counsel that has
appeared in the Chapter 11 Cases on the Holder’s behalf. Subject to this Article VI, distributions under the Plan on
account of Allowed Claims or Allowed Interests shall not be subject to levy, garnishment, attachment, or like legal
process, so that each Holder of an Allowed Claim or Allowed Interest shall have and receive the benefit of the
distributions in the manner set forth in the Plan. The Debtors, the ReorganizedPost-Effective Date Debtors, and the
Disbursing Agent, as applicable, shall not incur any liability whatsoever on account of any distributions under the
Plan except for fraud, gross negligence, or willful misconduct.

         3.   Minimum Distributions.

          No fractional shares of New Common Stock shall be distributed and no Cash shall be distributed in lieu of
such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed Claim or Allowed
Interest (as applicable) would otherwise result in the issuance of a number of shares of New Common Stock that is
not a whole number, the actual distribution of shares of New Common Stock shall be rounded as follows:
(a) fractions of one-half (½) or greater shall be rounded to the next higher whole number, and (b) fractions of less
than one-half (½) shall be rounded to the next lower whole number with no further payment therefore. The total
number of authorized shares of New Common Stock to be distributed under the Plan shall be adjusted as necessary
to account for the foregoing rounding.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any Holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such Holder shall be made unless and until the Disbursing Agent has
determined the then-current address of such Holder, at which time such distribution shall be made to such Holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the ReorganizedPost-Effective Date Debtors or the Plan Administrator, as
applicable, automatically and without need for a further order by the Bankruptcy Court (notwithstanding any
applicable federal, provincial, or state escheatment, abandoned property, or unclaimed property laws to the
contrary), and the Claim or Interest of any Holder related to such property or interest in property shall be discharged
and forever barred.



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E.       Manner of Payment.

         At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check or
wire transfer or as otherwise required or provided in applicable agreements.

F.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, any applicable withholding or reporting agent shall
comply with all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions made pursuant to the Plan shall be subject to such withholding and reporting requirements.
Notwithstanding any provision in the Plan to the contrary, any applicable withholding or reporting agent shall be
authorized to take all actions necessary or appropriate to comply with such withholding and reporting requirements,
including liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay
applicable withholding taxes, withholding distributions pending receipt of information necessary to facilitate such
distributions, or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and
the ReorganizedPost-Effective Date Debtors reserve the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support, and other spousal awards, Liens, and
encumbrances in a tax-efficient manner acceptable to the Required Consenting Term Lenders.

G.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claims, to any portion of such Claims for accrued but unpaid interest.

H.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the Plan, the DIP Orders, or the Confirmation Order, or
required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any
prepetition Claims against the Debtors, and no Holder of a prepetition Claim against the Debtors shall be entitled to
interest accruing on or after the Petition Date on any such prepetition Claim. Additionally, and without limiting the
foregoing, interest shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective
Date to the date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim
becomes an Allowed Claim.

I.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using
the exchange rate for the applicable currency as published in [The Wall Street Journal (National Edition)], on the
Effective Date.

J.       Setoffs and Recoupment.

          Except as expressly provided in thisthe Plan, each ReorganizedPost-Effective Date Debtor may, pursuant to
section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of
any Allowed Claim, any and all claims, rights, and Causes of Action that such ReorganizedPost-Effective Date
Debtor may hold against the Holder of such Allowed Claim to the extent such setoff or recoupment is either (i)
agreed in amount among the relevant ReorganizedPost-Effective Date Debtor(s) and Holder of Allowed Claim or
(ii) otherwise adjudicated by the Bankruptcy Court or another court of competent jurisdiction; provided that neither
the failure to effectuate a setoff or recoupment nor the allowance of any Claim hereunder shall constitute a waiver or
release by a ReorganizedPost-Effective Date Debtor or its successor of any and all claims, rights, and Causes of
Action that such ReorganizedPost-Effective Date Debtor or its successor may possess against the applicable Holder.
In no event shall any Holder of Claims against, or Interests in, the Debtors be entitled to recoup any such Claim or
Interest against any claim, right, or Cause of Action of the Debtors or the ReorganizedPost-Effective Date Debtors,


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as applicable, unless such Holder actually has performed such recoupment and provided notice thereof in writing to
the Debtors in accordance with Article XII.G of the Plan on or before the Effective Date, notwithstanding any
indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right
of recoupment.

K.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the ReorganizedPost-Effective Date Debtors, as applicable, shall reduce in full a Claim, and
such Claim shall be disallowed without a Claim objection having to be Filed and without any further notice to or
action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in
full on account of such Claim from a party that is not a Debtor or a ReorganizedPost-Effective Date Debtor, as
applicable. Subject to the last sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on
account of such Claim and receives payment from a party that is not a Debtor or a ReorganizedPost-Effective Date
Debtor, as applicable, on account of such Claim, such Holder shall, within fourteen (14) days of receipt thereof,
repay or return the distribution to the applicable ReorganizedPost-Effective Date Debtor, to the extent the Holder’s
total recovery on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as
of the date of any such distribution under the Plan. The failure of such Holder to timely to repay or return such
distribution shall result in the Holder owing the applicable ReorganizedPost-Effective Date Debtor annualized
interest at the Federal Judgment Rate on such amount owed for each Business Day after the fourteen (14) day grace
period specified above until the amount is fully repaid.

         2.   Claims Payable by Third Parties.

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in
part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without a Claim objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable insurance policy. Notwithstanding anything to the contrary
contained herein (including Article III of the Plan), nothing contained in the Plan shall constitute or be deemed a
release, settlement, satisfaction, compromise, or waiver of any Cause of Action that the Debtors or any Entity may
hold against any other Entity, including insurers, under any policies of insurance, nor shall anything contained herein
constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by
such insurers.

                                             ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Disputed Claims Process.

         The Debtors and the ReorganizedPost-Effective Date Debtors, as applicable, shall have the exclusive
authority to (i) determine, without the need for notice to or action, order, or approval of the Bankruptcy Court, that a
claim subject to any Proof of Claim that is Filed is Allowed and (ii) file, settle, compromise, withdraw, or litigate to
judgment any objections to Claims as permitted under thisthe Plan. Except as otherwise provided herein, all
Proofs of Claim Filed after the earlier of: (a) the Effective Date or (b) the applicable claims bar date shall be
disallowed and forever barred, estopped, and enjoined from assertion, and shall not be enforceable against
any Debtor or ReorganizedPost-Effective Date Debtor, as applicable, without the need for any objection by


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the Debtor or ReorganizedPost-Effective Date Debtors, as applicable, or any further notice to or action,
order, or approval of the Bankruptcy Court.

B.       Allowance of Claims.

         After the Effective Date and subject to the terms of thisthe Plan, the Plan Administrator or each of the
ReorganizedPost-Effective Date Debtors, as applicable, shall have and retain any and all rights and defenses such
Debtor had with respect to any Claim or Interest immediately prior to the Effective Date. The Debtors may
affirmatively determine to deem Unimpaired Claims Allowed to the same extent such Claims would be allowed
under applicable non-bankruptcy law. Except as expressly provided in the Plan or in any order entered in the
Chapter 11 Cases before the Effective Date (including the Confirmation Order), no Claim or Interest shall become
an Allowed Claim or Allowed Interest unless and until such Claim or Interest is deemed Allowed under the Plan or
the Bankruptcy Code or the Bankruptcy Court has entered a Final Order, including the Confirmation Order (when it
becomes a Final Order), in the Chapter 11 Cases allowing such Claim or Interest.

          Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated, or disputed, and
for which no Proof of Claim is or has been timely Filed, or that is not or has not been Allowed by the Plan or a Final
Order is not considered Allowed and shall be expunged without further action by the Debtors and without further
notice to any party or action, approval, or order of the Bankruptcy Court.

C.       Estimation of Claims.

          Before or after the Effective Date, the Debtors or the ReorganizedPost-Effective Date Debtors, as
applicable, may (but are not required to), at any time, request that the Bankruptcy Court estimate any Disputed
Claim or Interest that is contingent or unliquidated pursuant to applicable law, including pursuant to section 502(c)
of the Bankruptcy Code, for any reason, regardless of whether any party previously has objected to such Disputed
Claim or Interest or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
retain jurisdiction under sections 157 and 1334 of the Judicial Code to estimate any such Disputed Claim or Interest,
including during the litigation of any objection to any Disputed Claim or Interest or during the pendency of any
appeal relating to such objection. Notwithstanding any provision otherwise in the Plan, a Disputed Claim or Interest
that has been expunged from the Claims Register, but that either is subject to appeal or has not been the subject of a
Final Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In
the event that the Bankruptcy Court estimates any contingent or unliquidated Claim or Interest, that estimated
amount shall constitute a maximum limitation on such Claim or Interest for all purposes under the Plan (including
for purposes of distributions) and may be used as evidence in any supplemental proceedings, and the Debtors or the
Reorganized Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as applicable, may elect to pursue
any supplemental proceedings to object to any ultimate distribution on such Claim. Notwithstanding section 502(j)
of the Bankruptcy Code, in no event shall any Holder of a Disputed Claim or Interest that has been estimated
pursuant to section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such
estimation unless such Holder has Filed a motion requesting the right to seek such reconsideration on or before
fourteen days after the date on which such Disputed Claim or Interest is estimated.

D.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the
ReorganizedPost-Effective Date Debtors and/or the Plan Administrator, as applicable, (and, in the event of an
Equity Investment Transaction, the Plan SponsorPurchaser) shall have the sole authority: (i) to File, withdraw, or
litigate to judgment, objections to Claims or Interests; (ii) to settle or compromise any Disputed Claim or Interest
without any further notice to or action, order, or approval by the Bankruptcy Court; and (iii) to administer and adjust
the Claims Register to reflect any such settlements or compromises without any further notice to or action, order, or
approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after
the Effective Date, each ReorganizedPost-Effective Date Debtor shall have and retain any and all rights and defenses
such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest, including
the Causes of Action retained pursuant to the Plan.




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         Notwithstanding the foregoing, the Debtors and Reorganized Debtors shall be entitled to dispute and/or
otherwise object to any General Unsecured Claim in accordance with applicable nonbankruptcy law. If the Debtors,
or Reorganized Debtors dispute any General Unsecured Claim, such dispute shall be determined, resolved, or
adjudicated, as the case may be, in the manner as if the Chapter 11 Cases had not been commenced. In any action or
proceeding to determine the existence, validity, or amount of any General Unsecured Claim, any and all claims or
defenses that could have been asserted by the applicable Debtor(s) or the Entity holding such General Unsecured
Claim are preserved as if the Chapter 11 Cases had not been commenced.

E.       Time to File Objections to Claims.

        Any objections to Claims shall be Filed by the Post-Effective Date Debtors on or before the Claims
Objection Deadline, as such deadline may be extended from time to time.

F.       E. Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged on the Claims Register by the ReorganizedPost-Effective Date Debtors
and/or the Plan Administrator, as applicable, without the ReorganizedPost-Effective Date Debtors having to File an
application, motion, complaint, objection, or any other legal proceeding seeking to object to such Claim or Interest
and without any further notice to or action, order, or approval of the Bankruptcy Court.

G.       F. Disputed and Contingent Claims Reserve.

        On or after the Effective Date, the Debtors, or the ReorganizedPost-Effective Date Debtors, as applicable,
may establish one or more reserves for Claims that are contingent or have not yet been Allowed, in an amount or
amounts as reasonably determined by the applicable Debtors or Reorganized, the Post-Effective Date Debtors, or the
Plan Administrator, as applicable, consistent with the Proof of Claim Filed by the applicable Holder of such
Disputed Claim. Following the final resolution of all Disputed Claims, any residual amounts in the Disputed Claims
Reserve shall constitute Residual Cash and be immediately distributable to Holders of Allowed First Lien Claims.

H.       G. Disallowance of Claims or Interests.

         All Claims and Interests of any Entity from which property is sought by the Debtors under sections 542,
543, 550, or 553 of the Bankruptcy Code or that the Debtors or the ReorganizedPost-Effective Date Debtors, as
applicable, allege is a transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548,
549, or 724(a) shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such
Claims or Interests may not receive any distributions on account of such Claims until such time as such Causes of
Action against that Entity have been settled or a Bankruptcy Court order with respect thereto has been entered and
all sums due, if any, to the Debtors by that Entity have been turned over or paid to the ReorganizedPost-Effective
Date Debtors. All Claims Filed on account of an indemnification obligation to a director, officer, or employee shall
be deemed satisfied and expunged from the Claims Register as of the Effective Date to the extent such
indemnification obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to the Plan after
notice to the Holder of such Claim, but without any further notice to or action, order, or approval of the Bankruptcy
Court.

         Except as provided herein or otherwise agreed to by the ReorganizedPost-Effective Date Debtors, in their
sole discretion, any and all Proofs of Claim Filed after the applicable bar date shall be deemed Disallowed as of the
Effective Date without any further notice to or action, order, or approval of the Bankruptcy Court, and Holders of
such Claims may not receive any distributions on account of such Claims, unless on or before the Confirmation
Hearing such late Claim has been deemed timely Filed by a Final Order.

I.       H. Amendments to Proofs of Claim or Interest.

         On or after the Effective Date, a Proof of Claim or Proof of Interest may not be Filed or amended without
the prior authorization of the Bankruptcy Court or the Reorganized Debtors, the Debtors, the Post-Effective Date


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Debtors, or the Plan Administrator, as applicable, and any such new or amended Proof of Claim or Proof of Interest
Filed that is not so authorized before it is Filed shall be deemed Disallowed in full and expunged without any further
action, order, or approval of the Bankruptcy Court absent prior Bankruptcy Court approval or agreement by the
Debtors or Reorganized, the Post-Effective Date Debtors, or the Plan Administrator, as applicable; provided that the
foregoing shall not apply to Administrative Claims [or claims filed by Governmental Units].

J.       I. Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided under the Plan shall be made on account of such Claim
or Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest.

K.       J. Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Allowed Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Allowed Interest (as applicable) in
accordance with the provisions of the Plan. As soon as reasonably practicable after the date that the order or
judgment of the Bankruptcy Court allowing any Disputed Claim or Disputed Interest becomes a Final Order, the
Disbursing Agent shall provide to the Holder of such Claim or Interest the distribution (if any) to which such Holder
is entitled under the Plan as of the Effective Date, without any interest, dividends, or accruals to be paid on account
of such Claim or Interest unless required under applicable bankruptcy law.

                                         ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS5

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Plan, the Confirmation Order, or in any contract, instrument, or other agreement or document created or entered into
pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany Claims
resolved or compromised after the Effective Date by the ReorganizedPost-Effective Date Debtors), Interests, and
Causes of Action of any nature whatsoever, including any interest accrued on Claims or Interests from and after the
Petition Date, whether known or unknown, against, liabilities of, Liens on, obligations of, rights against, and
Interests in, the Debtors or any of their assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to the Plan on account of such Claims or Interests, including demands, liabilities,
and Causes of Action that arose before the Effective Date, any liability (including withdrawal liability) to the extent
such Claims or Interests relate to services performed by employees of the Debtors prior to the Effective Date and
that arise from a termination of employment, any contingent or non-contingent liability on account of representations
or warranties issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
502(i) of the Bankruptcy Code, in each case whether or not: (i) a Proof of Claim based upon such debt or right is
Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (ii) a Claim or Interest based upon such debt,
right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (iii) the Holder of such a Claim or
Interest has accepted the Plan. The Confirmation Order shall be a judicial determination of the discharge of all
Claims (other than any Reinstated Claims) and Interests (other than any Intercompany Interests that are Reinstated)
subject to the occurrence of the Effective Date.

B.       Release of Liens.

        Except as otherwise provided in the New Takeback Facility Documents, the Plan, the Confirmation
Order, the Purchase Agreement (if applicable), or any contract, instrument, release, or other agreement or


5    [NTD: Release provisions subject to ongoing review, including as part of the Special Committee investigation.]


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document created pursuant to the Plan, on the Effective Date and concurrently with the applicable
distributions made pursuant to the Plan and, in the case of a Secured Claim, in satisfaction in full of the
portion of the Secured Claim that is Allowed as of the Effective Date, except for Other Secured Claims that
the Debtors elect to Reinstate in accordance with Article III.B.1 hereof, all mortgages, deeds of trust, Liens,
pledges, or other security interests against any property of the Estates shall be fully released and discharged,
and all of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests shall revert to the ReorganizedPost-Effective Date Debtors and their successors and assigns.
Any Holder of such Secured Claim (and the applicable agents for such Holder) shall be authorized and
directed, at the sole cost and expense of the ReorganizedPost-Effective Date Debtors, to release any collateral
or other property of any Debtor (including any Cash Collateral and possessory collateral) held by such
Holder (and the applicable agents for such Holder), and to take such actions as may be reasonably requested
by the ReorganizedPost-Effective Date Debtors or the Plan Administrator, as applicable, to evidence the
release of such Lien, including the execution, delivery, and filing or recording of such releases. The
presentation or filing of the Confirmation Order to or with any federal, state, provincial, or local agency or
department shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens.

C.      Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby
confirmed, on and after the Effective Date, the Released Parties will be deemed conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged, by and on behalf of the Debtors and the,
their Estates, and, if applicable, the Post-Effective Date Debtors and the Plan Administrator, in each case on
behalf of itself and its respective successors, assigns, and representatives and any and all other Persons that
may purport to assert any Cause of Action derivatively, by or through the foregoing Persons, from any and
all claims and Causes of Action whatsoever (including any derivative claims, asserted or assertable on behalf
of the Debtors or the Estates, their Estates, the Post-Effective Date Debtors, or the Plan Administrator),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen
or unforeseen, asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law
or equity, whether sounding in tort or contract, whether arising under federal or state statutory or common
law, or any other applicable international, foreign, or domestic law, rule, statute, regulation, treaty, right,
duty, requirement or otherwise, that the Debtors, thetheir Estates, the Post-Effective Date Debtors, if
applicable, the Plan Administrator, if applicable, or their Affiliates, heirs, executors, administrators,
successors, assigns, managers, accountants, attorneys, representatives, consultants, agents, and any other
Persons claiming under or through them would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the Holder of any Claim or Interest or other Person,
based on or relating to, or in any manner arising from, in whole or in part, the Debtors or the Estates, the
Chapter 11 Cases, the Restructuring Transactions, the purchase, sale, or rescission of the purchase or sale of
any security of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated under the Plan, the business or contractual arrangements or interactions between the
Debtors and any Released Party, the restructuring of any Claim or Interest before or during the Chapter 11
Cases, the negotiation, formulation, preparation, or consummation of the RSA, the Restructuring
Transactions, the First Lien Credit Documents, the Bridge Facility Documents, the New Organizational
Documents, the DIP Documents, the DIP Orders, the Disclosure Statement, the Plan Supplement, the Plan
SponsorPurchase Agreement (if applicable), the Plan and related agreements, instruments, and other
documents, the solicitation of votes with respect to the Plan, the New Takeback Facility Documents, the New
Organizational Documents, the Receivables Program Documents, and all other Definitive Documents, in all
cases based upon any act or omission, transaction, agreement, event, or other occurrence taking place on or
before the Effective Date.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained in the Plan, and, further, shall constitute the Bankruptcy Court’s finding that the
Debtor Release is: (i) in exchange for the good and valuable consideration provided by the Released Parties,
including, without limitation, the Released Parties’ contributions to facilitating the Restructuring

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Transactions and implementing the Plan; (ii) a good faith settlement and compromise of the Claims released
by the Debtor Release; (iii) in the best interests of the Debtors and all Holders of Claims and Interests;
(iv) fair, equitable, and reasonable; (v) given and made after due notice and opportunity for hearing; and
(vi) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates, or, if applicable, the
Post-Effective Date Debtors or the Plan Administrator, asserting any Claim or Cause of Action released
pursuant to the Debtor Release.

D.      Releases by Holders of Claims and Interests.

          Except as otherwise expressly set forth in thisthe Plan or the Confirmation Order, on and after the
Effective Date, the Released Parties will be deemed conclusively, absolutely, unconditionally, irrevocably, and
forever released and discharged, by the Releasing Parties, in each case on behalf of itself and its respective
successors, assigns, and representatives and any and all other Persons that may purport to assert any Cause
of Action derivatively, by or through the foregoing Persons, in each case solely to the extent of the Releasing
Parties’ authority to bind any of the foregoing, including pursuant to agreement or applicable
non-bankruptcy law, from any and all claims and Causes of Action whatsoever (including any derivative
claims, asserted or assertable on behalf of the Debtors or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or
unasserted, accrued or unaccrued, existing or hereinafter arising, whether in law or equity, whether
sounding in tort or contract, whether arising under federal or state statutory or common law, or any other
applicable international, foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement,
or otherwise, that such Holders or their estates, Affiliates, heirs, executors, administrators, successors,
assigns, managers, accountants, attorneys, representatives, consultants, agents, and any other Persons
claiming under or through them would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Interest or other Person, based on or
relating to, or in any manner arising from, in whole or in part, the Debtors or the Estates, the Chapter 11
Cases, the Restructuring Transactions, the purchase, sale, or rescission of the purchase or sale of any security
of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated under the Plan, the business or contractual arrangements or interactions between the Debtors and
any Released Party, the restructuring of any Claim or Interest before or during the Chapter 11 Cases, the
negotiation, formulation, preparation, or consummation of the RSA, the Restructuring Transactions, the
First Lien Credit Documents, the Bridge Facility Documents, the New Organizational Documents, the DIP
Documents, the DIP Orders, the Disclosure Statement, the Plan Supplement, the Plan SponsorPurchase
Agreement (if applicable), the Plan and related agreements, instruments, and other documents, the
solicitation of votes with respect to the Plan, the New Takeback Facility Documents, the New Organizational
Documents, the Receivables Program Documents, and all other Definitive Documents, in all cases based upon
any act or omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of the related provisions
and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that the
Third-Party Release is: (i) consensual; (ii) essential to the confirmation of the Plan; (iii) given in exchange for
good and valuable consideration provided by the Released Parties; (iv) a good faith settlement and
compromise of the Claims released by the Third-Party Release; (v) in the best interests of the Debtors and
their Estates; (vi) fair, equitable, and reasonable; (vii) given and made after due notice and opportunity for
hearing; and (viii) a bar to any of the Releasing Parties asserting any claim or Cause of Action released
pursuant to the Third-Party Release.

E.      Exculpation.

         To the fullest extent permitted by applicable law, no Exculpated Party will have or incur, and each
Exculpated Party will be released and exculpated from, any Claim or Cause of Action arising prior to the
Effective Date in connection with or arising out of the administration of the Chapter 11 Cases, the negotiation
and pursuit of the RSA, the Restructuring Transactions, the First Lien Credit Documents, the Bridge Facility
Documents, the New Organizational Documents, the DIP Documents, the DIP Orders, the Disclosure

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Statement, the Plan Supplement, the Plan SponsorPurchase Agreement (if applicable), the Plan and related
agreements, instruments, and other documents, the New Takeback Facility Documents, the Receivables
Program Documents, and all other Definitive Documents, the solicitation of votes for, or Confirmation of, the
Plan, the funding of the Plan, the occurrence of the Effective Date, the administration of the Plan or the
property to be distributed under the Plan, the issuance of securities under or in connection with the Plan, the
purchase, sale, or rescission of the purchase or sale of any security of the Debtors or the
ReorganizedPost-Effective Date Debtors, if applicable, in connection with the Plan and the Restructuring
Transactions, or the transactions in furtherance of any of the foregoing, other than Claims or Causes of
Action in each case arising out of or related to any act or omission of an Exculpated Party that is a criminal
act or constitutes actual fraud, willful misconduct, or gross negligence as determined by a Final Order, but in
all respects such Persons will be entitled to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Plan. The Exculpated Parties have acted in compliance with the
applicable provisions of the Bankruptcy Code with regard to the solicitation and distribution of securities
pursuant to the Plan and, therefore, are not, and on account of such distributions will not be, liable at any
time for the violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan or such distributions made pursuant to the Plan, including the issuance of securities
thereunder. The exculpation will be in addition to, and not in limitation of, all other releases, indemnities,
exculpations, and any other applicable law or rules protecting such Exculpated Parties from liability.

F.      Injunction.

         Except as otherwise expressly provided in thisthe Plan or the Confirmation Order or for obligations
issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who have held,
hold, or may hold Claims or Interests that have been released, discharged, or are subject to exculpation are
permanently enjoined, from and after the Effective Date, from taking any of the following actions against, as
applicable, the Debtors, the ReorganizedPost-Effective Date Debtors, the Exculpated Parties, or the Released
Parties: (i) commencing or continuing in any manner any action or other proceeding of any kind on account
of or in connection with or with respect to any such Claims, Interests, Causes of Action, or liabilities; (ii)
enforcing, attaching, collecting, or recovering by any manner or means any judgment, award, decree, or
order against such Entities on account of or in connection with or with respect to any such Claims, Interests,
Causes of Action, or liabilities; (iii) creating, perfecting, or enforcing any encumbrance of any kind against
such Entities or the property or the Estates of such Entities on account of or in connection with or with
respect to any such Claims, Interests, Causes of Action, or liabilities; (iv) asserting any right of setoff,
subrogation, or recoupment of any kind against any obligation due from such Entities or against the property
of such Entities on account of or in connection with or with respect to any such Claims, Interests, Causes of
Action, or liabilities unless such Holder has Filed a motion requesting the right to perform such setoff on or
before the Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such
Holder asserts, has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and
(v) commencing or continuing in any manner any action or other proceeding of any kind on account of or in
connection with or with respect to any such Claims, Interests, Causes of Action, or liabilities released or
settled pursuant to the Plan.

         No Person or Entity may commence or pursue an Exculpateda Claim or Cause of Action of any kind
against the Debtors, the Post-Effective Date Debtors, the Exculpated Parties, or the Released Parties, as
applicable, that relates to or is reasonably likely to relate to any act or omission in connection with, relating
to, or arising out of an Exculpated Claima Claim or Cause of Action subject to Article VIII.C, Article VIII.D,
or Article VIII.E hereof, without the Bankruptcy Court (i) first determining, after notice and a hearing, that
such Exculpated Claim or Cause of Action represents a colorable Claim of any kind, and (ii) specifically
authorizing such Person or Entity to bring such Exculpated Claim or Cause of Action against any such
Debtor, Post-Effective Date Debtor, Exculpated Party, as applicableor Released Party.

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, principals, and direct and indirect affiliates shall be
enjoined from taking any actions to interfere with the implementation or Consummation of thisthe Plan.
Except as otherwise set forth in the Confirmation Order, each Holder of an Allowed Claim or Allowed
Interest, as applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such

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Claim or Interest, as applicable, pursuant to thisthe Plan, shall be deemed to have consented to the injunction
provisions set forth in this Article VIII.F.

G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the ReorganizedPost-Effective Date Debtors,
or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition
such a grant to, discriminate with respect to such a grant against, the ReorganizedPost-Effective Date Debtors, or
another Entity with whom the ReorganizedPost-Effective Date Debtors have been associated, solely because each
Debtor has been a debtor under chapter 11 of the Bankruptcy Code, has been insolvent before the commencement of
the Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors are granted or denied a discharge), or
has not paid a debt that is dischargeable in the Chapter 11 Cases.

H.       Document Retention.

         On and after the Effective Date, the ReorganizedPost-Effective Date Debtors may maintain documents in
accordance with their standard document retention policy, as may be altered, amended, modified, or supplemented
by the ReorganizedPost-Effective Date Debtors.

I.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (i) such Claim has been adjudicated as non-contingent
or (ii) the relevant Holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a
Final Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                         ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

          It shall be a condition to the Effective Date of the Plan that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article IX.B hereof:

         1.           the Restructuring Transactions shall have been implemented in accordance with the
Restructuring Transactions Memorandum in all material respects;

        2.            in the event of an Asset Sale, the Distribution Reserve Accounts shall have been established
and funded with the Priority Claims Reserve Amount and the Wind-Down Amount;

        3.           2. the Bankruptcy Court shall have entered the Confirmation Order and the Confirmation
Order shall have become a Final Order;

          4.             3. each document or agreement constituting the applicable Definitive Documents, the form
and substance of which shall be subject to the consent rights set forth in the RSA (and, in the event of an Equity
Investmenta Sale Transaction, the form and substance of which shall be reasonably acceptable to the Plan
SponsorPurchaser), shall have been executed and/or effectuated and remain in full force and effect, and any
conditions precedent related thereto or contained therein shall have been satisfied or waived by the applicable party
or parties prior to or contemporaneously with the occurrence of the Effective Date;

         5.           4. the New Takeback Facility Documents, if applicable, the form and substance of which shall
be subject to the consent rights set forth in the RSA, shall have been executed and delivered by each party thereto,


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and any conditions precedent related thereto shall have been satisfied or waived by the parties thereto (with the
consent of the Required Consenting Term Lenders), other than such conditions that relate to the effectiveness of the
Plan and related transactions, including payment of fees and expenses;

         6.              5. the DIP Claims shall have been indefeasibly paid in full in Cash or, solely to the extent set
forth herein, satisfied by the New Takeback Facility;

         7.            6. the New Common Stock shall have been issued;

         8.            7. all Restructuring Expenses, to the extent invoiced, shall have been paid in full;

        9.            8. the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings,
or documents that are necessary to implement and effectuate the Plan and the Restructuring Transactions;

          10.           9. if and as applicable, the Plan SponsorPurchase Agreement shall have been executed and all
conditions precedent to the effectiveness thereof shall have occurred or will occur substantially simultaneously with
the effectiveness of the Plan;

        11.            10. if and as applicable, the Plan SponsorPurchaser shall deliver the Purchase Price to the
Debtors in exchange for the ReorganizedPost-Effective Date Debtors’ distribution of the Plan Sponsor Equity
Sharesubstantially all of the New Common Stock or transfer of substantially all of the Debtors’ assets or as
otherwise agreed to by the Debtors and the Plan SponsorPurchaser;

         12.           11. the Plan Supplement and all of the schedules, documents, and exhibits contained therein
shall have been Filed;

         13.           12. the RSA shall remain in full force and effect;

        14.            13. none of the Chapter 11 Cases shall have been converted to a case under chapter 7 of the
Bankruptcy Code;

        15.          14. no Bankruptcy Court order appointing a trustee or examiner with expanded powers shall
have been entered and remain in effect under any chapter of the Bankruptcy Code with respect to the Debtors; and

         16.          15. all professional fees and expenses of retained professionals required to be approved by the
Bankruptcy Court shall have been paid in full or amounts sufficient to pay such fees and expenses after the Effective
Date shall have been placed in the Professional Fee Escrow Account pending approval by the Bankruptcy Court.

B.       Waiver of Conditions.

        The conditions to the Effective Date set forth in this Article IX, except for the conditions set forth in Article
IX.A.78 and 1516 of the Plan (each of which may not be waived without the consent of the affected parties), may be
waived in whole or in part at any time by the Debtors only with the prior written consent (email shall suffice) of the
Required Consenting Term Lenders and, in the event of an Equity Investmenta Sale Transaction, the Plan
SponsorPurchaser, without notice, leave, or order of the Bankruptcy Court or any formal action other than
proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

         If Consummation does not occur, the Plan shall be null and void in all respects, and nothing contained in
the Plan or the Disclosure Statement shall: (i) constitute a waiver or release of any Claims by the Debtors, or other
Claims, or Interests; (ii) prejudice in any manner the rights of the Debtors, any Holders of Claims or Interests, or
any other Entity; or (iii) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders




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of Claims or Interests, or any other Entity, in any respect; provided that all provisions of the RSA that survive
termination thereof shall remain in effect in accordance with the terms thereof.

D.       Substantial Consummation.

         “Substantial Consummation” of thisthe Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur
on the Effective Date.

                                         ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

           Except as otherwise specifically provided in the Plan and only to the extent permitted by the RSA, the
Debtors reserve the right to modify the Plan, whether such modification is material or immaterial, and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
Subject to those restrictions on modifications set forth in the Plan and the RSA, and the requirements of section 1127
of the Bankruptcy Code, rule 3019 of the Bankruptcy Rules, and, to the extent applicable, sections 1122, 1123, and
1125 of the Bankruptcy Code, each of the Debtors expressly reserves its respective rights to revoke or withdraw, or,
to alter, amend, or modify, the Plan with respect to such Debtor, one or more times, after Confirmation, and, to the
extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy
any defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation
Order, in such matters as may be necessary to carry out the purposes and intent of the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

         To the extent permitted by the RSA, the Debtors reserve the right to revoke or withdraw the Plan prior to
the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke or withdraw the Plan,
or if Confirmation or Consummation does not occur, then: (i) the Plan shall be null and void in all respects; (ii) any
settlement or compromise embodied in the Plan (including the fixing or limiting to an amount certain of any Claim
or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases
effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be deemed null and
void; and (iii) nothing contained in the Plan shall (a) constitute a waiver or release of any Claims or Interests,
(b) prejudice in any manner the rights of such Debtor or any other Entity, or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                                 ARTICLE XI.
                                         RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

        1.            allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the secured or unsecured status, priority,
amount, or allowance of Claims or Interests;



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         2.           decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
the Bankruptcy Code or the Plan;

          3.            resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of
any Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be
liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Cure pursuant to
section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or
Unexpired Lease that is assumed; (c) the ReorganizedPost-Effective Date Debtors’ amending, modifying, or
supplementing, after the Effective Date, pursuant to Article V hereof, any Executory Contracts or Unexpired Leases
to the list of Executory Contracts and Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute
regarding whether a contract or lease is or was executory or expired;

        4.           grant any consensual request to extend the deadline for assuming or rejecting Executory
Contracts and Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code;

        5.           ensure that distributions to Holders of Allowed Claims and Allowed Interests (as applicable)
are accomplished pursuant to the provisions of the Plan;

         6.           adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
matters, and any other matters and grant or deny any applications involving a Debtor that may be pending on the
Effective Date;

        7.            adjudicate, decide, or resolve any and all matters related to sections 1141 and 1145 of the
Bankruptcy Code;

         8.            enter and implement such orders as may be necessary to execute, implement, or consummate
the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or documents
created or entered into in connection with the Plan or the Disclosure Statement;

         9.          enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a)
of the Bankruptcy Code;

        10.           resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
connection with the Plan;

        11.             issue injunctions, enter and implement other orders, or take such other actions as may be
necessary to restrain interference by any Entity with Consummation or enforcement of the Plan;

          12.           resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, exculpations, and other provisionsdischarges, and exculpations contained in the Plan, including
under Article VIII hereof, whether arising prior to or after the Effective Date, and enter such orders as may be
necessary or appropriate to implement such releases, injunctions, exculpations, and other provisions;

          13.         resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim or
Interest for amounts not timely repaid pursuant to Article VI.K hereof;

        14.           enter and implement such orders as are necessary if the Confirmation Order is for any reason
modified, stayed, reversed, revoked, or vacated;

        15.           determine any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or



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document created in connection with the Plan, the Plan Supplement, or the Disclosure Statement, including the RSA
and the Purchase Agreement (if applicable);

         16.          enter an order concluding or closing the Chapter 11 Cases;

         17.          adjudicate any and all disputes arising from or relating to distributions under the Plan;

         18.          consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         19.          determine requests for the payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

        20.           hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan or the Confirmation Order, including disputes arising under agreements (including the Plan
SponsorPurchase Agreement, if applicable), documents, or instruments executed in connection with the Plan;

         21.          hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

         22.          hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII hereof,
regardless of whether such termination occurred prior to or after the Effective Date;

         23.          enforce all orders previously entered by the Bankruptcy Court; and

         24.          hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Takeback
Facility Documents shall be governed by the jurisdictional provisions therein, and the Bankruptcy Court shall not
retain any jurisdiction with respect thereto.

                                               ARTICLE XII.
                                       MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

          Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt,
the Plan Supplement) shall be immediately effective and enforceable and deemed binding upon the Debtors, the
ReorganizedPost-Effective Date Debtors, the Plan SponsorPurchaser (if applicable), and any and all Holders of
Claims or Interests (irrespective of whether such Claims or Interests are deemed to have accepted the Plan), all
Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory
Contracts and Unexpired Leases with the Debtors. All Claims against and Interests in the Debtors shall be as fixed,
adjusted, or compromised, as applicable, pursuant to thisthe Plan regardless of whether any Holder of a Claim or
Interest has voted on thisthe Plan.

B.       Additional Documents.

         On or before the Effective Date, and consistent in all respects with the terms of the RSA, the Debtors may
File with the Bankruptcy Court such agreements and other documents as may be necessary to effectuate and further
evidence the terms and conditions of the Plan and the RSA. The Debtors or the ReorganizedPost-Effective Date
Debtors, as applicable, and all Holders of Claims or Interests receiving distributions pursuant to the Plan and all



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other parties in interest shall, from time to time, prepare, execute, and deliver any agreements or documents and take
any other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

C.       Payment of Statutory Fees.

         All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the ReorganizedPost-Effective
Date Debtors, (or the Disbursing Agent on behalf of each of the ReorganizedPost-Effective Date Debtors) for each
quarter (including any fraction thereof) until such ReorganizedPost-Effective Date Debtor’s Chapter 11 Case is
converted, dismissed, or closed, whichever occurs first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Effective Date, the Committee and any other statutory committee appointed in these Chapter 11
Cases shall dissolve, and members thereof shall be released and discharged from all rights and duties from or related
to the Chapter 11 Cases. The ReorganizedPost-Effective Date Debtors shall no longer be responsible for paying any
fees or expenses incurred by the members of or advisors to any statutory committees after the Effective Date.

          All monthly reports shall be filed, and all fees due and payable pursuant to section 1930(a) of Title 28 of
the United States Code shall be paid by the Debtors or the ReorganizedPost-Effective Date Debtors, as applicable,
(or the Disbursing Agent on behalf of each of the ReorganizedPost-Effective Date Debtors) on the Effective Date,
and following the Effective Date, the ReorganizedPost-Effective Date Debtors (or the Disbursing Agent on behalf of
each of the ReorganizedPost-Effective Date Debtors) shall pay such fees as they are assessed and come due for each
quarter (including any fraction thereof), and shall file quarterly reports in a form reasonably acceptable to the U.S.
Trustee. Each Debtor shall remain obligated to pay such quarterly fees to the U.S. Trustee and to file quarterly
reports until the earliest of that particular Debtor’s case being closed, dismissed, or converted to a case under
chapter 7 of the Bankruptcy Code.

E.       Reservation of Rights.

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enters the Confirmation Order. None of the Filing of the Plan, any statement or provision contained in the
Plan, or the taking of any action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan
Supplement shall be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the
Holders of Claims or Interests prior to the Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of, any heir, executor, administrator, successor, or assign, Affiliate, officer, manager,
director, agent, representative, attorney, beneficiaries, or guardian, if any, of eachsuch Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:

         1.   if to the Debtors, to:

                    Cyxtera Technologies, Inc.
                    Attention: Victor Semah, Chief Legal Counsel
                    E-mail address: victor.semah@cyxtera.com
                    with copies to:


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                  Kirkland & Ellis LLP
                  601 Lexington Avenue
                  New York, NY 10022
                  Attention: Edward O. Sassower, Christopher Marcus, Derek I. Hunter
                  E-mail addresses:        esassower@kirkland.com
                                           christopher.marcus@kirkland.com
                                           derek.hunter@kirkland.com

         2.   if to a member of the AHG, to:

                  Gibson, Dunn & Crutcher LLP
                  200 Park Ave
                  New York, NY 10166
                  Attention: Scott J. Greenberg, Steven Domanowski, Stephen D. Silverman
                  E-mail addresses:         sgreenberg@gibsondunn.com,
                                            sdomanowski@gibsondunn.com
                                            ssilverman@gibsondunn.com

         3.   if to a Consenting Sponsor, to:

                  Latham & Watkins LLP
                  1271 6th Avenue
                  New York, NY 10020
                  Attention: George A. Davis, Joseph C. Celentino
                  E-mail addresses:        george.davis@lw.com,
                                           joe.celentino@lw.com

         4.   if to the Plan SponsorPurchaser, to:

                  [●]

         After the Effective Date, the Debtors have authority to notify Entities that, in order to continue to receive
documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed request to receive documents
pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

H.       Term of Injunctions or Stays.

          Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court,
and extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained
in the Plan or the Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the RSA, the Plan (including, for
the avoidance of doubt, the Plan Supplement) supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become merged and
integrated into the Plan.




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J.       Exhibits.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://www.kccllc.net/cyxtera or the Bankruptcy Court’s
website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

K.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan willshall remain in full force and effect and willshall in no way be affected, impaired, or
invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is: (i) valid and enforceable pursuant to its terms; (ii) integral to the Plan, and any
deletion or modification thereof shall be subject to the consent rights set forth in the RSA (and, in the event of an
Equity Investmenta Sale Transaction, with the reasonable consent of the Plan SponsorPurchaser); and
(iii) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

          Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the Bankruptcy Code,
the Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders,
officers, directors, managers, employees, advisors, and attorneys shall be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties nor individuals nor the
ReorganizedPost-Effective Date Debtors will have any liability for the violation of any applicable law, rule, or
regulation governing the solicitation of votes on the Plan or the offer, issuance, sale, or purchase of the Securities
offered and sold under the Plan or any previous plan.

M.       Closing of Chapter 11 Cases.

         The ReorganizedPost-Effective Date Debtors shall, promptly after the full administration of the Chapter 11
Cases, File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
the Bankruptcy Court to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

         Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured, or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, the RSA, or papers Filed with the
Bankruptcy Court prior to the Confirmation Date.

O.       Creditor Default.

         An act or omission by a Holder of a Claim or an Interest or the Plan SponsorPurchaser in contravention of
the provisions of thisthe Plan shall be deemed an event of default under thisthe Plan. Upon an event of default, the


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ReorganizedPost-Effective Date Debtors may seek to hold the defaulting party in contempt of the Confirmation
Order and shall be entitled to reasonable attorneys’ fees and costs of the ReorganizedPost-Effective Date Debtors in
remedying such default. Upon the finding of such a default by a Holder of a Claim or Interest, the Bankruptcy Court
may: (a) designate a party to appear, sign, and/or accept the documents required under the Plan on behalf of the
defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific performance;
(c) award a judgment against such defaulting Holder of a Claim or Interest in favor of the ReorganizedPost-Effective
Date Debtors in an amount, including interest, if applicable, to compensate the ReorganizedPost-Effective Date
Debtors for the damages caused by such default; and (d) make such other order as may be equitable that does not
materially alter the terms of the Plan.

P.      Removal or Abandonment of Third Parties’ Property.

         Nothing in the Plan shall impose upon the Post-Effective Date Debtors any obligation to store or protect
any third party’s property, all of which property will be deemed abandoned and surrendered to the Post-Effective
Date Debtors if such property has not been removed (by its owner in a commercially reasonable manner, and with
insurance to cover any damage from such removal) from any real property owned or leased by the Post-Effective
Date Debtors within forty-five (45) days after Confirmation of the Plan. Following the abandonment and surrender
of any such property, the Post-Effective Date Debtors may sell, transfer, assign, scrap, abandon, or otherwise
dispose of such property and retain any proceeds resulting therefrom.

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 Dated: August 7September 13, 2023              Cyxtera Technologies, Inc.
                                                on behalf of itself and all other Debtors


                                                /s/ Eric Koza
                                                     Name: Eric Koza
                                                     Title: Chief Restructuring Officer




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